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               IN THE UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF PENNSYVANIA
                          Pittsburgh Division



IN RE: PHILIPS RECALLED                    Master Docket No. 2:21-mc-01230-JFC
CPAP, Bi-PAP, AND
MECHANICAL VENTILATOR                      MDL No. 3014
PRODUCTS LIABILITY
LITIGATION                                 Judge JOY FLOWERS CONTI

This Document Relates To:

King v. Koninklijke Philips N.V., et al.
Case No. 2:23-cv-02040-JFC



   BRIEF IN SUPPORT OF PLAINTIFF DERRICK MARTIN KING’S
   MOTION TO COMPEL DISCOVERY OR IN THE ALTERNATIVE
     MOTION TO REMOVE CASE FROM THE CLASS ACTION
   PROCEDDINGS AND REMAND CASE TO THE UNITED STATES
 DISTRICT COURT FOR THE NORTHERN DISTRICT OF OHIO, THE
SUMMIT COUNTY (OHIO) COURT OF COMMON PLEAS, OR TO THE
 UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
OF PENNSYLVANIA IN CASE NO. 2:23-cv-02040 KING vs. KONINKLIJKE
                     PHILIPS N.V., et al.
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         of the following locations: (1) the United States District Court for the
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                                INTRODUCTION

      Plaintiff Derrick Martin King (hereinafter “Plaintiff King”) respectfully

moves this Honorable Court for the entry of an Order which compels the other

parties in this case to produce all discovery that has previously been propounded and

produced. In the alternative, Plaintiff King seeks an Order that removes this cause

from the multidistrict litigation in Case No. 2:21-cv-01230-JFC, MDL-3014 and

remand the case to one of the following jurisdictions: (1) the United States District

Court for the Northern District of Ohio in Case No. 5:23-cv-02042-PAB; (2) the

Summit County (Ohio) Court of Common Pleas in Case No. CV-2023-09-2475; or

(3) the United States District Court for the Western District of Pennsylvania in Case

No. 2:23-cv-02040-JFC.

                         STATEMENT OF THE CASE
      On June 14, 2021, a recall of approximately 11 million of its CPAP and BiPAP

machines and ventilators in the United States that were manufactured with PE-PUR

foam from 2008 until the date of the recall, including the following: E30 (Emergency

Use Authorization); DreamStation ASV; DreamStation ST; AVAPS, SystemOne

ASV4; C Series ASV; C Series S/T and AVAPS; OmniLab Advanced Plus;

SystemOne (Q Series); DreamStation; DreamStation GO; Dorma 400; Dorma 500;

REMStar SE Auto; Trilogy 100 Ventilator; Trilogy 200 Ventilator; Garbin Plus,

Aeris, LifeVentVentilator; A-Series BiPAP Hybrid A30; Philips A-Series BiPAP



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V30 Auto; Philips A-Series BiPAP A40; and Philips A-Series BiPAP A30. The

devices were manufactured by Philips Respironics, which is a wholly owned

subsidiary of the Dutch corporation Koninklijke Philips N.V. All of these recalled

products are defective because they contain PE-PUR foam, which is a defect because

the foam is susceptible to breaking down into particles which may then be inhaled

or ingested by the user, and may emit VOCs that can also be inhaled, resulting in

serious injury which can be life-threatening, cause permanent impairment, and/or

require medical intervention to preclude permanent impairment.

      There were several lawsuits filed in various courts across the country

following the recall. Pursuant to 28 U.S.C. § 1407, Thomas R. Starner filed a motion

with the Judicial Panel on Multidistrict Litigation to create an MDL action and

transfer cases into one district. On October 8, 2021, the Judicial Panel on

Multidistrict Litigation entered an Order which created a multidistrict litigation case

and transferred ten cases to this Court. As of December 27, 2023, there have been

297 additional cases that have become part of this multidistrict litigation.

      On May 4, 2022, this Court an Order which appointed Carol Katz as Special

Master for General and E-Discovery matters pursuant to Fed.R.Civ.P. 53. W.D. Pa.

ECF No. 540.




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                          STATEMENT OF THE FACTS

      On September 21, 2023, Plaintiff King filed a civil complaint in the Summit

County (Ohio) Court of Common Pleas. King v. Philips North America, LLC., et al.,

Case No. CV-2023-09-3575. See the annexed declaration of Plaintiff Derrick Martin

King (hereinafter “King Declaration”) at ¶ 3. The case was assigned to the Honorable

Judge Allison Breaux. Id.

      On October 18, 2023, attorney Wendy West Feinstein (hereinafter “Attorney

Feinstein”) filed a Notice of Removal with the Clerk of the United States District

Court for the Northern District of Ohio. King v. Koninklijke Philips N.V., et al., Case

No. 5:23-cv-02042-PAB. The filing was made pursuant to. 28 U.S.C. §§ 1332,

§1441, and §1446. The case was assigned to the Honorable Judge Pamala A. Barker.

      On October 25, 2023, Attorney Feinstein filed a motion to stay proceedings

pending transfer to the multidistrict litigation pending in the United States District

Court for the Western District of Pennsylvania. King Declaration at ¶ 8. Included in

the filing is a copy of a notice of tag along action that was filed in the Judicial Panel

on Multidistrict Litigation (hereinafter “JPML”). Id. On October 27, 2023, the JPML

issued a conditional transfer order (CTO-84) which transferred the case to the

multidistrict litigation in the United States District Court for the Western District of

Pennsylvania. King Declaration at ¶ 9. On November 29, 2023, the United States

District Court for the Western District of Pennsylvania formally accepted the



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transfer. King v. Koninklijke Philips N.V., et al., Case No. 2:23-cv-02040-JFC and

assigned it to the Honorable Judge Joy Flowers Conti. King Declaration at ¶ 14.

                                   ARGUMENT

A.    Motion to Compel Discovery.

      1.     Applicable Law.
      The Federal Rules of Civil Procedure is the governing process for discovery.

Fed.R.Civ.P. 26(a)(1) governs the required initial disclosures and states:

      (1)    Initial Disclosure.
             (A)   In General. Except as exempted by Rule
                   26(a)(1)(B) or as otherwise stipulated or ordered by
                   the court, a party must, without awaiting a discovery
                   request, provide to the other parties:

                   (i)     the name and, if known, the address
                           and telephone number of each
                           individual likely to have discoverable
                           information—along with the subjects
                           of    that    information—that     the
                           disclosing party may use to support its
                           claims or defenses, unless the use
                           would be solely for impeachment;

                   (ii)    a copy—or a description by category
                           and location—of all documents,
                           electronically stored information, and
                           tangible things that the disclosing
                           party has in its possession, custody, or
                           control and may use to support its
                           claims or defenses, unless the use
                           would be solely for impeachment;
                   (iii)   a computation of each category of
                           damages claimed by the disclosing
                           party—who must also make available

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                     for inspection and copying as under
                     Rule 34 the documents or other
                     evidentiary material, unless privileged
                     or protected from disclosure, on which
                     each computation is based, including
                     materials bearing on the nature and
                     extent of injuries suffered; and

             (iv)    for inspection and copying as under
                     Rule 34, any insurance agreement
                     under which an insurance business
                     may be liable to satisfy all or part of a
                     possible judgment in the action or to
                     indemnify or reimburse for payments
                     made to satisfy the judgment.
       (B)   Proceedings Exempt from Initial Disclosure. The
             following proceedings are exempt from initial
             disclosure:

             (i)     an action for review            on    an
                     administrative record;

             (ii)    a forfeiture action in rem arising from
                     a federal statute;
             (iii)   a petition for habeas corpus or any
                     other proceeding to challenge a
                     criminal conviction or sentence;

             (iv)    an action brought without an attorney
                     by a person in the custody of the
                     United States, a state, or a state
                     subdivision;

             (v)     an action to enforce or quash an
                     administrative summons or subpoena;

             (vi)    an action by the United States to
                     recover benefit payments;




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             (vii) an action by the United States to
                   collect on a student loan guaranteed by
                   the United States;
             (viii) a proceeding ancillary to a proceeding
                    in another court; and
             (ix)   an action to enforce an arbitration
                    award.
       (C)   Time for Initial Disclosures—In General. A party
             must make the initial disclosures at or within 14
             days after the parties’ Rule 26(f) conference unless
             a different time is set by stipulation or court order,
             or unless a party objects during the conference that
             initial disclosures are not appropriate in this action
             and states the objection in the proposed discovery
             plan. In ruling on the objection, the court must
             determine what disclosures, if any, are to be made
             and must set the time for disclosure.

       (D)   Time for Initial Disclosures—For Parties Served
             or Joined Later. A party that is first served or
             otherwise joined after the Rule 26(f) conference
             must make the initial disclosures within 30 days
             after being served or joined, unless a different time
             is set by stipulation or court order.

       (E)   Basis for Initial Disclosure; Unacceptable
             Excuses. A party must make its initial disclosures
             based on the information then reasonably available
             to it. A party is not excused from making its
             disclosures because it has not fully investigated the
             case or because it challenges the sufficiency of
             another party’s disclosures or because another party
             has not made its disclosures.




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       With regard to the information that is discoverable, the Federal Rules of Civil

Procedure defines what is considered to be discoverable. Fed.R.Civ.P. 26(b)(1)

states that:

       Unless otherwise limited by court order, the scope of discovery is as
       follows: Parties may obtain discovery regarding any nonprivileged
       matter that is relevant to any party’s claim or defense and proportional
       to the needs of the case, considering the importance of the issues at
       stake in the action, the amount in controversy, the parties’ relative
       access to relevant information, the parties’ resources, the importance of
       the discovery in resolving the issues, and whether the burden or expense
       of the proposed discovery outweighs its likely benefit. Information
       within this scope of discovery need not be admissible in evidence to be
       discoverable.
       In addition, Fed.R.Civ.P. 26(a)(2) governs the disclosure of expert witnesses.

This rule states that:

       (2)     Disclosure of Expert Testimony.
               (A)   In General. In addition to the disclosures required
                     by Rule 26(a)(1), a party must disclose to the other
                     parties the identity of any witness it may use at trial
                     to present evidence under Federal Rule of Evidence
                     702, 703, or 705.

               (B)   Witnesses Who Must Provide a Written Report.
                     Unless otherwise stipulated or ordered by the court,
                     this disclosure must be accompanied by a written
                     report—prepared and signed by the witness—if the
                     witness is one retained or specially employed to
                     provide expert testimony in the case or one whose
                     duties as the party’s employee regularly involve
                     giving expert testimony. The report must contain:

                     (i)   a complete statement of all opinions
                           the witness will express and the basis
                           and reasons for them;

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             (ii)    the facts or data considered by the
                     witness in forming them;

             (iii)   any exhibits that will be used to
                     summarize or support them;

             (iv)    the witness’s qualifications, including
                     a list of all publications authored in the
                     previous 10 years;
             (v)     a list of all other cases in which, during
                     the previous 4 years, the witness
                     testified as an expert at trial or by
                     deposition; and
             (vi)    a statement of the compensation to be
                     paid for the study and testimony in the
                     case.

       (C)   Witnesses Who Do Not Provide a Written
             Report. Unless otherwise stipulated or ordered by
             the court, if the witness is not required to provide a
             written report, this disclosure must state:
             (i)     the subject matter on which the witness
                     is expected to present evidence under
                     Federal Rule of Evidence 702, 703, or
                     705; and

             (ii)    a summary of the facts and opinions to
                     which the witness is expected to
                     testify.

       (D)   Time to Disclose Expert Testimony. A party must
             make these disclosures at the times and in the
             sequence that the court orders. Absent a stipulation
             or a court order, the disclosures must be made:

             (i)     at least 90 days before the date set for
                     trial or for the case to be ready for trial;
                     or



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                    (ii)   if the evidence is intended solely to
                           contradict or rebut evidence on the
                           same subject matter identified by
                           another party under Rule 26(a)(2)(B)
                           or (C), within 30 days after the other
                           party’s disclosure.

              (E)   Supplementing the Disclosure. The parties must
                    supplement these disclosures when required under
                    Rule 26(e).

      The rules of civil procedure do have some limitations. For example,

Fed.R.Civ.P. 26(b)(2)(C) states:

      On motion or on its own, the court must limit the frequency or extent
      of discovery otherwise allowed by these rules or by local rule if it
      determines that:

      (i)     the discovery sought is unreasonably cumulative or
              duplicative, or can be obtained from some other source
              that is more convenient, less burdensome, or less
              expensive;
      (ii)    the party seeking discovery has had ample opportunity to
              obtain the information by discovery in the action; or
      (iii)   the proposed discovery is outside the scope permitted by
              Rule 26(b)(1).
      Parties may obtain discovery pertaining to any relevant information, even if

that information is not admissible at trial. Chrisler v. Johnson, 796 F. Supp.2d 632,

638 (W.D. Pa. 2011) (citing Fed.R.Civ.P. 26(b)(1). As an initial matter, therefore,

all relevant material is discoverable unless an applicable evidentiary privilege is

asserted. The presumption that such matter is discoverable, however, is defeasible.

The Federal Rules of Procedure grants federal judges the discretion to issue


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protective orders that impose restrictions on the extent and manner of discovery

where necessary “to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” Pearson v. Miller, 211 F.3d 57, 65 (3d

Cir. 2000) (citing Fed.R.Civ.P. 26(c)). Discovery can be limited “for good cause to

protect a person from embarrassment, oppression, or harassment.” Caisson Corp. v.

Cnty. W. Bldg. Corp., 62 F.R.D. 331, 333 (E.D. Pa. 1974).

         Fed.R.Civ.P. 37(a)(1) imposes a requirement upon a party seeking an order

compelling disclosure or discovery “must include a certification that the movant has

in good faith conferred or attempted to confer with the person or party failing to

make disclosure or discovery in an effort to obtain it without court action.”

         2.       Plaintiff King’s attempts to informally resolve this dispute with
                  the parties.
                  a.        Co-Plaintiffs and Liaison Counsel

         On September 28, 2023, Plaintiff King sent an email to the administrator of

the MDL-3014 website. 1 King Declaration ¶ 28; Exhibit A. In his email, Plaintiff

King wrote:

         Dear Sir or Madam:
         My name is Derrick M. King and I am a pro se plaintiff in a case filed
         against Philips Respironics in an Ohio state court. The complaint deals
         with the CPAP recall. I was diagnosed with sleep apnea in January 2018
         and was prescribed the use of a CPAP machine. I was eventually issued
         a Philips Respironics first-generation DreamStation CPAP device. I
1
  The MDL-3014 website (www.mdl3014.com) is operated by the law firm of Pietragallo Gordon Alfano Bosick and
Raspanti, LLP (a law firm which employs one of the co-liaison counsel for the class action plaintiffs in the multidistrict
litigation).


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        used the device between April 2018 and June 2023. I was never
        informed of the problems concerning the Philips Respironics CPAP
        device recall until my device was replaced by a ResMed device.
        In May 2023, I was diagnosed with severe aortic stenosis. I was
        subsequently hospitalized and open-heart surgery was done. I have
        reason to believe that the daily use of the first-generation Philips
        Respironics DreamStation CPAP device contributed to my condition
        and subsequent surgery.
        I recently discovered your website www.mdl3014.com and I noticed
        the tab marked “plaintiffs’ only”. Because of the likeliehood that my
        case in
        state court will end up part of the Philips multidistrict litigation in PA,
        I am requesting access to the “Plaintiff’s Only” section of your website.
        I have attached a copy of the complaint filed in the Summit County
        (Ohio) Court of Common Pleas.
        Thank you for your time.
        Derrick Martin King

        On September 28, 2023, Plaintiff King received an email from Zach Gordon

(hereinafter “Mr. Gordon”) 2, the case manager for the MDL-3014 website. Id.

Plaintiff King was told that he would eligible for access to the MDL-3014 website

and would be provided with a username and password upon registration. Id. Plaintiff

King registered with the MDL-3014 website and received a username and password.

King Declaration at ¶ 6.




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  Mr. Gordon is employed by Robert Peirce and Associates, P.C., which also employs the other co-liaison counsel for
the class action plaintiffs in this multidistrict litigation.



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      On October 27, 2023, I sent an email to plaintiffs’ co-liaison counsel D. Aaron

Rihn (hereinafter “Attorney Rihn”) and Peter St. Tienne Wolff (hereinafter

“Attorney Wolff”). King Declaration at ¶ 10; Exhibit B. Plaintiff King wrote the

following in his email:

      Mr. Rihn and Mr. Wolff,
      My name is Derrick Martin King and I am a pro se plaintiff in a personal
      injury products liability complaint against the Philips and PolyTech
      defendants. The complaint was initially filed in state court, then
      removed to the Northern District of Ohio. Philips RS North America
      filed a notice of potential tag along with the JPML, and on October 26,
      2023 the JPML entered a conditional transfer order I have attached a
      copy of the conditional transfer order.

      The reason for my email is twofold, First, I am requesting that I be
      provided with a copy of all documents that have been filed with the
      court. Since I am pro se, production of those court documents will be
      essential so that I do not submit something that may have already been
      adjudicated by the Court. I do have access to Adobe Acrobat and can
      download the documents either as a PDF file or a ZIP file.

      My second request is for access to all the discovery that has occurred
      in this case to date. From what I understand, there is some online portal
      where the discovery documents and ESI is placed (that is password
      protected).

      Any assistance you could provide me in this would be greatly
      appreciated.

      On November 13, 2023, Plaintiff King received an email from Mr. Gordon.

King Declaration at ¶ 13; Exhibit C. The text of Mr. Gordon’s email stated:

      Mr. King,
      I am contacting you on behalf of Aaron Rihn, one of the co-liaisons in
      MDL 3014. Our office is in receipt of the attached fax.


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 To respond to your initial email from 11/5:

 1. Please find the majority of the documents from the MDL 3014
    public docket (2:21-mc-01230) available for download at this
    Dropbox link:

    https://www.dropbox.com/scl/fo/qnz0nsz07nuv2e2bblq10/h?rlkey
    =gmph9rk4npp8wanu3cgt7ntb1&dl=0

    Please note this is only updated through 11.7.2023 – the most recent
    items can be added to the folder if you need them. There are 2,326
    document numbers in the folder (plus document 2336), but 2,128
    PDF documents in this folder, due to the fact that some of the orders
    (and miscellaneous corrections from the clerk, etc.) are “text only”
    entries in which no document was issued. The court website has all
    text orders (and all Pretrial Orders, available for download for free)
    here:
    https://www.pawd.uscourts.gov/mdl-3014-re-philips-recalled-
    cpap-bi-level-pap-andmechanical-ventilator-products-litigation
    You can also access e-filing/docket via PACER yourself, you will
    need to review the Pro Se materials for the Western District of
    Pennsylvania for instructions, or call the clerk’s office for
    information on how to get registered:

    https://www.pawd.uscourts.gov/filing-without-attorney
 2. Access to discovery materials is not available to non-MDL
    leadership at this time.

 Mr. Rihn recommends that you familiarize yourself with all of the
 Pretrial Orders (PTOs). In particular, these are some of the most
 relevant for individual plaintiffs: PTO 1 regarding general filing
 procedures, PTO 28 regarding the filing procedures for Short Form
 Complaints, PTO 26(b) regarding the Fact Sheets, and PTO 27
 authorizing service through MDL Centrality. All pretrial orders can be
 found both on the court website linked above as well as in the Dropbox
 link.
 Service of the Short Form Complaint (and the fact sheet) is done
 through the MDL Centrality platform, run by BrownGreer. PTO#27


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      can walk you through the details. If you haven’t already, you should
      contact BrownGreer about setting up an account for yourself – their
      dedicated email address for all inquiries related to this MDL is
      CPAP@BrownGreer.com. MDL Centrality houses many documents
      that will be helpful for you, including the Short Form Complaint and
      the Plaintiff Fact Sheet, in easy-to-use formats. The link to the website
      is here (you will need your account set up prior to accessing the
      materials):

      https://www.mdlcentrality.com/
      We also have a plaintiff’s website that has all of the Pretrial Orders as
      well as news and plaintiffs-only resources: https://mdl3014.com/
      In the future, please direct liaison inquiries to the dedicated MDL 3014
      liaison email address: liaisons.mdl3014@pietragallo.com, copied here,
      so that the liaisons and their teams also get the email. This email address
      also copies MDL leadership. Please let us know if you have any
      additional questions we might be able to assist with.

      Best,
      Zach Gordon
      Case Manager
      Robert Peirce & Associates, P.C.
      707 Grant Street, Suite 125
      Pittsburgh, PA 15219
      (412) 281-7229 Phone
      (800) 543-9859 Toll-Free
      (412) 281-4229 Fax
      zgordon@peircelaw.com

      On November 29, 2023, Plaintiff King sent an email to counsel for the Philips

and PolyTech defendants. King Declaration at ¶ 15; Exhibit E. The text of Plaintiff

King’s email stated:

      Lady and Gentlemen,

      Please find attach my Notice of Case Status that was filed today in the
      Summit County (Ohio) Court of Common Pleas. The notice merely


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      notifies that court of the transfer to the Western District of
      Pennsylvania.

      Now that I am formally a part of the MDL litigation, we need to discuss
      discovery. I am formally requesting a copy of all discovery that has
      been provided to the other plaintiffs. After that information is provided,
      I can then provide you with a supplemental discovery request to cover
      anything that was not previously provided but may be relevant. Please
      be advised that I have attached my signed agreement to be bound by the
      December 21, 2021 stipulated protective order (ECF No. 104).

      I look forward to hearing from you in the very near future.

      Derrick Martin King
      On November 30, 2023, Plaintiff King received an email from John P.

Lavalle, Jr. (hereinafter “Attorney Lavalle”), co-counsel for Philips RS North

America LLC. King Declaration at ¶ 16; Exhibit F. The text of Attorney Lavalle’s

email stated:

      Mr. King-
      Please see attached Pretrial Order No. 8 entered by Judge Conti in MDL
      3014 appointing plaintiffs’ co-lead counsel and steering committee.
      Under the Court’s Order, plaintiffs’ leadership coordinates and
      conducts all pretrial discovery on behalf of plaintiffs in the MDL. You
      should direct your requests for discovery materials produced in the
      MDL directly to plaintiffs’ leadership. I have copied them on this email
      so they are aware of your request.

      John P. Lavelle Jr.
      Morgan, Lewis & Bockius LLP
      2222 Market Street | Philadelphia, PA 19103-3007
      Direct: +1.215.963.4824 | Main: +1.215.963.5000 | Mobile:
      +1.610.331.3910 | Fax: +1.215.963.5001
      Assistant:    Teresa      G.     Helm     |   +1.215.963.5590 |
      teresa.helm@morganlewis.com



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      502 Carnegie Center | Princeton, NJ 08540-6241
      Direct: +1.609.919.6688 | Main: +1.609.919.6600                 |   Fax:
      +1.609.919.6701
      john.lavelle@morganlewis.com | www.morganlewis.com

      On November 30, 2023, Plaintiff King responded to Attorney Lavalle’s email.

King Declaration at ¶ 17; Exhibit F. The text of Plaintiff King’s response stated:

      Be advised that you have twenty-four hours to indicate whether you
      wish to cooperate or a motion to compel with sanctions will be filed
      with the trial court.
      This will be your final notice!
      On December 1, 2023, I received an email from Mr. Gordon which indicated

that Attorney Rihn attempted to contact him via telephone. King Declaration at ¶ 18.

Plaintiff King and Attorney Rihn subsequently spoke via telephone King Declaration

at ¶ 19. Attorney Rihn inquired into exactly what Plaintiff King was seeking (as the

discovery produced was enormous). Id. Attorney Rihn asked Plaintiff whether or not

he was willing to sign a participation agreement in order to receive common benefit

work. King Declaration at ¶ 20. Plaintiff King indicated that he was willing to sign

such an agreement. King Declaration at ¶ 21.

      On December 1, 2023, Plaintiff King received an email from Mr. Gordon

which contained a DocuSign attachment (the participation agreement). King

Declaration ¶ 22. Plaintiff signed the participation agreement. King Declaration and

on December 4, 2023, Mr. Gordon sent an email indicating that he had received the

signed document. King Declaration at ¶ ¶ 23-24; Exhibit G.


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             b.    Philips and PolyTech Defendants.

      The November 29, 2023 email was also sent to Eric Scott Thompson

(hereinafter “Attorney Thompson”) counsel for the PolyTech defendants. King

Declaration at ¶ 15; Exhibit E. Attorney Thompson has never responded or had any

communication with Plaintiff King. King Declaration at ¶ 26.

B.    Plaintiff King Requests that Sanctions are Assessed against Attorneys for
      Each Defendant.
      Plaintiff King is requesting that this Court impose sanctions against the

attorneys representing each defendant in this case. Plaintiff King is NOT seeking the

imposition of sanctions against the co-liaison counsel for the class action plaintiffs

in this matter (it is Plaintiff King’s belief that Attorney Rihn, Attorney Wolff, and

Mr. Gordon have been most helpful).

      The most egregious thing occurring in this dispute is a failure to even

acknowledge the request for discovery materials. While counsel for the Philips

defendants did not provide the requested discovery, at least they responded. This is

more than what the PolyTech defendants have done (which is absolutely nothing).

For this reason, any sanctions that may be imposed should be more severe for

Attorney Thompson.




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C.    In the Alternative, This Court Should Allow Plaintiff King to Opt-Out of any
      Proposed Class Action Litigation and Remand the Case to one of the
      following locations: (1) the United States District Court for the Northern
      District of Ohio; (2) the Summit County (Ohio) Court of Common Pleas; or
      (3) remain within the Western District of Pennsylvania as a Separate Action.

      Plaintiff King argues that should this Court not provide him with the discovery

that has already taken place, this Court should allow Plaintiff King to immediately

opt-out of any proposed class and remand the matter to the originating courts (either

the United States District Court for the Northern District of Ohio or the Summit

County (Ohio) Court of Common Pleas). Fed.R.Civ.P. 23(d)(1)(B) states:

      In conducting an action under this rule, the court may issue orders that:

             require—to protect class members and fairly conduct the
             action—giving appropriate notice to some or all class
             members of:
             (i)     any step in the action;

             (ii)    the proposed extent of the judgment; or
             (iii)   the members’ opportunity to signify whether they
                     consider the representation fair and adequate, to
                     intervene and present claims or defenses, or to
                     otherwise come into the action;
      Due process requires notice “reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.” Mullane v. Central Hanover Bank

& Trust, 339 U.S. 306, 314-15, 70 S. Ct. 652, 94 L. Ed. 865 (1950). After appropriate

notice is given, if absent class members do not opt out of the class action, they are



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bound by the court’s actions--including settlement--with no requirement of actual

notice. Reppert v. Marvin Lumber & Cedar Co., Inc., 359 F.3d 53, 56-7 (1st Cir.

2004) (citations omitted); see also Montgomery v. Beneficial Consumer Disc. Co.,

2005 U.S. Dist. LEXIS 3249, 2005 WL 497776 at *6 (E.D. Pa. Mar. 2, 2005)

(Surrick, J.) (actual notice not required).

      Elizabeth Chamblee Burch, the Fuller E. Callaway Chair of Law at the

University of Georgia School of Law, authored an article for Law360.com which

discussed whether or not multidistrict litigation denies plaintiffs of their right to due

process under the law. Burch wrote that:

      154,771 babies. That's a conservative estimate of the number of opioid-
      dependent children born in the United States since 2014. Every day, 75
      more babies join that group.
      These babies enter the world as addicts. Their withdrawals are
      immediate and devastating — tremors, trouble sleeping, seizures, an
      inability to eat and sometimes even death. Their needs extend past their
      hospital stays: Effects on learning, cognition and behavior are long-
      term.
      Lawyers representing these babies have been jostling for a seat at the
      decision-making table in the federal opioid multidistrict litigation,
      which includes more than 1,600 suits by cities, counties, states and
      Native American tribes.
      “[B]abies in this case have a meaningful right to be heard, in a
      meaningful way, in a timely manner," attorney Scott Bickford argued
      at proceedings in 2018. "The MDL has chosen not to accommodate
      these babies’ cases. And these babies essentially are now locked out of
      any kind of settlement discussions that are going on in the MDL.”




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 “[Leaders] will not even provide us with notices of depositions. ... [W]e
 have asked to participate or even listen to depositions, but we can't even
 get the notice,” Bickford explained.
 Multidistrict proceedings, which place a single judge in charge of
 similar lawsuits filed across the country, consume a substantial portion
 of the federal courts' civil caseload. Federal judges certify some of these
 proceedings as class actions, which explicitly builds in due process
 protections.
 Under Rule 23(b)(3), judges must consider whether class counsel
 adequately represents class members; notify class members; allow
 members to object to a settlement or opt-out; and ensure that class
 settlements are fair, reasonable and adequate. But judges rarely certify
 personal-injury classes.
 Worries about inadequate representation, self-dealing and the chance to
 have a say in suits that affect your health and safety don't evaporate just
 because mass litigation can't be certified as a class. As plaintiffs become
 one of many, referred to as a number and not by name, they face
 significant risks: Their lawyer may sell them out, and the jury trials
 they've come to expect are even rarer than the Perry Mason reruns that
 feature them.
 Yet they cannot opt out of an MDL. And judges consistently appoint
 leaders based on their experience, war chests and ability to get along
 with everyone — not their ability to provide adequate representation.
 Some judges communicate only with those leaders, leaving attorneys
 like Scott Bickford in the dark.

 Creating an MDL simply requires that dispersed lawsuits share a
 common factual question. That question needn't predominate, as
 common questions must in a Rule 23(b)(3) class. So, plaintiffs'
 discovery needs and requested remedies may differ substantially.

 For Bickford and his team to prove that opioid babies are entitled to
 ongoing medical monitoring, for example, they need information about
 drug companies' marketing efforts to obstetricians and gynecologists.
 They want to know what those companies knew about the harmful
 effects babies might experience in utero from opioid-addicted mothers.



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 But those aren't issues that relate to states' and counties' focus on
 government reimbursement. So Bickford requested that the Judicial
 Panel on Multidistrict Litigation create a separate MDL just for them.
 The current opioid MDL is a jumble of cases with tangled interests
 spearheaded by a group of repeat players.
 That repeat players consistently occupy lucrative leadership positions
 is no surprise, given the factors that judges use to appoint them. One
 would hope that they'd use their expertise and connections to generate
 better outcomes for the plaintiffs. Evidence, however, suggests
 otherwise: The deals they make are often riddled with self-interest, and
 laced with provisions that goad plaintiffs into consenting.

 Repeat players play the long game — which means that they can
 develop working relationships with their opponents, such that each side
 can use private settlement to bargain for what matters to them most
 from a self-interested standpoint. Corporate defendants and their
 lawyers want to end lawsuits with the least cost. And lead plaintiffs
 lawyers profit substantially from attorneys’ fees — specifically
 common-benefit fees (the money they receive for the work they do on
 the whole group's behalf).
 In all but one of the private settlements I examined, plaintiffs'
 leadership used their dealmaking authority to increase their common-
 benefit fees. Every deal likewise contained at least one settlement
 provision designed to strong-arm plaintiffs into settling, thereby ending
 the suits for defendants.
 Of course, negotiating for a raise with one's opponent prompts
 questions about what plaintiffs' leaders may concede in return —
 clauses that pressure plaintiffs to settle, stringent claims criteria or less
 money to plaintiffs? It also severs the contingent-fee link that
 intertwines the fates of lawyers and clients. That uncoupling can cause
 mischief.
 Take the lawsuits over the acid-reflux medicine Propulsid, for instance.
 The lead plaintiffs' lawyers in Propulsid (two of whom are also leaders
 in the opioid MDL — Peter Mougey and Chris Seeger) negotiated their
 common-benefit fees directly with the defendant, Johnson & Johnson
 (also a defendant in the opioid MDL).



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 Johnson & Johnson paid plaintiffs' leaders $27 million in common-
 benefit fees. But out of the 6,012 claimants who entered into the
 settlement program, only 37 received any money. Collectively, those
 claimants recovered little more than $6.5 million. Much of the
 remaining money in the settlement fund then reverted back to Johnson
 & Johnson.

 Propulsid’s lead plaintiffs' lawyer Russ Herman said, “Johnson &
 Johnson’s express wish was to have all cases resolved. ... One of the
 issues was that Johnson & Johnson insisted that unused funds would
 have 100% reversion to J&J.” Consequently, he continued, “the
 [plaintiffs steering committee] and the state liaison folks who
 negotiated Propulsid II insisted that ... J&J should pay [them] a
 reasonable attorney's fee, which was agreed to.” The deal was, in
 Herman's words, a “quid pro quo.”
 Propulsid’s not a one-off. Its leaders announced that they were creating
 a template for all future deals — and they did. Every subsequent
 settlement I examined replicated and refined its cramdown
 mechanisms. Here's how they worked: First, unless lawyers convinced
 85% of clients with death claims to enroll, then the deal was off.
 Johnson & Johnson could walk away, and neither plaintiffs' attorneys
 nor their clients would receive a dime.
 Second, plaintiffs’ lawyers had to recommend that all of their clients
 enter the settlement program. Entering the program required clients to
 dismiss their lawsuit without knowing what, if anything, they’d receive.
 Third, if a client chose not to settle, plaintiffs' lawyers designed an “opt-
 out” form — not to opt them out of the settlement, but to allow the
 attorney to get out of the attorney-client relationship. Settle your
 lawsuit, in other words, or I can no longer represent you.
 Judges assume that because plaintiffs have their own counsel, no
 adequate-representation concerns exist. In Scott Bickford’s argument
 for a separate MDL, Judge Lewis Kaplan said, “If there's a settlement
 and you don’t like the settlement and it affects your clients, you have
 the right to object, isn't that true?”

 Is it true? Settlements are ubiquitous; less than 3% of the cases
 centralized through MDL ever return to the courts where plaintiffs filed
 them. And as Propulsid shows, most settlements require that lawyers


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 treat their clients uniformly, not as the individuals that they are. Even
 if the Bickfords of the world could “object,” who would they object to?

 Most mass-tort MDLs conclude in private settlements. Are disgruntled
 lawyers to object to the same leaders who refused to grant them access
 to discovery and settlement negotiations? To the judge?
 Judges are pro-settlement. Judge Dan Polster, who presides over the
 opioid MDL, made it clear in his first hearing that he wanted a
 settlement by the year's end. He took a similar stance when he presided
 over the Gadolinium-Based Contrast Agents proceeding a few years
 earlier: “[T]he cases should be settled, all right? ... They can be settled
 and they should be settled,” he declared.
 Polster is not an outlier. The judges who preside over products liability
 proceedings nudge plaintiffs into private settlements in many different
 ways: They appoint claims administrators or settlement masters to
 formally preside over private deals, thereby stamping them with a
 judicial imprimatur; they allow attorneys to withdraw from
 representing clients who refuse to settle; and they issue “Lone Pine
 orders,” which impose evidentiary burdens on nonsettling plaintiffs —
 sometimes with short deadlines attached.

 The panel denied Bickford’s request for a separate MDL. As a judge on
 the panel concluded at the end of Bickford's hearing: “There is no
 authority for the due process argument.”
 That's true when it comes to creating an MDL, but not in conducting
 one. There, transferee judges must do more to protect due process. As
 I elaborate in my new book, judges should select cognitively diverse
 leaders via a competitive process that explicitly considers adequate
 representation, open channels for dissenting voices to chime in and
 episodically remand cases that centralization no longer serves.
 By tying common-benefit fees to the actual benefit that leaders confer
 on plaintiffs (not the sticker price of a settlement fund) and opening the
 courthouse doors to hear directly from affected clients, judges not only
 check self-dealing, they also empower plaintiffs who are faceless and
 nameless no more.




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Elizabeth Chamblee Burch, Does Multidistrict Litigation Deny Plaintiffs Due

Process?      (Jun.    9,     2019),     Law360.com,        available     online      at

https://www.law360.com/articles/1166461 (last accessed Dec. 31, 2023) (footnotes

omitted). Plaintiff King asserts that any restrictions on discovery amounts to a denial

of his constitutional right of due process under the law.

      Plaintiff King has a clear right to opt-out of any class action. “[T]he opt-out

right merely ensures that each putative class member retains the ability to act

independently of the class action if she so elects.... The opt-out right does not confer

extra benefits to a plaintiff’s independent action.” In re Lehman Bros. Sec. & Erisa

Litig., 655 Fed.Appx. 13, 16 (2d Cir. 2016) (emphasis added), affirmed sub nom.

California Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc., 582 U.S. 497, 137 S. Ct.

2042, 198 L.Ed.2d 584 (2017). Plaintiff King acted independently by filing his

complaint as an individual action in state court. One of the defendants exercised their

rights to remove the action to a federal court. If Plaintiff King wanted to participate

in the class action litigation, he would have filed his complaint in this Court.

                                   CONCLUSION

      Plaintiff King has demonstrated that he should be provided with the

previously produced discovery materials and that denial of production amounts to a

violation of his constitutional right of due process under the law. In the alternative,

Plaintiff King seeks to opt out of the potential class action litigation and have the



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case remanded to one of three jurisdictions: (1) the United States District Court for

the Northern District of Ohio; (2) the Summit County (Ohio) Court of Common

Pleas; or (3) the Western District of Pennsylvania as an individual action.

      For the above stated reasons, Plaintiff King prays the Court grant the relief

requested herein. This matter should be referred to Special Master Katz for a Report

and Recommendation.

Dated: January 3, 2024.                    Respectfully Submitted,

                                           /s/ Derrick Martin King
                                           DERRICK MARTIN KING
                                           1445 Crestview Avenue
                                           Akron, Ohio 44320-4049
                                           Phone: (330) 867-3979
                                           Email: dmking12370@hotmail.com

                                           Pro se Plaintiff




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was tendered for filing with the

Clerk of the Court. Upon receipt by the Clerk, the document will immediately be

scanned into the Court’s electronic filing system and served upon the parties either

through the CM/ECF filing system or through the MDL Centrality website.

Dated: January 3, 2024.                   /s/ Derrick Martin King
                                          DERRICK MARTIN KING
                                          Pro se Plaintiff




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                IN THE UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF PENNSYVANIA
                           Pittsburgh Division



 IN RE: PHILIPS RECALLED                     Master Docket No. 2:21-mc-01230-JFC
 CPAP, Bi-PAP, AND
 MECHANICAL VENTILATOR                       MDL No. 3014
 PRODUCTS LIABILITY
 LITIGATION                                  Judge JOY FLOWERS CONTI

 This Document Relates To:

 King v. Koninklijke Philips N.V., et al.
 Case No. 2:23-cv-02040-JFC



        DECLARATION OF PLAINTIFF DERRICK MARTIN KING
      Pursuant to 28 U.S.C. 1746, I hereby declare as follows:

      1.     I am an adult over the age of 18 and competent to testify as to the

matters contained herein based upon my own personal knowledge.

      2.     I am the plaintiff in the case of Derrick Martin King v. Koninklijke

Philips N.V., et al., No. 2:23-cv-02040-JFC. (opened on November 29, 2023 in the

United States District Court for the Western District of Pennsylvania and assigned

to the Honorable Judge Joy Flowers Conti). This case is a member case of the

multidistrict litigation in the United States District Court for the Western District of

Pennsylvania. In re: Philips Recalled CPAP, Bi-Level PAP, and Mechanical

Ventilator Products Litigation, No. 2:21-mc-01230-JFC, MDL No. 3014.


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        3.       This case originated in the Summit County (Ohio) Common Pleas

Court on the September 21, 2023 filing of a complaint. King v. Philips North

America LLC, et al. No. CV-2023-09-3575. The case was assigned to the Honorable

Judge Alison Breaux.

        4.       On September 28, 2023, I sent an email to the administrator of the

MDL-3014 website (www.mdl3014.com)3 informing them of the litigation filed in

state court and requesting access to the “plaintiffs only” portion of the website. I

explained the likelihood that my case would likely be transferred to the multidistrict

litigation. A copy of the email is annexed hereto and marked as Exhibit A.

        5.       On September 28, 2023, I received an email from Zach Gordon

(hereinafter “Mr. Gordon”), the case manager for Robert Peirce and Associates,

P.C. 4 Mr. Gorden informed me that I was eligible to access the plaintiffs only portion

of the MDL-3014 website and that I needed to register my information on the

website and I would receive my username and password. A copy of the September

28, 2023 email is annexed herein and marked as Exhibit B.

        6.       On September 28, 2023, I registered my information with the MDL-

3014 website and received a username and password.



3
  It should be noted that the MDL 3014 website is operated by Pietragallo Gordon Alfano Bosick and Raspanti, LLP
(a law firm which employs one of the co-liason counsel for the class action plaintiffs).
4
 Robert Pierce and Associates, P.C. employs D. Aaron Rihn (hereinafter “Mr. Rihn”) one of the attorneys appointed
as co-liaison counsel for the class-action plaintiffs by this Court. See Pretrial Order # 8, W.D. Pa. ECF No. 395.



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         7.       On October 18, 2023, attorney Wendy West Feinstein (hereinafter “Ms.

Feinstein”), who represents Philips RS North America LLC. filed a notice of

removal and the case was transferred to the United States District Court for the

Norther District of Ohio and assigned to the Honorable Judge Pamela A. Barker.

The Notice of Removal is filed as King v. Koninklijke Philips N.V., et al., No. 5:23-

cv-02042-PAB (N.D. Ohio ECF No. 1).5

         8.       On October 25, 2023, Ms. Feinstein filed a motion for stay of

proceedings pending transfer to this MDL. N.D. Ohio ECF No. 4.

         9.       On October 27, 2023, the Judicial Panel on Multidistrict Litigation

issued the Conditional Transfer Order (CTO-84).

         10.      On November 5, 2023, I sent an email to BrownGreer PLC (which

administers the MDL Centrality web portal) introducing myself and requesting

access to MDL Centrality. A copy of the November 5, 2023 email is annexed herein

and marked as Exhibit C.

         11.      I was provided with a username and password to the MDL Centrality

web portal on November 6, 2023.




5
  References to “N.D. Ohio ECF No.” refers to the electronic case filing docket of the United States District Court for
the Northern District of Ohio in the case of King v. Koninklijke Philips N.V., et al., No. 5:23-cv-02042-PAB.
References to “W.D. Pa. ECF No.” refers to the electronic case filing docket of the United States District Court for
the Western District of Pennsylvania in the case of In re: Philips Recalled CPAP, Bi-Level PAP, and Mechanical
Ventilator Product Litigation, No. 2:21-mc-01230-JFC. References to “MDL ECF No.” refers to the electronic case
filing docket of the United States Judicial Panel on Multidistrict Litigation in the case of In re: Philips Recalled CPAP,
Bi-Level PAP, and Mechanical Ventilator Product Litigation, MDL No. 3014.



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        12.     On November 5, 2023, I sent an e-mail to Mr. Rihn and Peter St. Tienne

Wolff (hereinafter “Mr. Wolff”) 6 in which I introduced myself, requested all court

documents filed to date in the multidistrict litigation, and requested a copy of all

discovery that has been produced to date. A copy of the November 5, 2023 email is

annexed herein and marked as Exhibit D.

        13.     On November 13, 2023, I received an email from Mr. Gordon which

provided me a link to a dropbox that contained all of the filings in the MDL. Mr.

Gordon also informed me that access to discovery materials is not available to non-

MDL leadership at this time. Finally, Mr. Gordon referred me to the MDL-3014

website. A copy of the November 13, 2023 email is annexed hereto and marked as

Exhibit E.

        14.     On November 29, 2023, this Court formally accepted the conditional

transfer order. W.D. Pa. ECF No. 2364.

        15.     On November 29, 2023, I sent an email to Ms. Feinstein and Mr.

Lavelle (who represent Philips RS North America LLC). The email was also sent to

William B. Monahan (hereinafter Mr. Monahan”) and Michael H. Steinberg

(hereinafter “Mr. Steinberg”) (who represents Koninklijke Philips N.V., Philips

North America LLC, Philips Holding USA, and Philips RS North America Holding



6
 Mr. Wolff is employed with Pietragallo Gordon Alfano Bosick and Raspanti, LLP and was appointed as the other
co-liaison counsel for the class-action plaintiffs. See Pretrial Order # 8, W.D. Pa. ECF No. 395.



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Corporation). The email was also sent to Eric Scott Thompson (hereinafter “Mr.

Thompson”) (who represents Polymer Technologies Inc. and Polymer Molded

Products LLC). In the email, I served the attorneys a copy of a document filed with

the Summit County (Ohio) Common Pleas Court which gave that court an update on

the case status. I also formally requested a copy of all discovery materials that has

been previously provided to the other plaintiffs. I also included a signed agreement

to be bound by the stipulated protective order (W.D. Pa. ECF No. 104, Exhibit A).

The November 29, 2023 email is annexed hereto and marked as Exhibit F

      16.    On November 30, 2023, I received an email from attorney Mr. Lavelle

indicating that no discovery material would be provided to me. A copy of the

November 30, 2023 email is annexed herein and marked as Exhibit G.

      17.    On November 30, 2023, I replied to Mr. Lavelle and indicated that he

had twenty-four (24) hours to indicate cooperation with my efforts to obtain

discovery or that I would be filing a motion to compel production with this Court. A

copy of the November 30, 2023 email is annexed hereto and marked as Exhibit H.

      18.    On December 1, 2023, I received an email from Mr. Gordon which

indicated that Mr. Rihn attempted to contact me via telephone.

      19.    On December 1, 2023, Mr. Rihn and I spoke via telephone. Mr. Rihn

inquired as to what specifically I was seeking (as the discovery produced so far is

enormous).


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      20.    Mr. Rihn asked me whether or not I would sign a participation

agreement in order to be provided with any common benefit work.

      21.    I indicated to Mr. Rihn that I would sign such an agreement.

      22.    On December 1, 2023, I received an email from Mr. Gordon which

contained a participation agreement for me to sign.

       23.   I immediately signed and returned the participation agreement.

      24.    On December 4, 2023, I received an email from Mr. Gordon indicating

that he received the signed agreement. A copy of the December 4, 2023 email is

attached herein and marked as Exhibit I.

      25.    As of this date, I have not had any further communication with Mr.

Gordon, Mr. Rihn, Mr. Lavelle, or Ms. Feinstein.

      26.    As of this date, I have never had any communication with Mr.

Thompson.

      I declare that the foregoing information is true and correct under penalty of

perjury.

      Executed on January 3, 2024 at Akron, Ohio.

                                           /s/ Derrick Martin King
                                           DERRICK MARTIN KING
                                           Declarant and Pro se Plaintiff




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dmking12370@hotmail.com

From:
Sent:
                Derrick Martin King
                Thursday, September 28, 2023 2:38 PM
                                                                                     A
To:             liaisons.mdl3014@pietragallo.com
Subject:        Philips CPAP Litigation



Dear Sir or Madam:

My name is Derrick M. King and I am a pro se plaintiff in a case filed against Philips
Respironics in an Ohio state court. The complaint deals with the CPAP recall. I was
diagnosed with sleep apnea in January 2018 and was prescribed the use of a CPAP
machine. I was eventually issued a Philips Respironics first-generation DreamStation
CPAP device. I used the device between April 2018 and June 2023. I was never
informed of the problems concerning the Philips Respironics CPAP device recall until
my device was replaced by a ResMed device.

In May 2023, I was diagnosed with severe aortic stenosis. I was subsequently
hospitalized and open-heart surgery was done. I have reason to believe that the daily
use of the first-generation Philips Respironics DreamStation CPAP device contributed
to my condition and subsequent surgery.

I recently discovered your website www.mdl3014.com and I noticed the tab marked
“plaintiffs’ only”. Because of the likeliehood that my case in state court will end up part
of the Philips multidistrict litigation in PA, I am requesting access to the “Plaintiff’s Only”
section of your website.

I have attached a copy of the complaint filed in the Summit County (Ohio) Court of



Common Pleas.

Thank you for your time.

Sincerely yours,




                                                       1
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                               IN THE SUMMIT COUNTY COMMON PLEAS COURT
                                              General Division


             DERRICK M. KING                                         Case No.
             1445 Crestview Ave
             Akron, OH 44320-4049                                    Judge:

                                      Plaintiff                      COMPLAINT:

                   vs.                                               Strict Liability—Design Defect

             PHILIPS NORTH AMERICA, LLC.                             Strict Liability—Failure to Warn
             c/o Corp. Service Company, S/A
             3366 Riverside Dr., Ste. 103                            Strict Liability—Manufacturing Defect
             Upper Arlington, OH 43221-1734
                                                                     Breach id Express Warranty
                   and
                                                                     Breach of Implied Warranty of
             PHILIPS RS NORTH AMERICA, LLC.                          Merchantability
             222 Jacobs St., FL 3
             Cambridge, MA 02141-2296                                Breach of the Implied Warranty of Usability

                   and                                               Negligence

             KONINKLIJKE PHILIPS N.V.                                Violation of the Ohio Consumer Sales
             Philips Center                                          Practices Act
             Amstelplein 2
             1096 BC Amsterdam, The Netherlands                      JURY DEMAND ENDORSED

                   and

             POLYMER TECHNOLOGIES, INC.
             420 Corporate Blvd.
             Newark, DE 19702-3330

                   and

             POLYMER TECHNOLOGIES, INC.,
             MOLDED PRODUCTS DIVISION
             420 Corporate Blvd.
             Newark, DE 19702-3330




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                  and

             POLYMER TECHNOLOGIES INC.,
             ELASTOMETRIC SOLUTIONS
             DIVISION
             76 Astor Ave.
             Norwood, MA 02062-5099

                                 Defendants.




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                   Plaintiff Derrick M. King brings this Complaint against Defendants Philips North America,

            LLC., Philips RS North America, LLC (collectively “Philips” or the “Philips Defendants”), and

            Defendants Polymer Technologies, Inc., Polymer Technologies Inc., Molded Products Division,

            and Polymer Technologies, Inc., Elastometric Solutions Division (collectively “PolyTech” or the

            “PolyTech Defendants”).

                                              PRELIMINARY STATEMENT

                   1.      Philips designs, manufactures, and sells certain lines of products that are intended

            to help people breathe. These include Continuous Positive Airway Pressure (“CPAP”) and Bilevel

            Positive Airway Pressure (“BiPAP”) machines, which are commonly used to treat sleep apnea,

            and mechanical ventilators (“ventilators”), which treat respiratory failure. The primary function of

            these devices is to blow air into patients’ airways. CPAP and BiPAP machines are intended for

            use during sleep, and ventilators are used continuously when needed.

                   2.      On June 14, 2021, Philips announced a recall of millions of its CPAP and BiPAP

            machines and ventilators (the “Recall”) in the United States. Each of these recalled products

            (referred to herein as a “Recalled Device” or collectively as the “Recalled Devices”) contain

            polyester-based polyurethane (“PE-PUR”) foam for sound abatement. Despite knowing for many

            years that PE-PUR foam would degrade and that this foam should not be used in the Recalled

            Devices, Philips waited until June 2021 to issue the Recall and notify the public. In its Recall,

            Philips announced that the PE-PUR foam may break down into particles and be inhaled or ingested,

            and may emit volatile organic compounds (“VOCs”) that may be inhaled, resulting in “serious

            injury, which can be life-threatening, cause permanent impairment, and/or require medical

            intervention to preclude permanent impairment” 1 (referred to herein as the “Defect”). Philips


            1
              Koninklijke Philips N.V. (Jun. 14, 2021). URGENT: Medical Device Recall. Available online
            at https://www.usa.philips.com/c-dam/b2bhc/master/landing-

                                                                  1

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            stated that the potential risks of exposure due to such chemicals include “headache/dizziness,

            irritation (eyes, nose respiratory tract, skin), hypersensitivity, nausea, vomiting, toxic and

            carcinogenic effects.” 2 Philips’ announcement to doctors advised that these hazards could result

            in “serious injury which can be life-threatening or cause permanent impairment.” 3

                    3.      On July 22, 2021, the U.S. Food and Drug Administration (“FDA”) confirmed the

            severity of the problem and classified the Recall as Class I or “the most serious type of recall,”

            meaning use of the Recalled Devices “may cause serious injuries or death.” 4

                    4.      Philips should have known about the risks caused by PE-PUR foam degradation

            when it was testing the foam pursuant to FDA regulations. And certainly, Philips knew as far back

            as 2008 that there were serious problems with the foam in the Recalled Devices because Philips

            received customer complaints about “contaminants, particles, foam, debris, airway, particulate,

            airpath, and black.” 5

                    5.      Then, according to the FDA, beginning in 2015, Philips received additional data

            from a variety of sources, including customer complaints, test reports, information from suppliers,




            pages/src/update/documents/en_US/philips-recall-letter-2021-11-16-a-cpap-a-ventilator-recall-
            letter-us-revised.pdf (last accessed Sept. 4, 2023) (annexed hereto and marked as EXHIBIT A).
            2
              Id.
            3
              Id.
            4
              U.S. Food and Drug Administration (Jul. 21, 2021). Philips Respironics Recalls Certain
            Continuous and Non-Continuous Ventilators, including CPAP and BiPAP, Due to Risk of
            Exposure to Debris and Chemicals. Available online at https://www.fda.gov/medical-
            devices/medical-device-recalls/philips-respironics-recalls-certain-continuous-and-non-
            continuous-ventilators-including-cpap-and (last accessed Aug 12, 2022) (annexed hereto and
            marked as EXHIBIT B).
            5
              U.S. Food and Drug Administration (Nov. 9, 2021). FDA Form-483 Inspectional Observations
            (hereinafter “483 Report). Available online at https://www.fda.gov/media/154244/download (last
            accessed Aug. 12, 2022) (annexed hereto and marked as EXHIBIT C). The redactions done to
            the document are original to the online version.

                                                                   2

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            and information from another entity owned by the ultimate parent company of Philips, confirming

            the problem of degradation of the PE-PUR foam contained within the Recalled Devices.

                   6.      Yet, Philips failed to disclose that the Recalled Devices were defective when

            manufactured and sold until many years later. In fact, it was only after Philips launched its next

            generation of CPAP/BiPAP machines – the DreamStation 2 devices – which do not contain PE-

            PUR foam, that Philips announced to their shareholders in a Quarterly Report on April 26, 2021

            that its previous generation DreamStation products and other CPAP, BiPAP, and ventilators posed

            serious health risks to users. Philips then waited an additional seven weeks before it initiated the

            Recall of the dangerously defective machines in the U.S. Shortly thereafter Philips expanded its

            recall of defective CPAP, BiPAP, and ventilators worldwide. 6

                   7.      Philips’ flagship line and top seller of its CPAP Recalled Devices are its

            DreamStation devices. On September 1, 2021, Philips received authorization from the FDA to

            begin a repair and/or replacement process for affected DreamStation devices in the United States. 7

            DreamStation customers, however, were not told when they might receive a replacement device,

            nor were they given any specifics as to how the replacement program would work. Moreover, the




            6
              See Koninklijke Philips N.V. (Jul. 2, 2021). Urgent Product Defect Correction in Australia
            (Recall for Product Correction in New Zealand): Philips Sleep and Respiratory Care Devices –
            Australia and New Zealand. Available online at
            https://www.philips.com.au/healthcare/e/sleep/communications/src-update (last accessed Aug.
            29, 2023) (other impacted countries include, but are not limited to Australia, Canada, Israel, and
            Chile).
            7
              See Koninklijke Philips N.V. (Sept. 1, 2021). Philips starts repair and/or replacement program
            of first-generation DreamStation devices in the US and other markets. Available online at
            https://www.usa.philips.com/healthcare/resource-catalog/landing/experience-
            catalog/sleep/communications/src-update/news/philips-starts-repair-and-replacement-program-
            of-first-generation-dreamstation-devices-in-the-us-and-other-markets (last accessed Aug. 29,
            2023) (annexed hereto and marked as EXHIBIT D).

                                                                  3

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            repair and/or replacement process was only for DreamStation Recalled Devices and did not

            encompass any other Recalled Device.

                   8.       The Recalled Devices are:

                            •        E30

                            •        DreamStation ASV

                            •        DreamStation ST, AVAPS

                            •        SystemOne ASV4

                            •        C Series ASV, S/T, AVAPs

                            •        OmniLab Advanced Plus

                            •        SystemOne (Q Series)

                            •        DreamStation CPAP, Auto CPAP, BiPAP

                            •        DreamStation Go CPAP, APAP

                            •        Dorma 400, 500 CPAP

                            •        REMStar SE Auto CPAP

                            •        Trilogy 100 and 200

                            •        Garbin Plus, Aeris, LifeVent

                            •        A-Series BiPAP Hybrid A30

                            •        A-Series BiPAP V30 Auto

                            •        A-Series BiPAP A40

                            •        A-Series BiPAP A30

                   9.       All of the Recalled Devices are defective because they contain PE-PUR foam.

                   10.      This action arises from Philips’s wrongful conduct, including: (a) designing a

            defective product that caused serious injuries to users, (b) failing to warn about serious, and




                                                                    4

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            reasonably foreseeable health risks caused by the Recalled Devices, (c) engaging in the deliberate

            concealment, misrepresentation and obstruction of public and regulatory awareness of serious

            health risks to users of the Recalled Devices, and (d) failing to utilize reasonable care in, among

            other things, designing, manufacturing, marketing, selling, distributing, and recalling the Recalled

            Devices.

                   11.      Philips and others are the defendants in a multidistrict federal court lawsuit that

            seeks class action status. On October 8, 2021, the Judicial Panel on Multidistrict Litigation granted

            a motion for transfer and consolidation. In re: Philips Recalled CPAP, Bi-Level PAP, and

            Mechanical Ventilator Products Litigation, MDL No. 3014, Case No. 2:21-mc-01230-JFC (W.D.

            Pa.) (hereinafter “the Philips Recalled CPAP Litigation”).

                   12.      On September 7, 2023, the proposed plaintiffs’ co-lead counsel filed a motion of

            proposed settlement class representatives for preliminary approval of class settlement agreement

            and release of economic loss claims and to direct notice to the proposed settlement class. A copy

            of the filing is annexed hereto and marked as EXHIBIT E and the brief in support is annexed

            herein and marked as EXHIBIT F.

                   13.      Under the proposed settlement agreement, the Philips defendants will pay a

            minimum of $445,000,000 for Device payment Awards and Device Return Awards for Eligible

            Users and $34,000,000 for Payer Awards for Eligible Payers.

                   14.      Specifically, eligible users will receive $100 for each Device that they return to

            Philips, plus a payment of between $55.63 to $1,552.25 per recalled device (depending on the

            recalled device at issue).




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                                                             PARTIES

                   15.      Plaintiff DERRICK M. KING is a resident of the City of Akron, County of

            Summit, and the State of Ohio who used the Recalled Devices and has suffered injuries from the

            use of the Recalled Devices.

                   16.      Defendant PHILIPS NORTH AMERICA, LLC. (“Philips NA”) is a Delaware

            company with its principal place of business at 222 Jacobs Street, Floor 3, Cambridge,

            Massachusetts 02141. Philips NA is a wholly owned subsidiary of Koninklijke Philips N.V. Philips

            NA manages the operation of Koninklijke Philips N.V.’s various lines of business, including

            Philips RS North America, LLC.

                   17.      Defendant PHILIPS RS NORTH AMERICA, LLC. (“Philips RS”) is a Delaware

            company with its principal place of business at 6501 Living Place, Pittsburgh, Pennsylvania 15206.

            Philips RS was formerly operated under the business name Respironics, Inc. (“Respironics”).

            Royal Philips acquired Respironics in 2008.

                   18.      Defendant KONINKLIJKE PHILIPS N.V. (“Royal Philips”) is a Dutch

            multinational company having its principal executive offices at Philips Center, Amstelplein 2,

            1096 BC Amsterdam, The Netherlands. Royal Philips is the parent company of the Philips group

            of healthcare technology businesses including Connected Care businesses focusing on Sleep &

            Respiratory Care. Royal Philips holds directly or indirectly 100% of its subsidiaries, Philips North

            America LLC and Philips RS North America LLC. As such, Royal Philips controls Philips North

            America LLC and Philips RS North America LLC with respect to the manufacturing, selling,

            distributing, and supplying of the Recalled Devices. Royal Philips can be served with process via

            the Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

            Commercial Matters (“Hague Service Convention”). Defendant Royal Philips is subject to the

            jurisdiction and venue of this Court.


                                                                   6

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                   19.      At all relevant times, each Philips Defendant acted in all aspects as the agent and

            alter ego of one another, and reference to “Philips” refers to each Philips Defendant individually

            and collectively.

                   20.      Defendant POLYMER TECHNOLOGIES, INC. (“Polymer Tech”) is a

            Delaware corporation with its principal place of business at 420 Corporate Blvd, Newark, DE

            19702. Polymer Tech directly or through another intermediary manufactured, treated, processed,

            and provided Philips with the PE-PUR foam that was used in the Recalled Devices.

                   21.      Defendant POLYMER TECHNOLOGIES INC., MOLDED PRODUCTS

            DIVISION (“MPD”) is a Delaware corporation with its principal place of business at 10 Easy

            Street, Bound Brook, NJ 08805. MPD is a molded polyurethane foam manufacturer. MPD directly

            or through another intermediary manufactured, treated, processed, and provided Philips with the

            PE-PUR foam that was used in the Recalled Devices.

                   22.      Defendant         POLYMER            TECHNOLOGIES,     INC.     ELASTOMERIC

            SOLUTIONS DIVISION (“ESD”) is a Delaware corporation with its principal place of business

            at 76 Astor Ave #101, Norwood, MA 02062. ESD specializes in shock and vibration isolation

            materials for products including medical devices. ESD directly or through another intermediary

            manufactured, treated, processed, and provided Philips with the PE-PUR foam that was used in

            the Recalled Devices.

                   23.      At all relevant times, Defendants Polymer Tech, PMP, and ESD acted in all respects

            as the agent and alter ego of one another, and reference hereinafter to “PolyTech” or the “PolyTech

            Defendants” refers to Defendants Polymer Tech, PMP, and ESD individually and collectively.

                                                 JURISDICTION AND VENUE

                   24.      This Court has subject matter jurisdiction over the Parties as the amount in

            controversy exceeds $25,000.00, exclusive of interest and costs.


                                                                    7

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                   25.      This Court has personal jurisdiction over Defendants pursuant to and consistent

            with the Constitutional requirements of Due Process because Defendants conduct substantial

            business in Summit County, the events giving rise to Plaintiff’s claims arise out of and relate to

            defendant's contacts with Summit County. Defendants’ affiliations with Summit County are so

            continuous and systematic as to render them essentially at home in this forum State. The unlawful

            acts of defendants have been directed at, targeted to, and effectively caused injury to persons

            residing in, located in or doing business in Summit County.

                   26.      This Court has proper venue as the events giving rise to Plaintiff’s claims arise out

            of and relate to Defendants’ contacts with Summit County, Ohio.

                      FACTUAL ALLEGATIONS REGARDING DEFENDANTS’ ACTIONS

            I.     CPAP AND BIPAP MACHINES AND VENTILATORS ARE PRESCRIBED TO
                   TREAT BREATHING DISORDERS.

                   27.      Sleep apnea is a sleeping disorder in which breathing is disturbed during sleep.

            These disturbances are called “apneas.”

                   28.      According to the Mayo Clinic, the main types of sleep apnea are obstructive sleep

            apnea, central sleep apnea, and complex sleep apnea syndrome (also known as treatment-emergent

            central sleep apnea).

                   29.      Obstructive sleep apnea is the most common type. It occurs when the muscles in

            the back of the throat relax during inhalation, which causes the airway to narrow or close and

            prevent sufficient air from passing through. This, in turn, lowers the oxygen level in the blood,

            which causes the brain to briefly wake the body from sleep to reopen the airway. This reawakening

            may be so brief that the patient does not remember it, and may be associated with snorting,

            choking, or gasping. It can happen anywhere from a few times per hour to once every few minutes,

            and can prevent the patient from reaching the deep, restful phases of sleep.



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                    30.      Central sleep apnea occurs when the brain fails to transmit signals to the breathing

            muscles. As a result, the body stops breathing, which can cause waking with shortness of breath

            or difficulty getting to sleep or staying asleep.

                    31.      Complex sleep apnea syndrome occurs when a patient has both obstructive sleep

            apnea and central sleep apnea. An image showing how an airway can be blocked as a result of

            sleep apnea appears below:




                    32.      CPAP therapy is a common treatment for sleep apnea. In CPAP therapy, a machine

            delivers a flow of air through a mask over the nose or mouth, which increases air pressure in the

            throat so that the airway does not collapse during inhalation. CPAP therapy assists breathing during

            sleep and can successfully treat sleep apnea. The illustration below shows a generic CPAP machine

            being used by a patient while sleeping.




                                                                    9

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                   33.      Another therapy to treat sleep apnea includes use of BiPAP machines, which use

            two different pressures – one for inhaling and one for exhaling.

                   34.      Patients customarily place the CPAP or BiPAP machines on a nearby nightstand or

            shelf. A hose connects the unit to the mask, which is worn over the nose or mouth during sleep.

            Below is an image of a Philips DreamStation machine on a nightstand.




                   35.      Ventilators are often used to treat respiratory failure. Ventilators push air into and

            out of the patient’s lungs like a bellows, typically through a tube that is connected to the machine

            on one end and inserted through the patient’s nose or mouth into the trachea on the other end.

            Patients are typically sedated while on ventilation because it can otherwise cause intense pain.

            Ventilators can also be used in other circumstances, such as during surgery when general

            anesthesia may interrupt normal breathing. There are also ventilators for home use. The following

            image from the National Institute of Health (“NIH”) shows a typical ventilator and how it works:




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            II.    THE EVOLUTION OF CPAP, BIPAP, AND VENTILATOR DEVICES CONTAINING
                   PE-PUR FOAM.

                   36.      The basic technology used in CPAP and BiPAP devices was developed in 1980 by

            an Australian pulmonologist, Dr. Colin Sullivan, who used it to treat dogs with respiratory

            problems, before the technology was adapted for humans.

                   37.      Respironics commercialized this technology and sold the first publicly available

            CPAP device in 1985. ResMed, an industry competitor, followed with the release of its CPAP

            device in 1989.

                   38.      These first-generation CPAP and BiPAP devices created a new and commercially

            viable field of respiratory therapy. The devices, however, were large and noisy, resulting in an

            “arms-race” between manufacturers to develop devices that were smaller, more responsive to

            patient breathing patterns, and quieter.

                   39.      The noise level of CPAP and BiPAP devices became a driver of adult consumer

            preference because loud devices interrupt the peaceful sleep of both the patient and their partner.

                   40.      To develop the quietest devices on the market with the lowest decibel ratings, some

            device manufacturers including Philips swathed the CPAP, BiPAP, and ventilator devices with

            sound abating foam to reduce the volume of noise emitted from the devices.




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                   41.      In fact, the alleged relative quiet nature of the DreamStation products with PE-PUR

            foam factored prominently into Philips’ marketing. 8 Philips represented that it extensively studied




            and measured the amount of sound produced by DreamStation products. Philips even included an

            infographic indicating DreamStation products are barely louder than a whisper: 9

                   42.      Other manufacturers did not utilize foam for sound abatement, instead they utilized

            silencing technology to abate the sound from the devices.

                   43.      Philips manufactures and sells CPAP and BiPAP machines and ventilators, among

            other products. According to Royal Philips’ 2020 Annual Report, 10 Sleep & Respiratory Care

            constituted 49% of its total sales in its Connected Care line of business, which, in turn, accounted




            8
              Koninklijke Philips N.V. (2016). Philips Respironics DreamStation: Rediscovering dreams.
            Available online at
            https://www.documents.philips.com/assets/20170523/62e4f43a1349489ba3cca77c0169c6ef.pdf
            (last accessed Aug. 1, 2023).
            9
              Id. at 3.
            10
               Koninklijke Philips N.V. (Feb. 23, 2021). Philips 2020 Annual Report: Innovating to address
            global health challenges. Available online at
            https://www.results.philips.com/publications/ar20?type=annual-
            report&origin=2_us_en_5250933_Microsoft+Shopping+%28Bing+Rebates%2C+Coupons%2C
            +etc.%29_mixedtype_cj&utm_source=5250933&utm_medium=affiliate&utm_campaign=cj&cje
            vent=ec08e4671a4811ed838f01650a82b821&utm_term=Microsoft+Shopping+%28Bing+Rebat
            es%2C+Coupons%2C+etc.%29&cjdata=MXxOfDB8WXww

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            for 28% of Royal Philips’ overall sales of about €19.535 billion. Philips has sold millions of CPAP,

            BiPAP, and ventilator devices in the United States and elsewhere throughout the globe.

                    44.      Philips provides a User Manual with its CPAP, BiPAP, and ventilator devices.

            Royal Philips owns the copyright to all, or most, of those User Manuals. A copy of the user manual

            for the Philips Respironics DreamStation CPAP Device is annexed hereto and marked as

            EXHIBIT G.

                    45.      Philips made the decision to use PE-PUR foam for sound abatement purposes in its

            CPAP, BiPAP, and ventilator devices. That decision was made for products distributed by Philips’

            entities throughout the globe including, but not limited to the United States, Australia, Canada,

            Israel, and Chile. 11

                    46.      Polyurethane is an organic polymer in which urethane groups connect the molecular

            units and is usually formed by reacting a diisocyanate or triisocyanate with a polyol. Under certain

            circumstances, polyurethane may break down into a diisocyanate or triisocyanate.

                    47.      The two main types of polyurethane are polyester and polyether. Polyester

            polyurethane has better shock absorption and vibration dampening properties and is commonly

            used for soundproofing or sound dampening.

                    48.      It has been known for decades that polyester polyurethane is susceptible to

            hydrolysis, the chemical breakdown of a compound due to reaction with water, particularly in

            medical applications. For example, a chapter of a scientific encyclopedia published in 2013 states:




            11
              See Koninklijke Philips N.V. (Jul. 25, 2022). Philips Q2 2022 Quarterly Report, at p. 33.
            Available online at https://www.results.philips.com/publications/q222/downloads/pdf/en/philips-
            second-quarter-results-2022-report.pdf?v=20230725135335 (last accessed Aug. 29, 2023).

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            “Poly(ester urethanes) were the first generation of PURs used in medical devices but were found

            unsuitable for long-term implants because of rapid hydrolysis of the polyester soft segment[.]” 12

                   49.        Polyether polyurethane, on the other hand, is less prone to hydrolysis. The same

            scientific encyclopedia chapter notes that polyether polyurethanes “with excellent hydrolytic

            stability replaced poly(ester urethanes) and have been used in medical devices for the past two

            decades.” 13

                   50.        There were readily available alternative designs available to Philips, other than to

            use PE-PUR foam in CPAP, BiPAP, and ventilators for sound abatement; including, without

            limitation, other types of sound abating foam and silencing technologies that do not use foam.

                   51.        For example, Philips’ principal competitor, ResMed, uses polyether polyurethane

            foam or silicone-based foam, not PE-PUR foam, for sound dampening. 14

                   52.        Defendants obtained 510(k) clearance from the Food and Drug Administration

            (“FDA”) for various CPAP, BIPAP and ventilator devices.

                   53.        510(k) clearance is distinct from the FDA’s pre-market approval (“PMA”) process

            in that clearance does not require clinical confirmation of safety and effectiveness and as such the

            manufacturer retains all liability for the assertions of safety and effectiveness.

                   54.        510(k) clearance generally only requires the manufacturer to notify the FDA under

            section 510(k) of the Medical Device Amendments of 1976 to the Food Device Cosmetic Act




            12
               N. Pal Singh Chauhan and N. Kumari Jangid (Jan. 2013). Polyurethanes and Silicone
            Polyurethane Copolymers. Chapter in Encyclopedia of Biomedical Polymers and Polymeric
            Biomaterials. Available online at
            https://www.researchgate.net/publication/236144965_POLYURETHANES_AND_SILICONE_
            POLYURETHANE_COPOLYMERS (last accessed Aug. 12, 2022).
            13
               Id.
            14
               ResMed (Updated Dec. 6, 2021). Information regarding Philips' recall. Available online at
            https://www.resmed.com/en-us/other-manufacturer-recall-2021/ (last accessed Aug. 28, 2023).

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            (MDA) of its intent to market a device at least 90 days prior to the device’s introduction on the

            market, and to explain the device’s substantial equivalence to a pre-MDA predicate device. The

            FDA may then “clear” the new device for sale in the United States.

                     55.      Philips utilized the 510(k) process to receive clearances for each of its Recalled

            Devices except the E30 ventilator which was marketed under an Emergency Use Authorization

            (EUA).

                     56.      With respect to the EUA for the E30 ventilator, on March 24, 2020, in response to

            “concerns relating to insufficient supply and availability of FDA-cleared ventilators for use in

            healthcare settings to treat patients during the Coronavirus Disease 2019 (COVID-19)

            pandemic[,]” the FDA issued an umbrella EUA of ventilators and related equipment. On April 8,

            2020, this EUA was extended to the E30 ventilator. A device may be authorized under this

            umbrella EUA if it “may be effective” in diagnosing, treating, or preventing COVID-19; and

            according to the FDA, “[t]he ‘may be effective’ standard for EUAs provides for a lower level of

            evidence than the ‘effectiveness’ standard that FDA uses for product approvals.”

                     57.      With respect to the 510(k) process for each of the other Recalled Devices, Philips

            included data, testing, and biocompatibility results along with its applications to claim substantial

            equivalence to a predicate device.

                     58.      Upon reviewing the submissions, the FDA determined Philips’ devices were

            substantially equivalent to a predicate device.

                     59.      After the devices were sold, Philips had a duty to find, investigate, and report

            adverse events to the FDA. For example, 21 C.F.R. part 803 requires Philips to conduct a thorough

            investigation of each event. This duty is triggered when Philips becomes aware of information

            from any source that reasonably suggests that its device (1) may have caused or contributed to a




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            death or serious injury, or (2) has malfunctioned, and, this device or a similar device it markets, is

            likely to cause or contribute to a death or serious injury, if the malfunction were to recur. 21 C.F.R.

            § 803.50.

                   60.      Additionally, as a manufacturer, Philips has unique knowledge concerning the

            frequency, severity and predictability of the complications and risks associated with its devices.

            Accordingly, there is a post-market responsibility under the FDA Regulations related to complaint

            handling, investigation and reporting to the FDA, including but not limited to:

                            a.        21 C.F.R. § 803.10 (for example, § 803.10(c) requires adverse
                                      events to be reported by a manufacturer in set time frames from 5 to
                                      30 days when the event becomes known);

                            b.        21 C.F.R. § 803.17 (“Medical device manufacturers must develop
                                      and implement standardized medical device reporting procedures so
                                      that timely evaluation of events and communication of findings can
                                      occur.”);

                            c.        21 C.F.R. § 803.18 (§ 803.18(d)(1) requires a device distributor to
                                      maintain complaint files and records, including any written,
                                      electronic or oral communication, either received or generated by
                                      the distributor, that alleges deficiencies related to the identity (e.g.,
                                      labeling), quality, durability, reliability, safety, effectiveness, or
                                      performance of a device.);

                            d.        21 C.F.R. § 803.20 (“Manufacturers must timely communicate a
                                      reportable event. Any information, including professional,
                                      scientific, or medical facts, observations, or opinions, may
                                      reasonably suggest that a device has caused or may have caused or
                                      contributed to an MDR reportable event. An MDR reportable event
                                      is a death, a serious injury, or, if you are a manufacturer or importer,
                                      a malfunction that would be likely to cause or contribute to a death
                                      or serious injury if the malfunction were to recur.”);

                            e.        21 C.F.R. § 803.3 (“If you are a manufacturer, you are considered
                                      to have become aware of an event when any of your employees
                                      becomes aware of a reportable event that is required to be reported
                                      within 30 calendar days or that is required to be reported within 5
                                      work days because we had requested reports in accordance with
                                      803.53(b). You are also considered to have become aware of an
                                      event when any of your employees with management or supervisory
                                      responsibilities over persons with regulatory, scientific, or technical


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                                responsibilities, or whose duties relate to the collection and
                                reporting of adverse events, becomes aware, from any information,
                                including any trend analysis, that a reportable MDR event or events
                                necessitates remedial action to prevent an unreasonable risk of
                                substantial harm to the public health.”);

                      f.        21 C.F.R. § 803.50 ((a) “If you are a manufacturer, you must report
                                to the FDA information required by 803.52 in accordance with the
                                requirements of 803.12(a), no later than 30 calendar days after the
                                day that you receive or otherwise become aware of information,
                                from any source, that reasonably suggests that a device that you
                                market:(1) May have caused or contributed to a death or serious
                                injury or (2) Has malfunctioned and this device or a similar device
                                that you market would be likely to cause or contribute to a death or
                                serious injury, if the malfunction were to recur.” Subsection (b)
                                defines information reasonably known to a manufacturer to include:
                                “[a]ny information that you can obtain by contacting a user facility,
                                importer, or other initial reporter; . . . [a]ny information in your
                                possession; or . . . [a]ny information that you can obtain by analysis,
                                testing, or other evaluation of the device.” Section 803.50 continues:
                                “(2) You are responsible for obtaining and submitting to us
                                information that is incomplete or missing from reports submitted by
                                user facilities, importers, and other initial reporters. (3) You are also
                                responsible for conducting an investigation of each event and
                                evaluating the cause of the event. If you cannot submit complete
                                information on a report, you must provide a statement explaining
                                why this information was incomplete and the steps you took to
                                obtain the information. If you later obtain any required information
                                that was not available at the time you filed your initial report, you
                                must submit this information in a supplemental report under 803.56
                                in accordance with the requirements of 803.12(a).”);

                      g.        21 C.F.R. § 803.52 (detailed individual and device information must
                                be submitted for each adverse event);

                      h.        21 C.F.R. § 803.53 (information regarding detailed individual and
                                device information must be submitted in a timely manner when
                                remedial action may be required);

                      i.        21 C.F.R. § 803.56 (supplemental reporting must be done if
                                additional information is learned that became known after the initial
                                report was submitted);

                      j.        21 C.F.R. § 814.82(a)(2) (manufacturer has a duty of “[c]ontinuing
                                evaluation and periodic reporting on the safety, effectiveness, and
                                reliability of the device for its intended use. FDA will state in the
                                PMA approval order the reason or purpose for such requirement and


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                                      the number of patients to be evaluated and the reports required to be
                                      submitted.”);

                            k.        21 C.F.R. § 814.84 (the periodic reports required by law must
                                      contain the reports in the scientific literature that pertain to the
                                      device which are known or should be known to the manufacturer);
                                      and

                            l.        21 C.F.R. § 820.198 (“Any complaint that represents an event which
                                      must be reported to FDA under part 803 of this chapter shall be
                                      promptly reviewed, evaluated, and investigated by a designated
                                      individual(s) and shall be maintained in a separate portion of the
                                      complaint files or otherwise clearly identified. In addition to the
                                      information required by 820.198(e), records of investigation under
                                      this paragraph shall include a determination of: (1) Whether the
                                      device failed to meet specifications; (2) Whether the device was
                                      being used for treatment or diagnosis; and (3) The relationship, if
                                      any, of the device to the reported incident or adverse event”).

                   61.      In addition, there are state law duties to monitor, investigate, evaluate and timely

            report injuries and other important safety information regarding a medical device, which Philips

            violated when it failed to: monitor, investigate and report PE-PUR foam degradation risk and

            incidents; take the necessary steps to continually evaluate the safety, effectiveness and reliability

            of its Recalled Devices; and take necessary steps to warn, strengthen its warnings, and take other

            measures to assure compliance with its obligations.

            III.   PHILIPS’ USE OF PE-PUR FOAM POSES SERIOUS HEALTH RISKS TO USERS OF
                   ITS RECALLED DEVICES.

                   63.      Philips has belatedly revealed that the PE-PUR foam in the Recalled Devices

            degrades and exposes patients to toxic particles and gases. Such exposure has harmed hundreds of

            thousands of patients across the United States who used the Recalled Devices.

                   64.      On the same day as the Recall, Philips released an announcement entitled “Clinical

            information for physicians.” In this announcement, Philips disclosed that it “has received several

            complaints regarding the presence of black debris/particles within the airpath circuit (extending




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            from the device outlet, humidifier, tubing, and mask).” 15 The PE-PUR foam is black, and when it

            breaks down, it can release black particles. 16 The announcement stated that the foam breakdown

            “may lead to patient harm and impact clinical care,” 17 explaining:

                            While there have been limited reports of headache, upper airway irritation,
                            cough, chest pressure and sinus infection that may have been associated
                            with the foam, based on lab testing and evaluations, it may be possible that
                            these potential health risks could result in a wide range of potential patient
                            impact, from transient potential injuries, symptoms and complications, as
                            well as possibly serious injury which can be life-threatening or cause
                            permanent impairment, or require medical intervention to preclude
                            permanent impairment. 18

                   65.      The announcement mentioned two types of hazards from the foam in the devices:

            dangers from foam degradation and dangers from release of VOCs.

                   66.      First, the announcement described dangers arising from foam degradation

            exposure:

                            Potential Hazard: Philips has determined from user reports and lab testing
                            that under certain circumstances the foam may degrade into particles which
                            may enter the device’s air pathway and be ingested or inhaled by the user
                            of its Continuous Positive Airway Pressure (CPAP), BiLevel Positive
                            Airway Pressure (BiLevel PAP) and Mechanical Ventilator devices. The
                            foam degradation may be exacerbated by environmental conditions of
                            higher temperatures and humidity in certain regions. Unauthorized cleaning
                            methods such as ozone may accelerate potential degradation.

                            The absence of visible particles does not mean that foam breakdown has not
                            already begun. Lab analysis of the degraded foam reveals the presence of
                            potentially harmful chemicals including:

                            -        Toluene Diamine



            15
               Koninklijke Philips N.V. (Jul. 8, 2021). Sleep and respiratory care update: Clinical
            information for physicians (hereinafter “Jul. 8 Update”). Available online at
            https://www.philips.com/c-dam/b2bhc/master/landing-pages/src/update/documents/philips-
            recall-clinical-information-for-physicians-and-providers.pdf (last accessed Aug. 28, 2023).
            16
               Id.
            17
               Id.
            18
               Id.

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                               -        Toluene Diisocyanate

                               -        Diethylene glycol. 19

                    67.        This particulate matter can harm a patient using a Recalled Device in multiple ways

            including, but not limited to damaging the respiratory system and by transmitting toxic compounds

            into the respiratory and gastrointestinal systems.

                    68.        The inhalation of extremely fine particulates, even non-toxic particulates, can lead

            to adverse health outcomes. The Environmental Protection Agency (“EPA”) notes that exposure

            to particles less than 10 micrometers can be linked to a variety of health problems including:

            aggravated asthma, decreased lung function, increased respiratory symptoms, and cardiac related

            diseases.” 20

                    69.        On July 8, 2021, Philips released a global supplemental clinical information

            document that was based on their own testing of the affected devices, stating that, “According to

            analysis performed by Philips, the majority of particulates are of a size (>8 μm) . . . Smaller

            particulates (<1-3 μm) are capable of diffusing into deep lung tissue and deposit into the alveoli.

            During testing performed by an outside laboratory on lab degraded foam, the smallest particulate

            size identified was 2.69 μm.” 21

                    70.        The purity of the air coming from a breathing device to a patient is highly important

            and material. Philips advertises the filtration systems in its devices, for example, noting them on a




            19
               Id.
            20
               U.S. Environmental Protection Agency. Health and Environmental Effects of Particulate
            Matter (PM). Available online at https://www.epa.gov/pm-pollution/health-and-environmental-
            effects-particulate-matter-pm (last accessed Aug. 15, 2023).
            21
               See Jul. 8 Update

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            diagram in its DreamStation Family Brochure. 22 Philips’ filtration system, however, does not filter

            out the particles described above.

                   71.      In addition to the hazards created by the inhalation of extremely fine particulates,

            Philips has stated that the particulates created via PE-PUR foam degradation contain toxic

            compounds such as toluene diamine, toluene diisocyanate, and diethylene glycol. 23 As discussed

            in more detail below, these compounds are toxic and/or carcinogenic when inhaled or ingested.

                   72.      Philips concluded in its Health Hazard Evaluations (“HHEs”) regarding the PE-

            PUR foam degradation risk that “[b]ased on the cytotoxicity and genotoxicity results and

            toxicological risk assessment, combined with [the] conclusion that particles are likely to reach the

            upper airway and potentially the lower respiratory track [sic], a reasonable worst-case estimate for

            the general and higher risk (e.g., patient populations with preexisting conditions or comorbidities)

            patient populations is a severity level 3 (Crucial) for both short/intermediate and long term

            exposure.” 24

                   73.      Philips’ HHEs note that the harm due to foam degradation “‘may not be

            immediately recognizable and may not be something that the customer would/could report,’ adding

            that certain harms ‘may not be easily linked to the hazardous situation or device use in general’—




            22
               Koninklijke Philips N.V. (2016). DreamStation Sleep therapy system: Rediscovering Dreams.
            Available online at https://www.philips.com/c-dam/b2bhc/master/landing-
            pages/src/update/documents/philips-recall-clinical-information-for-physicians-and-providers.pdf
            (last accessed Aug. 1, 2023).
            23
               See Jul. 8 Update.
            24
               U.S. Food and Drug Administration (May 2, 2022). PROPOSAL FOR FDA TO ISSUE AN
            ORDER FOR DEVICE REPAIR, REPLACEMENT, AND/OR REFUND: NOTICE OF
            OPPORTUNITY FOR A HEARING (hereinafter “518(b) Notice). Available online at
            https://www.fda.gov/media/158129/download (last accessed Aug. 28, 2023).

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            and that in the case of genetic mutations in particular, ‘a presumed lag time from exposure to harm

            development may make it difficult for patients to attribute their individual harm to the device. 25

                   74.      The second hazard is the release of VOCs, that is, toxic and carcinogenic chemical

            emissions from the PE-PUR foam. Philips explained:

                            Potential Hazard: Lab testing performed for and by Philips has also
                            identified the presence of VOCs which may be emitted from the sound
                            abatement foam component of affected device(s). VOCs are emitted as
                            gases from the foam included in the CPAP, BiLevel PAP and MV devices
                            and may have short- and long-term adverse health effects.

                            Standard testing identified two compounds of concern (COC) may be
                            emitted from the foam that are outside of safety thresholds. The compounds
                            identified are the following:

                            - Dimethyl Diazine

                            - Phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl). 26

                   75.      In addition to these two compounds, Philips has also found high levels of

            formaldehyde, a known carcinogen, in analyses of the Recalled Devices. Collectively, these

            compounds released by PE-PUR foam—formaldehyde, toluene diamine, toluene diisocyanate,

            diethylene glycol, dimethyl diazine, and phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)—

            are referred to herein as the “Foam Toxins.”

                   76.      Philips admitted that the risks of these VOCs include: “irritation and airway

            inflammation, and this may be particularly important for patients with underlying lung diseases or

            reduced cardiopulmonary reserve” and may lead to the following symptoms: “headache/dizziness,




            25
               Id. at 5.
            26
               Koninklijke Philips N.V. (Jun. 14, 2021). Sleep and Respiratory Care update: Clinical
            information for physicians (hereinafter “Jun. 14 Clinical Update”). Available online at
            https://www.philips.com/c-dam/b2bhc/master/landing-pages/src/update/documents/philips-
            recall-clinical-information-for-physicians-and-providers.pdf (last accessed Aug. 28, 2023).

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            irritation (eyes, nose, respiratory tract, skin), hypersensitivity, nausea/vomiting, toxic and

            carcinogenic effects,” as well as “adverse effects to other organs such as kidney and liver.” 27

                    77.      It is beyond reasonable dispute that patients using the Recalled Devices were

            exposed to harmful particulates and the toxic Foam Toxins. As detailed below, each of the Foam

            Toxins poses a serious health hazard to users of the Recalled Devices.

                    A.       Formaldehyde is a Known Carcinogen.

                    78.      Although Philips has not publicly acknowledged that formaldehyde is used in the

            manufacturing process for PE-PUR foam or is a byproduct of PE-PUR foam degradation, Philips’

            internal testing (dated May 22, 2019) reported the presence of formaldehyde in analyses of

            DreamStation 1 devices, finding “tolerable limits of the Formaldehyde compound were exceeded

            during initial operation, as well as at the [redacted].” 28

                    79.      Formaldehyde has been classified as carcinogenic to humans (Group 1) 29 by the

            International Agency for Research on Cancer (“IARC”) since 2006. 30 Governmental authorities in

            the United States have reached similar conclusions: the National Toxicology Program in the United

            State Department of Health and Human Services (“NTP”) has classified formaldehyde as a known


            27
               Id.
            28
               See 483 Report at 6.
            29
               The IARC, an agency of the World Health Organization, groups carcinogenic and potentially
            carcinogenic substances into five categories: Group 1, carcinogenic to humans; Group 2A,
            probably carcinogenic to humans; Group 2B, possibly carcinogenic to humans; Group 3, not
            classifiable as to its carcinogeneity to humans; and Group 4, probably not carcinogenic to
            humans. International Agency for Research on Cancer (last updated Jul. 1, 2022). Agents
            Classified by the IARC Monographs, Volumes 1–129. Available online at
            http://monographs.iarc.fr/ENG/Classification/index.php (last accessed Aug. 24, 2023). The EPA
            uses an equivalent grouping system of five categories (Groups A-E). See U.S. Environmental
            Protection Agency (last updated Nov. 21, 2022). Risk Assessment for Carcinogenic Effects.
            Available online at https://www.epa.gov/fera/risk-assessment-carcnogenic-effects (last accessed
            Aug. 28, 2023).
            30
               International Agency for the Research on Cancer (last updated Jul. 1, 2022). Formaldehyde,
            IARC Monograph – 100F. Available online at https://monographs.iarc.who.int/wp-
            content/uploads/2018/06/mono100F-29.pdf (last accessed Aug. 28, 2023).

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            human carcinogen since 201136; and the EPA has considered formaldehyde to be a probable

            human carcinogen (Group B1) since 1989. 31

                   80.      There is extensive research, including dozens of human epidemiological studies,

            showing an association between formaldehyde exposure and numerous forms of cancer, including:

            nasopharyngeal cancer; sinonasal cancer; leukemia; lung cancer; lymphohematopoietic cancers

            (other than leukemia); nasal, oral, and throat cancers (other than nasopharyngeal and sinonasal

            cancers); brain cancer; hepatic cancer; esophageal cancer; thyroid cancer; and pancreatic cancer. 32

            Additionally, exposure to formaldehyde appears to have a strong causal relationship to asthma. 33

                   B.       Toluene Diisocyanate is a Likely Carcinogen.

                   81.      Toluene diisocyanates (“TDIs”) are used primarily to manufacture flexible

            polyurethane foams such as PE-PUR foam. Philips has recognized that PE-PUR foam releases

            TDIs as it degrades. 34




            31
               U.S. Department of Health and Human Services, National Toxicology Program (Dec. 21,
            2021). Formaldehyde. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/formaldehyde.pdf. (last accessed Aug. 28,
            2023).
            32
               See National Cancer Institute (Jun. 10, 2011). Formaldehyde and Cancer Risk. Available
            online at https://www.cancer.gov/about-cancer/causes-
            prevention/risk/substances/formaldehyde/formaldehyde-fact-sheet#r1 (last accessed Aug. 28,
            2023).
            33
               See, e.g., U.S. Department of Health and Human Services, National Toxicology Program (Dec.
            21, 2021). Formaldehyde. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/formaldehyde.pdf (last accessed Aug. 28,
            2023); U.S. Department of Labor, Occupational Health and Safety Administration (Mar. 14,
            2001). Appendix C to § 1910.1048 - Medical Surveillance – Formaldehyde. Available online at
            https://www.osha.gov/laws-regs/regulations/standardnumber/1910/1910.1048AppC (last
            accessed Aug. 15, 2022).
            34
               See Jul. 8 Update (“[T]he degradative by-products of a PE-PUR foam after a humid ageing
            experiment were found to include … toluene diisocyanate isomers (TDI)”).

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                   82.      TDI is classified as possibly carcinogenic to humans (Group 2B) by IARC. 35 The

            U.S. Centers for Disease Control (“CDC”), Occupational Safety and Health Administration

            (“OSHA”), and National Institute for Occupational Safety and Health (“NIOSH”) also regard TDI

            as a potential human carcinogen based on tumorigenic responses in TDI treated rats and mice. 36

            The EPA has taken action under the Toxic Substances Control Act to allow oversight of the use of

            TDI in consumer products. 37 NTP classifies TDI as “reasonably anticipated to be a human

            carcinogen” based on sufficient evidence of carcinogenicity from studies in experimental

            animals. 38 The European Union warns that TDI “is fatal if inhaled.” 39

                   83.      Administration of TDI by stomach tube caused liver tumors (hepatocellular

            adenoma) in female rats and mice, benign tumors of the mammary gland (fibroadenoma) and

            pancreas (islet-cell adenoma) in female rats, and benign tumors of the pancreas (acinar-cell




            35
               International Agency on Cancer Research (Dec. 21, 2022). Toluene diisocyanates. IARC
            Monographs Vol. 71. Available online at
            https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
            5a04f82cac60.pdf (last accessed Aug. 25, 2023).
            36
               See, e.g., U.S. Department of Health and Human Services, National Toxicology Program (Dec.
            21, 2021). Toluene diisocyanates. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf (last accessed Aug. 28,
            2023); U.S. Centers for Disease Control, National Institute for Occupational Safety and Health
            (Dec. 1989). Toluene Diisocyanate (TDI) and Toluenediamine (TDA): Evidence of
            Carcinogenicity. Current Intelligence Bulletin 53: NIOSH Pub. No. 90-101. Available online at
            https://www.cdc.gov/niosh/docs/90-101/default.html (last accessed Aug. 15, 2022).
            37
               U.S. Environmental Protection Agency (last updated Mar. 7, 2023). Fact Sheet: Toluene
            Diisocyanate (TDI) and Related Compounds. Available online at https://www.epa.gov/assessing-
            and-managing-chemicals-under-tsca/fact-sheet-toluene-diisocyanate-tdi-and-related#action (last
            accessed Aug. 28, 2023).
            38
               U.S. Department of Health and Human Services, National Toxicology Program (Dec. 21,
            2021). Toluene diisocyanates. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf (last accessed Aug. 28,
            2023).
            39
               European Chemicals Agency (n.d.). Substance Infocard: m-tolylidene diisocyanate. Available
            online at https://echa.europa.eu/substance-information/-/substanceinfo/100.043.369 (last
            accessed Aug. 28, 2023).

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            adenoma) in male rats. It also increased the combined incidences of benign and malignant tumors

            of subcutaneous tissue (fibroma and fibrosarcoma) in rats of both sexes and of the blood vessels

            (hemangioma and hemangiosarcoma) in female mice. 40 Exposure to TDI also has been

            documented to cause respiratory irritation, asthma, and lung damage. 41

                   C.       Toluene Diamine is a Likely Carcinogen.

                   84.      Philips has recognized that PE-PUR foam releases toluene diamine (“TDA”) as it

            degrades. 42 Additionally, TDA is a hydrolysis product of TDI.

                   85.      IARC has classified TDA as possibly carcinogenic to humans (Group 2B), 43 and

            the EPA classifies it as a probable human carcinogen. 44 The European Union has concluded that

            TDA “cannot be considered safe for use” even as a hair dye, let alone breathed into the lungs for




            40
               U.S. Department of Health and Human Services, National Toxicology Program (Dec. 21,
            2021). Toluene diisocyanates. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf (last accessed Aug. 28,
            2023).
            41
               International Agency on Cancer Research (Dec. 21, 2022). Toluene diisocyanates. IARC
            Monographs Vol. 71. Available online at
            https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
            5a04f82cac60.pdf (last accessed Aug. 25, 2023).
            42
               European Chemicals Agency (n.d.). Substance Infocard: m-tolylidene diisocyanate. Available
            online at https://echa.europa.eu/substance-information/-/substanceinfo/100.043.369 (last
            accessed Aug. 29, 2023).
            43
               International Agency on Cancer Research (Dec. 21, 2022). Toluene diisocyanates. IARC
            Monographs Vol. 71. Available online at
            https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
            5a04f82cac60.pdf (last accessed Aug. 28, 2023).
            44
               U.S. Environmental Protection Agency (last updated Jan. 2000). Toluene-2, 4-Diamine.
            Available online at https://www.epa.gov/sites/default/files/2016-09/documents/toluene-2-4-
            diamine.pdf (last updated Aug. 28, 2023).

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            many hours each night. 45 The NTP classifies TDA as reasonably anticipated to be a human

            carcinogen based on animal studies. 46

                   86.      Available data on TDA primarily comes from animal studies. These studies

            strongly support an association between TDA and hepatic cancer. 47 There is evidence of a link

            between TDA exposure and pulmonary fibrosis based on in vitro studies in which human lung

            fibroblasts were exposed to TDI and TDA. 48 The EPA has determined that acute exposure to TDA

            can produce severe skin and eye irritation, sometimes leading to permanent blindness, respiratory

            problems (e.g., asthma), rise in blood pressure, dizziness, convulsions, fainting, and coma. 49

            Exposure to TDA can also cause irritation of the skin, nose, and throat, damage to reproductive

            and neurological systems, eye irritation, dermatitis, ataxia, tachycardia, respiratory depression,




            45
               European Commission, Health and Sciences Committees (Sep. 18, 2012). OPINION ON
            Toluene-2,5-diamine and its sulfate. Available online at
            https://ec.europa.eu/health/scientific_committees/consumer_safety/docs/sccs_o_093.pdf (last
            accessed Aug. 28, 2023).
            46
               U.S. Department of Health and Human Services, National Toxicology Program (Dec. 21,
            2021). 2,4‑Diaminotoluene. 15th Report on Carcinogens. Available online at
            https://ntp.niehs.nih.gov/ntp/roc/content/profiles/diaminotoluene.pdf (last accessed Aug. 28,
            2023).
            47
               Id.
            48
               It is well established that TDI is converted to TDA through hydrolysis (a reaction caused by
            exposure to water). See U.S. Centers for Disease Control, National Institute for Occupational
            Safety and Health (Dec. 1989). Toluene Diisocyanate (TDI) and Toluenediamine (TDA):
            Evidence of Carcinogenicity. Current Intelligence Bulletin 53, NIOSH Pub. No. 90-101.
            Available online at https://www.cdc.gov/niosh/docs/90-101/default.html (accessed Aug. 28,
            2023). Thus, ingested TDI may react with saliva and/or gastrointestinal fluids and convert to
            TDA. Additionally, there is evidence that inhaled TDI is converted into TDA by reaction with a
            substance (gluthathione) present in the lungs. As a result, observed effects ascribed to TDI may
            be due to unmeasured conversion to TDA after exposure.
            49
               Id.

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            stomach gas, hypertension, nausea, vomiting, methemoglobinemia, cyanosis, headache, weakness,

            exhaustion, dizziness, convulsions, fainting, and coma. 50

                   D.       Diethylene Glycol is Toxic to Humans.

                   87.      Diethylene glycol (“DEG”) is a widely used solvent. It is a colorless and odorless

            liquid with a sweetish taste and has often been a contaminant in consumer products, resulting in

            numerous epidemics of poisoning. DEG is used in the production of polyester polyurethane foam,

            and Philips has advised that DEG is a byproduct of PE-PUR foam degradation. 51

                   88.      DEG has an historical involvement in mass poisonings around the world.

            Famously, DEG caused the death of 100 people across 15 states in the 1937 Elixir Sulfanilamide

            Incident, which served as a catalyst for the enactment of the Federal Food, Drug, and Cosmetic

            Act (“FDCA”) in 1938. 52

                   89.      DEG is a toxic substance with a mean fatal dose of 1 mL/kg of pure DEG. 53

            Ingesting only a small amount may result in gastrointestinal distress and stupor. 54 Exposure may




            50
               U.S. Environmental Protection Agency (last updated Jan. 2000). Toluene-2, 4-Diamine.
            Available online at https://www.epa.gov/sites/default/files/2016-09/documents/toluene-2-4-
            diamine.pdf (last updated Aug. 28, 2023).
            51
               See Jul. 8 Update (“[T]he degradative by-products of a PE-PUR foam after a humid ageing
            experiment were found to include diethylene glycol (DEG) … .”).
            52
               U.S. Food and Drug Administration (Jul. 1981). Sulfanilamide Disaster. FDA Consumer
            Magazine. Available online at https://www.fda.gov/files/about%20fda/published/The-
            Sulfanilamide-Disaster.pdf (last accessed Aug. 28, 2023).
            53
               L.J. Schep, et al. (Jul.2009). Diethylene glycol poisoning. Clinical Toxicology 47(6):525-35.
            54
               U.S. Centers for Disease Control and Prevention, National Institute for Occupational Safety
            and Health (last updated Oct. 20, 2021). Ethylene Glycol: Systemic Agent. Available online at
            https://www.cdc.gov/niosh/ershdb/emergencyresponsecard_29750031.html#:%7E:text=Agent%
            20Characteristics&text=DESCRIPTION%3A%20Ethylene%20glycol%20is%20a,also%20be%2
            0a%20pharmaceutical%20vehicle (last accessed Aug. 28, 2023).

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            cause irritation of the eyes, skin, and mucous membranes. 55 DEG has also been shown to have

            damaging toxic, irritating, and inflammatory properties when inhaled. 56

                   E.       Dimethyl Diazine is a Precursor to a Known Carcinogen.

                   90.      Dimethyl diazene (“DD”), also known as azomethane, is “associated with the

            production process of the [PE-PUR] foam.” 57 Philips has admitted that DD is emitted from PE-

            PUR foam under normal conditions and possibly also as the result of degradation. 58

                   91.      IARC has not yet evaluated the potential carcinogenicity of DD to humans, as there

            is scant data concerning the effects of DD on humans and animals. However, DD is a member of

            a family of carcinogenic substances: 1,2-dimethylhydrazine (a Group 2A probable human

            carcinogen that exhibits hepatotoxic effects along with injuries to other organs in animal

            experiments 59) dehydrogenates into DD, which then oxidizes into azoxymethane (a known

            carcinogen that has not yet been classified by the EPA or IARC). Azoxymethane further oxidizes

            into methylazoxymethanol, a Group 2B possible human carcinogen. 60 Both methylazoxymethanol



            55
               Id.
            56
               See, e.g., C.J. Hardy, et al. (Aug. 1997). Twenty-eight-day repeated-dose inhalation exposure
            of rats to diethylene glycol monoethyl ether. Fundamental Applied Toxicology 38(2):143-47.
            57
               See Jul. 8 Update (finding that during “testing which ran a device at 35°C ± 2°C for 168 hours,
            two compounds of concern were emitted from the device: dimethyl diazene and phenol 2,6-bis
            (1,1-dimethylethyl)-4-(1-methylpropyl)”).
            58
               Id.
            59
               G. Choudary (1997). Toxicological Profile for Hydrazines. Agency for Toxic Substances and
            Disease Registry; R.B. Wilson (1976). Species variation in response to dimethylhydrazine.
            Toxicology and Applied Pharmacology, 38:3; M.A. Bedell, et al. (1982). Cell Specificity in
            Hepatocarcinogenesis: Preferential Accumulation of O6 Methylguanine in Target Cell DNA
            during Continuous Exposure of Rats to 1,2-Dimethylhydrazine. Cancer Res 42:3079-3083; W.J.
            Visek, et al. (1991). Dietary protein and chronic toxicity of 1,2‐dimethylhydrazine fed to mice.
            Journal of Toxicology and Environmental Health, 32:4, 383-413.
            60
               E. Fiala (Dec. 1975) Investigations into the metabolism and mode of action of the colon
            carcinogen 1, 2-dimethylhydrazine. Cancer, 36:2407-12; S. Wolter, N. Frank (1982). Metabolism
            of 1,2-dimethylhydrazine in isolated perfused rat liver. Chemico-Biological Interactions, 42:3,
            335-344; International Agency on Cancer Research (1987). IARC Monograph – 71-42;
            International Agency on Cancer Research (1987). IARC Monograph Supplement 7; H. Druckrey

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            and 1,2-dimethylhydrazine have been found to metabolize into formaldehyde, a Group 1 known

            carcinogen. 61 Thus, an individual regularly exposed to DD may also have been exposed to 1,2-

            dimethylhydrazine, azoxymethane, methylazoxymethanol, and/or formaldehyde—each of which

            is recognized as a known or probable carcinogen—as these compounds are oxidized and

            metabolized.

                   92.       DD is clearly linked to colorectal cancer in mice. Azoxymethane, the product of

            oxidized DD, is used to induce colorectal cancer in animals and has been shown to cause hepatic

            lesions,    intestinal   tumors,     and    renal     tumors. 62   Oxidized     azoxymethane   produces

            methylazoxymethanol, which is known to cause DNA damage and has been associated with

            amyotropic lateral sclerosis, parkinsonism, dementia, colon cancer, liver cancer, and prostate

            cancer. 63 Exposure to DD—as the precursor to these carcinogenic compounds—means exposure

            to these other compounds and the health risks they pose.

                   F.        Phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl) is a Toxic
                             Compound.

                   93.       The      substance        Phenol,         2,6-bis(1,1-dimethylethyl)-4-(1-methylpropyl)

            (“DTBSBP”) is “associated with the production process of the foam.” 64 According to Philips,



            (1970). Production of colonic carcinomas by 1,2-dialkylhydrazines and azoxyalkanes.
            Carcinoma of the Colon and Antecedent Epithelium 267-279.
            61
               P. Harbach, et al. (1981) Effects of selenium on 1,2-dimethylshydrazine metabolism and DNA
            alkylation; S.N. Newaz, et al. (1983). Metabolism of the Carcinogen 1,2Dimethylhydrazine by
            Isolated Human Colon Microsomes and Human Colon Tumor Cells in Culture; J. Erikson, et al.
            (1986). Oxidative Metabolism of Some Hydrazine Derivatives by Rat Liver and Lung Tissue
            Fractions.
            62
               M. Kobaek-Larsen, et al. (Jun. 2004) Secondary effects induced by the colon carcinogen
            azoxymethane in BDIX rats. APMIS 112(6):319-29.
            63
               P. Spencer, et al. (2012). Unraveling 50-Year-Old Clues Linking Neurodegeneration and
            Cancer to Cycad Toxins: Are microRNAs Common Mediators?. Frontiers in Genetics 3.
            64
               See July 8 Update (finding that during “testing which ran a device at 35°C ± 2°C for 168
            hours, two compounds of concern were emitted from the device: dimethyl diazene and phenol
            2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)”).

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            DTBSBP is emitted from PE-PUR foam under normal conditions and possibly also as the result

            of degradation. 65

                     94.      In 2010, the Canadian government determined that DTBSBP was a Schedule 1

            toxic substance under the Canadian Environmental Protection Act “based on available information

            regarding possible persistence, accumulation in organisms and potential to cause harm to

            organisms.” 66 These findings prompted Canadian regulators to propose “virtual elimination” of

            DTBSBP.67

            IV.      PHILIPS KNEW OF THE DANGERS OF PE-PUR FOAM FOR MANY YEARS PRIOR
                     TO THE RECALL.

                     95.      At the time it installed PE-PUR foam into the Recalled Devices, Philips was

            required to test the devices in accordance with ISO 18562-2:2017 and ISO 18562-3:2017.

                     96.      At that time, Philips should have known the PE-PUR foam posed a safety risk to

            users.

                     97.      The FDA concluded after an investigation of Philips’ Recalled Devices that

            beginning in at least 2008, and over time, Philips received hundreds of thousands of customer

            complaints regarding foam degradation in the Recalled Devices and, years later, received data

            from a variety of sources confirming foam degradation.

                     98.      The FDA’s findings were based, in part, on twenty-one (21) site inspections of

            Philips’ Murrysville, Pennsylvania facility between August 26, 2021 and November 9, 2021. The

            lead FDA investigator, Katelyn A. Staub-Zamperini, memorialized the agency’s findings in a 28-



            65
               Id.
            66
               Government of Canada (last modified Oct. 31, 2022). Phenol, 2,6-bis(1,1-dimethylethyl)-4-(1-
            methylpropyl)- (DTBSBP). Available online at https://www.canada.ca/en/health-
            canada/services/chemical-substances/challenge/batch-8/1-methylpropyl.html (last accessed Aug.
            28, 2023).
            67
               Id.

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            page FDA-483 Report issued on November 9, 2021. 68 The FDA delivered the 483 Report to

            Rodney Mell, Head of Quality and Regulatory at Philips Respironics, on or around November 9,

            2021. 69

                       99.       A 483 Report “is issued to firm management at the conclusion of an inspection

            when an investigator(s) has observed any conditions that in their judgment may constitute

            violations of the Food Drug and Cosmetic (FD&C) Act and related Acts.” 70 These observations

            are made in a 483 Report “when in the investigator’s judgment, conditions or practices observed

            would indicate that any food, drug, device or cosmetic has been . . . or is being prepared, packed,

            or held under conditions whereby it may become adulterated or rendered injurious to health.” 71

                       100.      In connection with its investigation for its 483 Report, the FDA learned that Philips

            received hundreds of thousands of complaints from customers about degradation of the foam in its

            Recalled Devices beginning at least as early as 2008:

                                 [A] query of your firm’s consumer complaints from 01/01/2008 to current,
                                 for the keywords contaminants, particles, foam, debris, airway, particulate,
                                 airpath, and black, resulted in over 222,000 complaints, and over 20,000
                                 of which occurred between 2008 to 2017 and involved Trilogy devices.
                                 Additionally, your firm performed a foam related complaint data analysis
                                 in April 2021 on complaints confirmed to be related to or involve foam
                                 degradation issues. The raw complaint data documents that 30 Trilogy
                                 related complaints were received from 2014 to 2017, and 1,254 related
                                 complaints were received across all products containing the affected
                                 foam, from 2014 to 2021. 72




            68
               See 483 Report.
            69
               Id. at 1, 28.
            70
               U.S. Food and Drug Administration (last updated Jan. 9, 2020). FDA Form 483 Frequently
            Asked Questions. Available online at https://www.fda.gov/inspections-compliance-enforcement-
            and-criminal-investigations/inspection-references/fda-form-483-frequently-asked-questions (last
            accessed Aug. 28, 2023).
            71
               Id.
            72
               483 Report at 12 (emphasis added).

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                    101.      Yet, “[n]o formal investigation, risk analysis, or CAPA were initiated, performed,

            or documented [by or on behalf of Philips], in response to the at least 222,000 complaints that

            could potentially be related to foam degradation and received from 2008 to 2017 . . . .” 73

                    102.      A Corrective and Preventative Action (“CAPA”) refers to procedures that medical

            device manufactures must follow to identify and attempt to correct a quality problem after one is

            detected. See 21 C.F.R. § 820.100. A CAPA is designed “to collect information, analyze

            information, identify and investigate product and quality problems, and take appropriate and

            effective corrective and/or preventive action to prevent their recurrence.” 74

                    103.      The FDA also found that Philips “was made aware of polyester polyurethane [PE-

            PUR] foam degradation issues in/around October 2015 . . . .” 75

                    104.      In fact, an adverse event report from the FDA Manufacturer and User Facility

            Device Experience (“MAUDE”) database shows that, as early as 2011, Philips knew that a patient

            discovered “black dust” on her nose when she awoke after using a Philips RemStar CPAP device

            and subsequently underwent treatment for “intoxication” and “chest tightness.” 76

                    105.      Philips investigated this report and confirmed that the device contained “evidence

            of an unk[nown] black substance in the air path and on internal components . . . present throughout

            both the intake and exhaust portions of the air path . . . .” 77



            73
               Id. at 16.
            74
               U.S. Food and Drug Administration (last updated Mar. 28, 2023). Corrective and Preventive
            Actions (CAPA). Available online at https://www.fda.gov/inspections-compliance-enforcement-
            and-criminal-investigations/inspection-guides/corrective-and-preventive-actions-capa (last
            accessed Aug. 28, 2023).
            75
               483 Report at 18.
            76
               U.S. Food and Drug Administration. MAUDE Adverse Event Report: RESPIRONICS, INC.
            REMSTAR PRO INTERNATIONAL. Retrieved online from
            http://www.fdable.com/advanced_maude_query/324fd08a137ce36c2d5faf453ee26f2f (last
            accessed Aug. 28, 2022).
            77
               Id.

                                                                    33

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                   106.      The FDA found that Philips’ analysis of consumer complaints was itself defective

            in that it “was not adequately performed to identify or detect quality problems.” 78 The FDA

            concluded that “potential foam degradation in Trilogy ventilator devices is not an isolated incident,

            and you [Philips] also have not documented a detailed rationale for why harm is not likely to occur

            again, as required by your Health Hazard Evaluation’s instructions.” 79 In light of this, the FDA

            concluded that Philips’ “risk analysis is inadequate or was not performed when appropriate or

            within an appropriate time frame of your firm becoming aware” of these issues. 80

                   107.      The FDA has concluded that:

                             Beginning in 2015, Philips received data from a variety of sources regarding
                             degradation of the PE-PUR foam contained within the recalled devices,
                             including complaints, test reports, information from suppliers, and
                             information from another entity owned by Philips’ parent company. Philips
                             failed to adequately evaluate this data and incorporate it into its CAPA
                             [Corrective and Preventive Actions] system for further investigation and
                             potential mitigation, as required by current good manufacturing practice
                             requirements codified in 21 C.F.R. § 820.100. 81

                   108.      The FDA 483 Report also noted, that “an incorrect and non-specified polyester

            polyurethane, raw foam product, sourced from your [Philips’] raw foam supplier resulted in non-

            conforming Trilogy Evo ventilatory finished devices being approved, released, and distributed

            which further resulted in the ongoing correction and removal.” 82 The correction and removal “were

            established as part of [Philips’] response to failed VOC and ISO 18562 testing of related Trilogy

            EVO ventilatory medical devices, which resulted from the presence of the non-specified polyester

            polyurethane foam component, incorrectly supplied by [Philips’] raw foam supplier.” 83



            78
               483 Report at 16.
            79
               Id. at 13.
            80
               Id. at 3.
            81
               518(b) Notice, at 6.
            82
               483 Report at 25.
            83
               Id.

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                   109.      On May 2, 2022, the FDA issued a formal notice to Philips pursuant to Section

            518(b) of the FDCA, 21 U.S.C. § 360h(b) (the “518(b) Notice”). 84 The 518(b) Notice stated that

            the FDA’s “Center for Devices and Radiological Health (CDRH) is proposing that an order should

            be issued pursuant to section 518(b)” of the FDCA “to require Philips to submit a plan for the

            repair, replacement, and/or refund of the purchase price of devices subject to the recall that were

            manufactured after November 2015, sufficient to assure that the unreasonable risk of substantial

            harm to the public health presented by those devices will be eliminated.” 85 This notice was directed

            to Thomas J. Fallon, Head of Quality, Sleep and Respiratory Care, for Philips Respironics, Inc.

                   110.      The 518(b) Notice stated that “there is sufficient evidence for FDA to determine

            that the devices subject to the recall present an unreasonable risk of substantial harm to the public

            health” and “that there are reasonable grounds to believe that the recalled devices that Philips

            manufactured after November 2015 were not properly manufactured with reference to the state of

            the art as it existed at the time of the devices’ manufacture.” 86

                   111.      The FDA concluded that “patients and providers cannot readily mitigate the

            unreasonable risk associated with the recalled devices[.]” 87

                   112.      The FDA also concluded that “[t]his risk is not the unavoidable byproduct of

            current ventilator, CPAP machine, and BiPAP machine technologies. Indeed, Philips and its

            competitors market ventilators, CPAP machines, and BiPAP machines that do not use PE-PUR

            foam.” 88




            84
               518(b) Notice.
            85
               518(b) Notice at 1.
            86
               Id. at 2.
            87
               Id.
            88
               Id.

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                   A.        In 2015, Philips Communicated with its Foam Suppliers About the problem
                             of PE-PUR Foam Degradation.

                   113.      The PE-PUR foam that Philips used in its Recalled Devices was manufactured by

            Defendant William T. Burnett & Co. (“Burnett”), a bulk foam manufacturer. Burnett produces

            foam in sheets that are between approximately four feet to more than six feet wide and may be as

            long as one hundred or two hundred feet.

                   114.      Burnett sells its bulk foam to intermediaries, including PolyTech and The

            SoundCoat Company (“SoundCoat”). PolyTech and SoundCoat then sell the foam to Philips,

            either directly or through another intermediary, such as Paramount Die Corporation, which may

            modify the foam.

                   115.      According to the FDA, “email correspondence between [Philips] and its raw foam

            supplier [PolyTech] beginning 10/30/2015 and forward, document that [Philips] was made aware

            of polyester polyurethane [PE-PUR] foam degradation issues in/around October 2015, which was

            later confirmed by [Philips’] foam supplier on 08/05/2016, via email.” 89

                   116.      On August 5, 2016, Bob Marsh, a PolyTech employee, wrote to Lee Lawler, 90 an

            employee of Burnett, referencing a concern expressed by one of its customers [Philips] in the Fall

            of 2015 regarding foam degradation in its medical devices. 91 Mr. Marsh stated: “They [Philips]

            are asking again, and wondered if we could give them any estimate on lifespan of the foam when

            exposed to 40°C and high humidity.” 92 Mr. Lawler responded that, under those conditions, he

            “would not be surprised if ester foam . . . would exhibit signs of hydrolysis in as short a time as a


            89
               483 Report at 18.
            90
               See Apr. 1, 2022 Affidavit of Lee F. Lawler, who is the Research & Development Manager at
            Burnett filed in the Philips Recalled CPAP Litigation, at ECF No. 589-1)
            91
               See August 5, 2016 e-mail exchange between Lawler and Bob Marsh, who is employed by
            Defendant Polymer Technologies, Inc. (filed in the Philips Recalled CPAP Litigation, ECF No.
            589-7) at WTB 00056).
            92
               Id.

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            year.” 93 He added that “that is not a good environment for polyester foam. Polyether foam could

            last years in that environment.” 94 Presumably referring to Philips, Mr. Marsh responded that he

            would “let them know they’d be better off with the ether.” 95

                   117.      Knowing about these issues with the PE-PUR foam, Philips tested the foam

            material used in its Recalled Devices. According to the FDA, “this testing spoke only to the limited

            finding that in the case of the [redacted] foam samples ‘returned from service in a Pacific rim

            location,’ spectroscopy results were ‘consistent with an environmental/chemical exposure causing

            base polymer cleavage and embrittlement of the material.’” 96 Nonetheless, based on the results of

            this limited testing, Philips concluded that no escalation to a CAPA process was required. 97

                   118.      According to the FDA, “no further investigation, health hazard evaluation, risk

            analysis, or design review was performed or documented by Philips at that time . . . and no

            preventative maintenance procedures were implemented[,]” other than a limited “preventative

            maintenance procedure” instituted by a Philips “entity owned by the parent company of Philips

            Respironics . . . to replace the air intake assembly of Trilogy ventilator products, due to complaints

            that had been received regarding degradation of the PE-PUR foam contained in the products.”98

            And even then, “Philips did not verify the effectiveness of this measure.” 99

                   119.      As Philips continued to ask its supplier about the properties of the PE-PUR foam

            and encountered more warning signs, it continued to put that foam in medical devices that millions

            of its customers were breathing through daily.



            93
               Id.
            94
               Id.
            95
               Id.
            96
               518(b) Notice at 7.
            97
               Id.
            98
               Id. at 6-7
            99
               Id. at 8.

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                    120.      Testing conducted for Philips in 2016 confirmed that Mr. Lawler from Burnett was

            correct. According to the FDA, this testing “determined that the PE-PUR foam was susceptible to

            degradation, resulting in the conclusion at that time that ‘polyester urethanes show bad resistance

            against high humidity in combination with high temperature.’” 100 Additional testing “determined

            that, compared to PE-PUR foam, another type of foam, polyether urethane, ‘show[s] a far better

            resistance against high humidity at high temperature.’” 101

                    121. The 483 Report identified “at least fourteen instances, assessments, and/or test reports,

            dated from 04/01/2016 to 01/22/2021, where [Philips] was aware of issues and concerns related to

            potential foam degradation and/or Volatile Organic Compound (VOC) emissions, with various

            Sleep and Respiratory care devices.” 102 It listed the specific analyses and tests, including one which

            concluded that “contrary to polyester urethane foams, [redacted] foams shows a far better

            resistance against high humidity at high temperature.” 103

                    122.      Philips received at least 110 complaints confirmed to be related to foam degradation

            between 2014 and 2017. 104 Approximately 80 of these complaints concerned CPAP and BiPAP

            devices. 105

                    123.      Nonetheless, Philips continued manufacturing and selling the now Recalled

            Devices containing PE-PUR foam and failed to warn prescribing physicians, durable medical

            equipment companies and the patient consumers of this problem.




            100
                Id. at 7-8.
            101
                Id. at 8.
            102
                483 Report at 3.
            103
                Id. at 4.
            104
                518(b) Notice at 7.
            105
                Id. at 8.

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                    B.        Philips Opened an Internal Investigation into Foam Degradation in Mid-
                              2018 that Confirmed PE-PUR Foam is Prone yo Degradation.

                    124.      In April 2018, Philips opened a precursor to a formal CAPA, referred to by Philips

            as a CAPA INV 0988, “to investigate complaints related to potential foam degradation for the

            Trilogy devices in Australia and to determine what actions should be taken.” 106 Philips reported

            that “[u]nits were returned from the field where the Trilogy Removable Air Path Foam [redacted]

            and the foam in the Inlet Air Path Assembly [redacted] was degrading, and getting into the

            motor/air path, causing at least 1 Trilogy unit to fail.” 107

                    125.      On April 20, 2018, Vincent Testa, a Project Mechanical Engineer at Philips,

            emailed Bonnie Peterson, a Project Manager at PolyTech. Mr. Testa stated, “We use the PAFS

            foam in the air path of our Trilogy family of ventilators as a means for noise reduction . . . .” 108

                    126       PAFS foam is PolyTech’s open cell, flexible acoustical grade PE-PUR foam.115

            Mr. Testa at Philips continued: “Recently weve [sic] received a few complaints from our customers

            that the foam is disintegrating . . . . The material sheds and is pulled into the ventilator air path. As

            you can imagine, this is not a good situation for our users.”116 Mr. Testa asked, “what could cause

            this material to break down.” 109

                    127.      On April 23, 2018, Mr. Marsh from PolyTech forwarded Philips’ April 20, 2018

            email to Mr. Lawler from Burnett, reporting that “[t]he customer [Philips] is finding degradation

            of the ester foam and the urethane film in their device, such that particles are breaking off and

            flowing in the airstream.” 110


            106
                Id.
            107
                483 Report at 14.
            108
                See Email from Vincent Testa at Philips to Bonnie Peterson at PolyTech (the Philips Recalled
            CPAP Litigation, ECF No. 589-10) at WTB 000070.
            109
                Id.
            110
                See April 23, 2018 email from Bob Marsh to Lee Lawler (the Philips Recalled CPAP
            Litigation, ECF No. 589-10) at WTB 000069-000070.

                                                                    39

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                    128.       On May 2, 2018, Mr. Marsh added in an email to Mr. Lawler that “Philips gave us

            another bit of information. They tested ether vs ester in high heat and humidity and found ether to

            be the better performer. It validated what we (you) had conveyed.” 111 Mr. Marsh asked whether

            exposure to oxygen, higher temperature, and higher humidity could accelerate deterioration of PE-

            PUR foam. 112

                    129.       Mr. Lawler responded that he did “not believe that exposure to oxygen will cause

            any significant damage to polyurethane foam unless elevated temperature and/or humidity is also

            present.” 113

                    130.       On May 3, 2018, Mr. Testa from Philips admitted in a follow-up email to Mr. Marsh

            from PolyTech, that:

                               We [Philips] are evaluating our options regarding the foam. We could
                               switch to the PAF [ether-based foam], or we could indicate a preventative
                               maintenance cycle in which they would replace the PAFS [ester-based]
                               foam pieces. . . . The environmental conditions for our device are a
                               maximum of 40C and 95% R.H. Note the difference in temperature. 114

                    131.       Mr. Testa at Philips asked Mr. Marsh from PolyTech the following:

                               1.        Please ask your foam supplier to calculate the service life based on
                                         this higher temperature (40C vs. 27C).

                                         a.       It would also be useful if they could provide a graph
                                                  depicting failure over time. For example, if tensile
                                                  strength reduced over time, they would plot strength
                                                  vs. time.




            111
                See May 2, 2018 email from Bob Marsh to Lee Lawler (the Philips Recalled CPAP Litigation,
            ECF No. 589-10) at WTB 000069.
            112
                Id.
            113
                See May 2, 2018 email from Bob Marsh to Lee Lawler (the Philips Recalled CPAP Litigation,
            ECF No. 589-10) at WTB 000069.
            114
                See May 3, 2018 email from Vincent Testa to Bob Marsh (the Philips Recalled CPAP
            Litigation, ECF No. 589-10) at WTB 000068-69).

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                             2.        At the end of the service life, what is the failure mode of this
                                       material? 115

                   132.      Mr. Marsh again forwarded these questions to Mr. Lawler at Burnett, who

            responded:

                             I am unable to answer Question Number 1. We would not recommend using
                             polyester foam in such an environment and have no direct data to use to
                             calculate the rate of hydrolysis. Polyether foam lifetime would not be
                             expected to reduce significantly at the stated conditions. Use with pure
                             oxygen could shorten the lifetime some by promoting more rapid oxidation.
                             I do not know the extent of the reduction, but do not expect it to be overly
                             significant.

                             Polyester foam will lose tensile strength and overall integrity as it
                             hydrolyzes. It will eventually decompose to a sticky powder. That will
                             happen very rapidly at 40C, 95% R.H. 116

                   133.      Mr. Lawler from Burnett added: “Is it one of our data sheets that states foam

            lifetime being 10 years at 95% R.H? I do not think I have seen a sheet with that statement.” 117 Mr.

            Marsh at PolyTech responded that he would pass along the information to Philips and that “[w]e

            have no idea where that statement came from. It has been on our data sheets for probably 20 years.

            We are removing it.” 118

                   134.      On May 23, 2018, Mr. Marsh from PolyTech forwarded to Mr. Lawler from Burnett

            another question from Mr. Testa at Philips about the degradation of the foam it was using in its




            115
                Id.
            116
                See May 4, 2018 email from Lee Lawler to Bob Marsh (the Philips Recalled CPAP Litigation,
            ECF No. 589-10) at WTB 000067-68 (emphasis in original).
            117
                Id. at WTB 00068.
            118
                See May 4, 2018 email from Bob Marsh at PolyTech to Lee Lawler at Burnett (the Philips
            Recalled CPAP Litigation, ECF No. 589-10) at WTB 000067. Notably, PolyTech still advertises
            on its website that PE-PUR foam is resistant to heat and humidity. See Polymer Technologies,
            Inc. (n.d.). Acoustic Foam for Sound Absorption. Available online at
            https://www.polytechinc.com/products/polymer-acoustic-foam (last accessed Aug. 29, 2022)
            (“Ester foams have superior physical properties and offer excellent resistance to heat, moisture,
            and chemicals.”).

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            Recalled Devices. 119 Mr. Testa explained that Philips had “sent samples to a local lab for

            analysis.” 120 The local lab concluded that the degradation was a result of cleavage of the bonds in

            the base polymer, and Mr. Testa stated that “[f]urther investigation concluded that prolonged

            exposure to high humidity causes the foam to degrade.” 121 Mr. Testa noted that “[a]s the foam

            degrades it breaks down into small particulate” and asked whether the foam “maintain[s] its UL

            94 Flame Resistance rating if it is broken down into particulate?” 122

                    135.      Mr. Lawler replied: “I am sure the degraded foam will not perform well in UL94

            testing, though I cannot imagine how one would actually perform the test on such degraded

            material.” 123

                    136.      On June 7, 2018, Mr. Testa at Philips again emailed Mr. Marsh at PolyTech:

                              As we continue our investigation of the deterioration of the PAFS foam, a
                              few questions has [sic] been posed regarding the material. Can you please
                              reach out to your foam supplier regarding the following.

                              1.        What is the actual composition of the polyurethane-ester
                                        foam      PAFS-038?     (CAS       #s/percentages/weight
                                        percent/reactive groups etc. any chemistry is very
                                        appreciated)

                              2.        What kind of diisocynate is used in the polyurethane foam
                                        synthesis process and how much?

                              3.        Is diethylene glycol or another polyol utilized in the foam
                                        synthesis process?




            119
                See May 23, 2018 email from Bob Marsh to Lee Lawler (the Philips Recalled CPAP
            Litigation, ECF No. 589-10) at WTB 000066-67.
            120
                Id. at WTB 00066.
            121
                Id. at WTB 00067.
            122
                Id.
            123
                See May 2, 2018 email from Lee Lawler to Bob Marsh (the Philips Recalled CPAP Litigation,
            ECF No. 589-10) at WTB 000066.

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                             4.        Have you tested to see if all diisocyanate groups are reacted
                                       in your foam or are there unreacted groups even after
                                       manufacturing? 124

                   137.      Mr. Marsh (PolyTech) forwarded the questions to Mr. Lawler (Burnett), who asked

            why Mr. Testa (Philips) needed this information. Mr. Marsh did not provide a definitive answer

            but said, “What Vince [Testa] told us is that they are investigating alternatives to polyurethane

            foam (ester and ether).” 125

                   138.      Mr. Lawler ultimately did not answer Mr. Testa’s questions because they touched

            on Burnett’s confidential, proprietary information.

                   139.      On June 20, 2018, Philips closed CAPA INV 0988. 126 According to the FDA,

            Philips implemented “a preventative maintenance procedure for Trilogy devices, but Philips did

            not verify the effectiveness of this measure.” 127 Yet “after CAPA INV 0988, Philips modified its

            CAPA procedures to include ‘requirements to help ensure that CAPAs are fully complete [and]

            appropriately scoped,’ and that ‘processing the issue [that was the subject of CAPA INV 0988]

            through the current CAPA program would have result[ed] in an appropriate horizontal

            assessment.’” 128

                   140.      The FDA pointed out that Philips’ informal CAPA INV 129 related to these Trilogy

            devices did “not include, investigate, or examine all of [Philip’s] CPAP and BiPAP medical

            devices, which also include similar air path assemblies and/or the affected polyester polyurethane


            124
                See June 7, 2018 email from Vincent Testa to Bob Marsh (the Philips Recalled CPAP
            Litigation, ECF No. 589-11) at WTB 000076-77.
            125
                See June 14, 2018 email from Bob Marsh to Lee Lawler (the Philips Recalled CPAP
            Litigation, ECF No. 589-10) at WTB 000075.
            126
                483 Report at 15
            127
                518(b) Notice at 8.
            128
                Id.
            129
                The 483 Report explained that Philips’s practice at the time was to first open CAPA
            requests—called “CAPA INVs”—as a precursor to a formal CAPA, but this could only occur if
            approved by a “CAPA Review Board” or delegate. See 483 Report at 14-15.

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            [PE-PUR] foam, which is susceptible to degradation.” 130 But Philips had acknowledged to the

            FDA that it had “received approximately eighty complaints related to foam degradation, on non-

            Trilogy ventilator devices, from 2014 to 2017.” 131

                    141.      The FDA concluded that Philips had not “adequately established” procedures for

            initiating CAPA procedures. 132 Specifically, the FDA faulted Philips for not initiating a “formal”

            CAPA after receiving “various complaints alleging foam degradation in Trilogy ventilator

            devices” and then closing its informal investigation just two months later without “verify[ing] the

            effectiveness” of the limited “preventative maintenance procedure for Trilogy devices.” 133

                    142.      Philips continued to receive more information suggesting that the PE-PUR foam

            was prone to degradation. According to the FDA, “[a] follow-up email amongst [Philips’]

            personnel, dated 08/24/2018, states that testing confirmed that the affected foam breaks down in

            high heat and high humidity environments, which concurred with Trilogy ventilator related

            complaints . . . .” 134

                    143.      Further, “[o]n December 12, 2018, several months after CAPA INV 0988 was

            closed, a report from additional testing conducted for Philips found that ‘[p]olyester polyurethane

            foam showed clear disintegration after 2 weeks.” 135

                    144.      Nonetheless, Philips continued manufacturing and selling the Recalled Devices

            containing PE-PUR foam.




            130
                 Id. at 15.
            131
                 Id. at 16 (emphasis added).
            132
                 Id. at 14.
            133
                .518(b) Notice at 8
            134
                 483 Report at 18.
            135
                 518(b) Notice at 8.

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                   145.      Philips failed to apprise the FDA of the facts and problems it learned from its foam

            suppliers about premature foam degradation risks.

                   146.      Philips failed to apprise the FDA of consumer, medical provider and durable

            medical equipment company reports of the presence of foam particles and other device failures.

                   C.        Philips Finally Opened a Formal CAPA in 2019 – But Did Not Initiate a
                             Recall for Two More Years.

                   147.      In April 2019, Philips received two complaints that “sound abatement foam ‘is

            degrading and entering the air path[.]’” 136

                   148.      In response, in June 2019, Philips finally initiated a formal CAPA, numbered

            CAPA 7211, related to the issues associated with the PE-PUR foam. But as the FDA explains:

                             Even then, that CAPA failed to evaluate all relevant data. Philips’ search of
                             FDA’s Manufacturer and User Facility Device Experience (MAUDE)
                             database in connection with CAPA 7211 identified only three medical
                             device reports (MDRs) associated with potential foam degradation
                             involving Trilogy ventilators between January 2011 and January 2021. Yet
                             an MDR analysis conducted by Philips in 2018 had already identified 17
                             documented complaints related to foam degradation in Trilogy ventilators,
                             and at least 14 of those 17 complaints had related MDRs. Similarly, Philips’
                             analysis of foam degradation-related complaints conducted in connection
                             with CAPA 7211 identified 1,254 complaints confirmed to be related to
                             foam degradation between 2014 and April 2021 across all affected products,
                             yet this analysis failed to include several complaints confirmed to be related
                             to foam degradation in Trilogy ventilators that were documented in 2018 in
                             connection with CAPA INV 0988. 137

                   149.      Philips continued to test the PE-PUR foam while the CAPA was underway. A

            Biological Risk Assessment dated July 2, 2020, found that “the biological and toxicological risks

            from exposure to degraded PE-PUR foam are of concern….” 138




            136
                Id.
            137
                Id. at 8-9.
            138
                483 Report at 7; see also id. (“Philips Respironics Inc. (PRI) was made aware in May 2019
            that four CPAP units were returned to a service center with degraded sound abatement foam.”).

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                    150.       Another internal “Biological Risk Assessment” dated December 10, 2020 – and

            “conducted as a result of field reports/complaints regarding degraded sound abatement foam in

            various CPAP and ventilator products” 139 – described the risks that degraded polyurethane foam

            posed to humans in no uncertain terms:

                               The cytotoxicity and positive genotoxicity results observed from degraded
                               PE-PUR foam samples indicate a potential patient risk. Potential
                               cytotoxicity and genotoxicity leading to carcinogenicity are possible
                               outcomes from degraded PE-PUR foam exposure. Overall, based on an
                               understanding of the toxicological significance of the foam degradants and
                               the results of the ISO 10993 testing to include mutagenic responses in both
                               a bacterial and mammalian system, the degraded PE-PUR foam is not
                               considered biocompatible and presents a significant biological risk to those
                               patient populations who are exposed to degraded PE-PUR foam. 140

                    151.       An additional Philips’ Biocompatibility Risk Assessment dated January 11, 2021,

            concurred that degraded PE-PUR foam “presents a significant biological risk to patients,” and goes

            on to state that “[p]otential cytotoxicity and genotoxicity leading to carcinogenicity are possible

            outcomes from degraded PE-PUR foam exposure.” 141

                    152.       Ultimately, in CAPA 7211, Philips concluded that “the cause of the foam

            degradation condition is long-term exposure to environmental conditions of high temperature

            combined with high humidity” and restated that “the cause of degradation was due to chemical

            breakdown of the foam due to exposure to water caused by long-term exposure to environmental

            conditions.” 142

                    153.       Based on its investigation, the FDA concluded that Philips’ upper management was

            aware of the foam degradation issues, discussed it at numerous management review meetings, and

            yet delayed doing anything about it:


            139
                Id. at 8.
            140
                Id. at 7-8 (emphasis added).
            141
                Id. at 8.
            142
                518(b) Notice at 10.

                                                                    46

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                             [F]irm management, including management with executive responsibility,
                             were aware of potential foam degradation issues concerning CPAPs,
                             BiPAPs, and Trilogy ventilators since at least 01/31/2020, or earlier, and
                             implemented no further corrective actions until April 2021.

                             Polyester polyurethane foam degradation issues concerning CPAPs,
                             BiPAPs, and Trilogy Ventilators were discussed at all [redacted]
                             management review meetings, since the 2019 [redacted], dated 01/31/2020
                             . . . . Additionally, your firm [Philips] became aware of this issue and related
                             field complaints in at least 2015 or earlier. 143

            V.     PHILIPS CONSISTENTLY MARKETED ITS BREATHING MACHINES AS SAFE
                   AND EFFECTIVE EVEN WHEN IT KNEW OF THE PROBLEMS WITH PE-PUR
                   FOAM DEGRADATION AND ASSOCIATED HEALTH RISKS.

                   A.        Philips Never Hinted at the Dangerous Condition of the Recalled Devices.

                   154.      At no point prior to April 2021, when Philips first disclosed foam issues to its

            shareholders, did Philips even hint that there was a dangerous condition in its recalled CPAP,

            BiPAP, and ventilator devices. Instead, Philips held itself out as a trusted brand and “global leader

            in the sleep and respiratory markets.” 144 Its branding promises consumers that they will “[b]reath

            easier, sleep more naturally[.]” 145 Philips further assures consumers that its “sleep therapy systems

            are designed with the needs of care practitioners and patients in mind,” and that its “quality systems

            reflect [Philips’] commitment to providing enhanced patient comfort,” among other things. 146 And

            it has long advertised its CPAP and BiPAP Machines as “clinically proven” treatment for sleep

            disorders.




            143
                483 Report at 24.
            144
                Koninklijke Philips N.V. (2004-2023). Breathe easier, sleep more naturally: innovation and
            you. Available online at http://www.respironics.com/product_library (last accessed Aug. 30,
            2023).
            145
                Id.
            146
                Id.

                                                                   47

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                    155.       Philips boasts that it has the “most prescribed CPAP systems by U.S. sleep

            physicians.” 147

                    B.         Philips Sold its Humidifier Accessory Allowing Warm Storage Conditions
                               and Contributing to Humidity of the Foam.

                    156.       Philips sold humidifiers to accompany its CPAP devices, especially the

            DreamStation, stating in the humidifier’s User Manual under the heading “Intended Use”: “The

            DreamStation Heated Humidifier is an accessory for the Philips Respironics DreamStation therapy

            devices to provide moisture to the patient circuit.” 148

                    157.       The humidifier manual quoted above had, under the heading “DreamStation Heated

            Humidifier Specifications” had environmental specifications that included an “Operating

            Temperature: 5° to 35° C (41° to 95° F” )” as well as “Storage Temperature: -20° to 60° C (-4° to

            140° F)” and “Relative Humidity (operating & storage): 15 to 95% (non-condensing).” 149

                    158.       Philips provided the humidifier option explaining in the DreamStation User Manual

            that “[y]ou can use the heated humidifier and the heated tube with your device. They are available

            from your home care provider. A humidifier may reduce nasal dryness and irritation by adding

            moisture to the airflow.” 150

                    159.       Philips not only knew but recommended the use of the humidifier, and also advised

            that the device could be stored in a room as warm as 140° F despite their knowledge that warm,

            hot and humid conditions contributed to rapid degradation of its sound insulating foam.




            147
                Koninklijke Philips N.V. (2004-2023). Simplified. Intuitive. Connected. Available online at
            https://www.usa.philips.com/healthcare/solutions/sleep/sleep-therapy (last accessed Aug. 30,
            2023).
            148
                See
            149
                Id. at 12.
            150
                Id. at 22.

                                                                    48

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            VI.    PHILIPS FINALLY RECALLED ITS DEFECTIVE DEVICES CONTAINING
                   HAZARDOUS PE-PUR FOAM, BUT ONLY AFTER LAUNCHING ITS NEWEST
                   DEVICE WITHOUT PE-PUR FOAM.

                   A.        Prior to the Recall, in April and May 2021, Philips Launched the
                             DreamStation 2 (which does not Contain PE-PUR Foam).

                   160.      Two months prior to the Recall, Philips announced on April 13, 2021, that it was

            launching the DreamStation 2, a next-generation machine in its DreamStation product family. The

            DreamStation 2 does not contain PE-PUR foam.

                   161.      Philips, acting with willful, wanton, and reckless disregard for the safety of its

            consumers, chose to defer even warning patients about the foam degradation, particle debris and

            off gassing of toxic fumes, and also deferred the recall until such time as it had its new product

            commercially available so as to not lose market share to competitors.

                   162.      Not coincidentally, less than two weeks after its launch of the DreamStation 2, on

            April 26, 2021, Philips announced that its previous generation DreamStation products and other

            Recalled Devices posed serious health risks to users and, in the same release, Philips started trying

            to convince consumers to purchase and use its new DreamStation 2 device:

                             Philips has determined from user reports and testing that there are possible
                             risks to users related to the sound abatement foam used in certain of Philips’
                             sleep and respiratory care devices currently in use. The risks include that
                             the foam may degrade under certain circumstances, influenced by factors
                             including use of unapproved cleaning methods, such as ozone,* and certain
                             environmental conditions involving high humidity and temperature. The
                             majority of the affected devices are in the first-generation DreamStation
                             product family. Philips’ recently launched next-generation CPAP
                             platform, DreamStation 2, is not affected. Philips is in the process of
                             engaging with the relevant regulatory agencies regarding this matter and
                             initiating appropriate actions to mitigate these possible risks. Given the
                             estimated scope of the intended precautionary actions on the installed base,
                             Philips has taken a provision of EUR 250 million.151


            151
                Koninklijke Philips N.V. (Apr. 26, 2021). Philips' First-Quarter Results 2021. Available
            online at https://www.philips.com/a-w/about/news/archive/corpcomms/news/press/2021/philips-
            first-quarter-results-2021.html (accessed Aug. 30, 2023).

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                   B.        Testing Continued to Confirm the Recalled Devices were Defective and the
                             FDA received additional MDRs.

                   163.      Even as it launched the DreamStation 2 device and announced publicly that its

            previous generation DreamStation products posed serious health risks to users, Philips continued

            to conduct tests that confirmed some of its breathing products were defective.

                   164.      For example, on May 17, 2021, Ken Cole from RJ Lee, an industrial forensics

            analytical laboratory and scientific consulting firm, produced a presentation analyzing the foam in

            Philips’ Trilogy EVO devices. The presentation states that the investigation was “prompted by

            staff observation of color variance across both current production and previous builds.” 152

                   165.      The analysis involved six samples of foam, two from units built in 2018 and four

            taken from Philips’ current production stock in May 2021. 153 Some of the samples from 2021

            showed “differing cell structure” which is an “[i]ndication of poor process control.” 154 The 2021

            foam had “significant contaminants.” 155 The foam was supposed to be ether-based, 156 but testing

            revealed indications that some of the foam was actually ester-based. 157

                   166.      In addition, MDRs associated with the PE-PUR foam breakdown increased

            significantly. 158 From 2011 to April 2021 when Philips first notified the FDA of their intention to



            152
                See RJ Lee Analysis Review of Trilogy EVO Foam (the Philips Recalled CPAP Litigation,
            ECF No. 589-3) at WTB 000003.
            153
                 Id. at WTB00006.
            154
                 Id. at WTB00008.
            155
                 Id. at WTB 000009; see also WTB 000010 (“Indication of poor process control and/or
            contamination.”).
            156
                 Id. at WTB 000002.
            157
                 Id. at WTB 000013.
            158
                 As stated above, manufacturers, such as Philips, are required to submit medical device reports
            (MDRs) when information reasonably suggests that their device may have caused or contributed
            to a death or serious injury, or has malfunctioned, and that device or a similar device they
            manufacture would be likely to cause or contribute to a death or serious injury if the malfunction
            were to recur. Health professionals, consumers, and patients may voluntarily submit reports of
            device adverse events and malfunctions to the FDA. See, e.g., 21 C.F.R. § 803.20.

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            conduct a field action due to concerns pertaining to foam degradation (breakdown) in certain

            ventilators, BiPAP machines, and CPAP machines, Philips submitted only 30 MDRs that they

            identified as associated with the PE-PUR foam breakdown and there were no reports of patient

            injury or death among those 30 MDRs. 159 Eight of those reports were from the United States.

                   167.      After Philips notified the FDA of its intention to conduct a field action in April

            2021 through July 31, 2022, the amount of MDRs the FDA received increased significantly as did

            the “reports of death, associated with the PE-PUR foam breakdown or suspected foam

            breakdown.” 160 Specifically, the FDA reported:

                             •    From April 2021 through April 30, 2022, the FDA received more than
                                  21,000 MDRs, including 124 reports of death, associated with the PE-
                                  PUR foam breakdown or suspected foam breakdown.

                             •    From May 1, 2022, through July 31, 2022, the FDA received more than
                                  48,000 MDRs, including 44 reports of death, associated with the PE-
                                  PUR foam breakdown or suspected foam breakdown.

                   168.      The FDA continued: “A wide range of injuries have been reported in these MDRs,

            including cancer, pneumonia, asthma, other respiratory problems, infection, headache, cough,

            dyspnea (difficulty breathing), dizziness, nodules, and chest pain.” 161

                   C.        Finally, in June 2021, Philips Recalled its Defective Devices.

                   169.      Finally, on June 14, 2021, Philips issued a recall notice directed to its customers in

            the United States, stating:



            159
                U.S. Food and Drug Administration (last updated Jun. 2, 2023). UPDATE: Certain Philips
            Respironics Ventilators, BiPAP Machines, and CPAP Machines Recalled Due to Potential
            Health Risks: FDA Safety Communication. Available online at https://www.fda.gov/medical-
            devices/safety-communications/update-certain-philips-respironics-ventilators-bipap-machines-
            and-cpap-machines-recalled-due?utm_medium=email&utm_source=govdelivery#mdr (last
            accessed Aug. 30, 2023).
            160
                Id. (stating “The MDRs received included both mandatory reports from Philips and voluntary
            reports from health professionals, consumers, and patients.”).
            161
                Id.

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                                To date, Philips has produced millions of Bi-Level PAP, CPAP and
                                mechanical ventilator devices using the PE-PUR sound abatement foam.
                                Despite a low complaint rate (0.03% in 2020), Philips determined based on
                                testing that there are possible risks to users related to this type of foam. The
                                risks include that the PE- PUR foam may degrade into particles which may
                                enter the device’s air pathway and be ingested or inhaled by the user, and
                                the foam may off-gas certain chemicals. The foam degradation may be
                                exacerbated by use of unapproved cleaning methods, such as ozone,** and
                                high heat and high humidity environments may also contribute to foam
                                degradation.

                                Therefore, Philips has decided to voluntarily issue a recall notification* to
                                inform patients and customers of potential impacts on patient health and
                                clinical use related to this issue, as well as instructions on actions to be
                                taken. 162

                      170.      Philips stated that “[t]he majority of the affected devices within the advised 5-year

            service life are in the first-generation DreamStation product family.” 163 Philips elaborated:

                                Based on the latest analysis of potential health risks and out of an abundance
                                of caution, the recall notification advises patients and customers to take the
                                following actions:

                                For patients using affected BiLevel PAP and CPAP devices: Discontinue
                                use of your device and work with your physician or Durable Medical
                                Equipment (DME) provider to determine the most appropriate options for
                                continued treatment. To continue use of your device due to lack of
                                alternatives, consult with your physician to determine if the benefit of
                                continuing therapy with your device outweighs the risks identified in the
                                recall notification.

                                For patients using affected life-sustaining mechanical ventilator devices: Do
                                not stop or alter your prescribed therapy until you have talked to your
                                physician. Philips recognizes that alternate ventilator options for therapy
                                may not exist or may be severely limited for patients who require a
                                ventilator for life-sustaining therapy, or in cases where therapy disruption
                                is unacceptable. In these situations, and at the discretion of the treating
                                clinical team, the benefit of continued usage of these ventilator devices may
                                outweigh the risks identified in the recall notification.

                                Possible health risks



            162
                  See Exhibit A.
            163
                  Id.

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                              The company continues to monitor reports of potential safety issues as
                              required by medical device regulations and laws in the markets in which it
                              operates. To date, there have been no reports of death as a result of these
                              issues. Philips has received reports of possible patient impact due to foam
                              degradation. The potential risks of particulate exposure include headache,
                              irritation, inflammation, respiratory issues, and possible toxic and
                              carcinogenic effects. The potential risks of chemical exposure due to off-
                              gassing include headache, irritation, hypersensitivity, nausea/vomiting, and
                              possible toxic and carcinogenic effects. Philips has received no reports
                              regarding patient impact related to chemical emissions. 164

                    171.      Corroborating the dangerous nature of the Recalled Devices, on July 22, 2021, the

            FDA upgraded Philips’ recall of the Recalled Devices to its most serious classification, Class I,

            which according to the FDA means: “A situation in which there is a reasonable probability that

            the use of or exposure to a violative product will cause serious adverse health consequences or

            death.” 165

                    172.      Philips’ Recall announcement instructed users to not use the Recalled Devices

            because of the health risks. This confirmed the true nature of the products, which at all times were

            adulterated and worthless.

                    173.      Philips took similar action with respect to its defective CPAP, BiPAP, and

            ventilator devices across the globe.

                    174.      Also, on June 14, 2021, Philips’ main competitor, ResMed, issued “[a] message

            from ResMed’s CEO” to the public regarding the Philips Recall. In this notice, ResMed CEO,

            Mick Farrell, stated that “ResMed devices are safe to use and are not subject to Philips’ recall.

            ResMed devices use a different material than what Philips uses in their recalled machines.” 166


            164
                Id.
            165
                U.S. Food and Drug Administration (last updated Jul. 31, 2014). Recalls Background and
            Definitions. Available online at https://www.fda.gov/safety/industry-guidance-recalls/recalls-
            background-and-definitions (last accessed Aug. 31, 2023).
            166
                ResMed (last updated Jul. 21, 2021). HCP Information regarding Philips' recall. Available
            online at https://www.resmed.com/en-us/healthcare-professional/other-manufacturer-recall-2021/
            (last accessed Aug 31, 2023).

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                   175.      ResMed devices and ventilators use polyether polyurethane or silicone-based foam,

            not PE-PUR foam, for sound abatement purposes. 167

            VII.   THE MEASURES TAKEN BY PHILIPS TO RECALL THE DEFECTIVE DEVICES
                   WERE INEFFECTIVE.

                   176.      Philips’ CEO, Frans van Houten, stated in the Recall announcement: “We deeply

            regret any concern and inconvenience that patients using the affected devices will experience

            because of the proactive measures we are announcing today to ensure patient safety.” 168

                   177.      But Philips’ “recall” was a recall in name only and did not effectively provide

            patients with notice of the risks of the Recalled Devices nor did it provide them with new Philips

            CPAP, BiPAP, or ventilator devices.

                   A.        Many Patients, Providers, and Others Were Not Notified About the Recall.

                   178.      On March 10, 2022, the FDA issued a Notification Order under § 518(a) of the

            FDCA. 169 The Notification Order stated that the “FDA has received a number of calls from patients

            and consumers who contacted FDA to report problems and/or concerns regarding the Recalled

            Products, but were unaware of the recall and had not been informed of the health risks presented

            by the Recalled Products.” 170

                   179.      The FDA estimated that, after nine months of the Recall, “approximately 50% of

            patients and consumers who have purchased or received the Recalled Products (excluding


            167
                ResMed (last updated Dec. 6, 2021). Information regarding Philips' recall. Available online
            at https://www.resmed.com/en-us/other-manufacturer-recall-2021/ (last accessed Aug. 31, 2023).
            168
                Koninklijke Philips N.V. (Jun. 14, 2021). Philips issues recall notification* to mitigate
            potential health risks related to the sound abatement foam component in certain sleep and
            respiratory care devices. Available online at https://www.usa.philips.com/a-
            w/about/news/archive/standard/news/press/2021/20210614-philips-issues-recall-notification-to-
            mitigate-potential-health-risks-related-to-the-sound-abatement-foam-component-in-certain-
            sleep-and-respiratory-care-devices.html (last accessed Aug. 31, 2023).
            169
                See U.S. Food and Drug Administration (n.d.). 518(a) Notification Order. Available online at
            https://www.fda.gov/media/156811/download (last accessed Aug. 31, 2023).
            170
                518(a) Notification Order at 2.

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            ventilators) within the last five years (the service life of the devices) have registered with Philips

            to obtain a replacement device.” 171 But it was “unclear whether the remaining patients and

            consumers have not registered because they are unaware of the need to register, or because they

            do not want or need a replacement device from Philips.” 172

                     180.      The FDA surveyed 182 consignees to determine whether they had been notified of

            the Recall and found 28 “who had reported to FDA that they were not aware of the recall.” 173 The

            FDA reported its results to Philips on September 8, 2021 and October 29, 2021, and Philips did

            not respond. On November 22, 2021, Philips stated that it had notified 23 of the 28 consignees of

            the Recall, but Philips did not “indicate whether the consignees identified by FDA had been sent

            notification before, or only after, they had been identified by FDA as being unaware of the

            recall.” 174 Moreover, Philips’ evidence of notification consisted of delivery confirmation receipts,

            reflecting that written correspondence was delivered to the consignees. As the FDA explained,

            “[t]ypically, firms demonstrate the effectiveness of its recall communications through evidence

            more meaningful than a delivery confirmation receipt, such as a returned response form or a

            documented telephone conversation.” 175

                     181.      Throughout the Recall, the FDA “on multiple occasions has informed Philips that

            FDA was concerned that Philips’ efforts to notify patients and consumers, healthcare providers,

            and consignees regarding the recall have been insufficient” and has expressed concern that “it is




            171
                Id.
            172
                Id.
            173
                Id.
            174
                Id.
            175
                Id. at 3.

                                                                     55

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            likely that a significant portion of patients and consumers using the Recalled Products are unaware

            of the health risks presented by those products.” 176

                      182.      Noting “Philips’ failure to timely provide effective notice to health professionals

            who prescribe or use the Recalled Products and other persons (including consignees, distributors,

            retailers, and device users) who should be notified, of the recall and the health risks presented by

            the Recalled Products,” the FDA issued an order under Section 518(a) of the FDCA ordering

            Philips to “notify all health professionals who prescribe or use the Recalled Products, and other

            persons (including consignees, distributors, retailers, and device users) who should be notified, of

            the recall and the health risks presented by the Recalled Products within the next 45 days[.]” 177

                      B.        Philips’ Repair/Replacement Program Has Been Extremely Slow.

                      183.      Those patients who registered their Recalled Devices with Philips for the Recall

            did not immediately receive replacement devices and were not told when a replacement device

            would be provided.

                      184.      As Philips’ June 14, 2021 announcement explained:

                                Repair and replacement program

                                Philips is providing the relevant regulatory agencies with required
                                information related to the launch and implementation of the projected
                                correction. The company will replace the current sound abatement foam
                                with a new material and has already begun the preparations, which include
                                obtaining the relevant regulatory clearances. Philips aims to address all
                                affected devices in scope of this correction as expeditiously as possible.

                                As part of the program, the first-generation DreamStation product families
                                will be modified with a different sound abatement foam and shipped upon
                                receipt of the required regulatory clearances. Philips’ recently launched
                                next-generation CPAP platform, DreamStation 2, is not affected by the
                                issue. To support the program, Philips is increasing the production of its



            176
                  Id.
            177
                  Id. at 4 (emphasis in original).

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                                DreamStation 2 CPAP devices, that are available in the US and selected
                                countries in Europe. 178

                      185.      In reality, patients may register their DreamStation Recalled Device with Philips

            for the Recall, but Philips has not immediately replaced the defective PE-PUR foam in the

            DreamStation Recalled Devices. Rather, patients have had to wait, sometimes for many months,

            for Philips to repair or replace their devices, and many patients are still waiting for a replacement

            device.

                      186.      As of the date of this Complaint—over a year after the Recall was announced—

            Philips continues to repair or replace defective DreamStation 1 Recalled Devices. In other words,

            the Recall remains ongoing.

                      187.      The replacement program for the Trilogy devices has been even slower. Philips has

            only just begun the rework of affected Trilogy 100/200 devices and Philips projects that the process

            will take approximately 12-14 months to complete. 179

                      188.      There is no repair or replacement program for any of the other Recalled Devices

            recalled by Philips.

                      189.      Due to the design of the Recalled Devices, it is prohibitively difficult for patients

            to remove or replace the PE-PUR foam themselves. Also, the FDA warns:

                                Do not try to remove the foam from your device. Trying to or successfully
                                removing the foam may damage the device or change how the device works.

            178
                U.S. Food and Drug Administration (Jun. 15, 2021). COMPANY ANNOUNCEMENT: Philips
            Issues a Recall Notification* to Mitigate Potential Health Risks Related to the Sound Abatement
            Foam Component in Certain Sleep and Respiratory Care Devices. Available online at
            https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/philips-issues-recall-
            notification-mitigate-potential-health-risks-related-sound-abatement-foam (last accessed Aug.
            31, 2023).
            179
                Koninklijke Philips N.V. (last updated May 3, 2023). Voluntary Recall Information Philips
            Respironics Sleep and Respiratory Care devices. Available online at
            https://www.usa.philips.com/healthcare/resource-catalog/landing/experience-
            catalog/sleep/communications/src-update/news/ventilation-news-and-updates (last accessed Aug.
            31, 2023).

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                                It may also lead to more foam or chemicals entering the air tubing of the
                                device. 180

                      190.      As a result, the Recall leaves patients without safe, free options. Instead, patients

            may simply be forced to buy Philips’ next-generation product or a competitor’s product—at full

            price, and indeed, thousands of patients have already done so.

                      191.      Thus, Philips intends to, and is, profiting from its “recall” by selling more of its

            next generation product, the DreamStation 2, whose launch appears intentionally timed to coincide

            with the “recall,” to affected patients.

                      192.      The FDA also believes that the Recall is not proceeding quickly enough. It recently

            stated:

                                Based on the status of Philips’ recall as of the date of this letter [May 2,
                                2022], CDRH believes that, if an order were to be issued to Philips under
                                section 518(b), the plan submitted by Philips in response to that order should
                                provide for significant improvements to Philips’ ongoing repair and
                                replacement activities to speed the pace of remediation and address other
                                deficiencies identified by CDRH and communicated to Philips, to the extent
                                such improvements are achievable by Philips. 181

                        PLAINTIFF’S INJURIES AS RESULT OF DEFENDANTS’ ACTIONS

                      193.      In 2018, Plaintiff was referred to Summa Health Sleep Clinic for a sleep study.

                      194.      On the evening of February 7, 2018 to the morning of February 8, 2018, Plaintiff

            underwent an overnight polysomnogram evaluation at Summa Health Sleep Clinic.

                      195.      On February 12, 2018, Dr. Nader Botros of Summa Health Sleep Clinic diagnosed

            Plaintiff as suffering from severe obstructive sleep apnea.

                      196.      An order was written for Plaintiff to receive a CPAP machine.


            180
                U.S. Food and Drug Administration (last updated Jun. 2, 2023). FAQs on Philips Respironics
            Ventilator, BiPAP Machine, and CPAP Machine Recalls. Available online at
            https://www.fda.gov/medical-devices/safety-communications/faqs-philips-respironics-ventilator-
            bipap-machine-and-cpap-machine-recalls (last accessed Aug. 31, 2023).
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                518(b) Notice at 13.

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                   197.      On April 4, 2018, Plaintiff received a Philips Respironics DreamStation machine

            (Model DSX500T11C) with heated humidifier and heated tubing (serial no. J21274897DC54)

            from Cornerstone Medical Services (“Cornerstone”). A copy of the delivery ticket is annexed

            hereto and marked as EXHIBIT K.

                   198.      Defendants, directly or through their subsidiaries or affiliates, designed,

            manufactured, distributed, and sold the Philips Respironics DreamStation Device prescribed to

            and received by Plaintiff.

                   199.      Based upon the patient population that Defendants intended its Philips Respironics

            DreamStation Device to be used by, when Plaintiff used the Device, Plaintiff was an appropriate

            patient to use the Device.

                   200.      At all times subsequent to the date of first use, Plaintiff used the Device in a normal

            and expected manner.

                   201.      At the time Plaintiff received the Device, it was in the same condition in all relevant

            aspects when it left Philips’ control.

                   202.      Prior to Plaintiff’s receipt of the Device, Philips did not warn patients (including

            Plaintiff, physicians, its customers, or its sales representatives/distributors) that the Device was

            known to emit toxic and/or carcinogenic particles from its PE-PUR sound abatement foam via

            degradation and/or off-gassing, which could then be directly inhaled by the user and causing severe

            injury or death.

                   203.      Plaintiff was never notified of the Philips Respironics medical device recall.

                   204.      On May 18, 2023, Plaintiff was given a transthoracic echocardiogram complete

            with contrast evaluation from Summa Health ACH 95 Arch Non-Invasive Cardiology as a routine

            follow-up to his 2011 diagnosis of a bicuspid aortic valve.




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                     205.      Dr. Wissam Alajani diagnosed Plaintiff as having severe stenosis of the aortic

            valve.

                     206.      Dr. Steven M. Heupler, Plaintiff’s longtime treating cardiologist, informed Plaintiff

            that if he experiences any chest pains, he needs to go to the emergency room for evaluation.

                     207.      On May 23, 2023, Plaintiff began to experience chest pains and went to Summa

            Health GMC emergency department for evaluation.

                     208.      After a physical examination performed by Dr. T. Gombash, it was recommended

            that Plaintiff be admitted to the hospital for a further evaluation.

                     209.      On May 23, 2023, Plaintiff was admitted to Summa Health Akron City Hospital for

            further testing.

                     210.      On May 26, 2026, Dr. Nkem Aziken and assistant Brian Heisler performed an aortic

            valve replacement with insertion of a 23mm mechanical valve, a triple coronary artery bypass

            graft, and an endoscopic vein harvest of the left lower extremity.

                     211.      As a direct result of the artificial aortic valve replacement, Plaintiff is required to

            be on blood thinners such as Warfarin for the rest of his life.

                     212.      On June 1, 2023, a permanent pacemaker was inserted into Plaintiff’s chest to

            repress tachycardia that was present since Plaintiff came out of surgery.

                     213.      On June 2, 2023, Plaintiff was discharged from the hospital.

                     214.      On June 20, 2023, Plaintiff appeared at a scheduled appointment with Summa

            Health Cardiothroatic Surgery for a follow-up to his pacemaker device.

                     215.      During this appointment, Plaintiff was given a device that automatically checks the

            operation of Plaintiff’s internal pacemaker and notifies him if there is a problem that requires

            medical intervention.




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                   216.      On June 21, 2023, Plaintiff had an appointment with AeroCare for a scheduled

            replacement of his CPAP machine.

                   217.      An unknown staff member of AeroCare informed Plaintiff about the Philips

            Respironics Medical Device recall.

                   218.      Plaintiff was shocked that he was not notified by Philips about the recall.

                                                      CAUSES OF ACTION

                                              I.       Strict Liability: Design Defect

                   219.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                   220.      At all times mentioned herein, Defendants were involved in researching, designing,

            developing, manufacturing, testing, selling and/or distributing the Recalled Devices, which were

            defective and unreasonably dangerous.

                   221.      Plaintiff was a foreseeable user of the Recalled Devices and Defendants knew that

            Plaintiff would use the Recalled Devices.

                   222.      The Recalled Devices are defective in design because the PE-PUR foam comprising

            part of the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic

            and carcinogenic materials. The Recalled Devices release particles and off-gas chemicals,

            including TDA, TDI, DEG. These chemicals and particles are then inhaled and ingested by

            Plaintiffs using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

            injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

            asthma, adverse effects to organs, and toxic and carcinogenic effects.

                   223.      Defendants knew or should have known that the defective conditions of the

            Recalled Devices made the Recalled Devices unreasonably dangerous to Plaintiff.




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                   224.      The Recalled Devices were unreasonably dangerous when used by ordinary users,

            such as Plaintiff, who used the Recalled Devices as they were intended to be used.

                   225.      The Recalled Devices are dangerous to an extent beyond what would be

            contemplated by the ordinary user of the Recalled Devices.

                   226.      The defective condition of the subject Recalled Devices rendered them

            unreasonably dangerous and/or not reasonably safe, and the devices were in this defective

            condition at the time they left the hands of Philips. Burnett, and PolyTech. The Recalled Devices

            reached Plaintiffs without substantial change in the condition in which they were designed,

            manufactured, labeled, sold, distributed, marketed, promoted, supplied, and otherwise released

            into the stream of commerce.

                   227.      Plaintiff was not able to discover, nor could he have discovered through the exercise

            of reasonable diligence, the defective nature of the subject devices. Further, in no way could

            Plaintiff have known that Philips had designed, developed, and manufactured the subject devices

            in a way as to make the risk of harm or injury outweigh any benefits.

                   228.      Safer alternative machines and designs were available which did not have an

            unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

            example, devices that included non-PE-PUR foam and designs that included other types of sound

            abatement technologies.

                   229.      At the time the Recalled Devices left Philips’, Burnett’s, and PolyTech’s possession

            and continuing through when they were used by Plaintiff, the Recalled Devices were in a condition

            that made them unreasonably dangerous to Plaintiff.




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                    230.      The Recalled Devices used by Plaintiff was expected to, and did, reach Plaintiff

            without substantial change in the condition in which the Recalled Devices were manufactured,

            sold, distributed, and marketed by Defendants.

                    231.      At all relevant times, Plaintiff used the Recalled Devices in the manner in which

            the devices were intended to be used.

                    232.      Defendants researched, designed, manufactured, tested, advertised, promoted,

            marketed, sold, and distributed the defective Recalled Devices which, when used in their intended

            or reasonably foreseeable manner, created an unreasonable risk to the health of consumers, such

            as Plaintiff, and Philips is therefore strictly liable for the injuries sustained by Plaintiff.

                    233.      As a direct and proximate cause of Defendants’ conduct, Plaintiff has suffered

            serious and debilitating injuries.

                    234.      In addition, as a direct and proximate cause of Philips’, Burnett’s, and PolyTech's

            conduct, Plaintiff may suffer additional serious and debilitating illnesses or injuries in the future

            as a result of exposure to the Foam Toxins.

                    235.      Plaintiff demands judgment against Defendants and request compensatory

            damages, punitive damages, interest, costs of suit, attorneys’ fees, and such other relief as the Court

            deems equitable and just.

                    236.      Plaintiff demands judgment against Defendants and request compensatory

            damages, punitive damages, interest, costs of suit, attorneys’ fees, and such further relief as the

            Court deems equitable and just.

                                              II.     Strict Liability (Failure to Warn)

                    237.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:




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                   238.      At all times mentioned herein, Defendants designed, manufactured, and sold the

            Recalled Devices.

                   239.      Plaintiff was foreseeable users of the Recalled Devices.

                   240.      The Recalled Devices are defective because the PE-PUR foam comprising part of

            the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic and

            carcinogenic materials. The Recalled Devices release chemicals and particles, including but not

            limited to TDA, TDI, DEG. These chemicals and particles are then inhaled and ingested by

            Plaintiff using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

            injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

            asthma, adverse effects to organs, and toxic and carcinogenic effects.

                   241.      Defendants knew that the defective condition of the Recalled Devices made the

            devices unreasonably dangerous to users such as Plaintiff.

                   242.      The Recalled Devices were dangerous when used by ordinary users, such as

            Plaintiff, who used the devices as they were intended to be used.

                   243.      The Recalled Devices are dangerous to an extent beyond what would be

            contemplated by the ordinary user of the device.

                   244.      Defendants knew or should have known of the defects in the Recalled Devices at

            the time Philips and PolyTech sold or provided the Recalled Devices that were used by Plaintiff.

                   245.      At the time the Recalled Devices left Philips’, Burnett’s, and PolyTech's

            possession, the Recalled Devices were defective and in a condition that made them unreasonably

            dangerous to Plaintiff.

                   246.      At the time Plaintiff used the Recalled Devices, the devices were defective and in

            a condition that made them unreasonably dangerous to Plaintiff.




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                   247.      The Recalled Devices used by Plaintiff were expected to, and did, reach Plaintiffs

            without substantial change in the condition in which the devices were manufactured, sold,

            distributed, and marketed by Defendants.

                   248.      At all relevant times, Plaintiff used the Recalled Devices in the manner in which

            the devices were intended to be used.

                   249.      The Recalled Devices are defective because Defendants failed to warn or instruct

            that the PE-PUR foam in the Recalled Devices can degrade and off-gas dangerous and

            carcinogenic chemicals and particles, posing a serious risk to users.

                   250.      Defendants further failed to warn or instruct that the Recalled Devices had been

            adequately or properly tested.

                   251.      The warning and instructions that accompanied the Recalled Devices failed to

            provide the level of information that ordinary consumers, including Plaintiff, would expect when

            using the product in a manner reasonably foreseeable to Defendants.

                   252.      Defendants further failed to warn or instruct that the Recalled Devices, when used

            in conjunction with the Accessory Humidifiers, would hasten the degradation of the foam and

            make the Recalled Devices especially dangerous.

                   253.      Defendants further failed to warn or instruct that the Recalled Devices should not

            be stored in warm climates and conditions, and that warm temperatures and humidity would hasten

            the degradation of the foam, and make the Recalled Devices especially dangerous.

                   254.      Had Plaintiff received proper or adequate warnings or instructions as to the risks of

            using the Recalled Devices, Plaintiff would not have used the Recalled Devices.




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                    255.      Had Plaintiff received proper or adequate warnings or instructions as to the storage,

            climate and cleaning conditions and protocols, they would have heeded such warnings to mitigate

            the risk of premature foam degradation.

                    256.      Defendants researched, designed, manufactured, tested, advertised, promoted,

            marketed, sold, and distributed the defective Recalled Devices which, when used in their intended

            or reasonably foreseeable manner, created an unreasonable risk to the health of consumers, such

            as Plaintiffs, and Philips and PolyTech are therefore strictly liable for the injuries sustained by

            Plaintiff.

                    257.      As a direct and proximate cause of Philips’, Burnett’s, and PolyTech's conduct,

            Plaintiff has suffered serious and debilitating injuries.

                    258.      In addition, as a direct and proximate cause of Philips’, Burnett’s, and PolyTech's

            conduct, Plaintiff may suffer additional serious and debilitating illnesses or injuries in the future

            as a result of exposure to the Foam Toxins.

                    259.      Plaintiff demands judgment against Defendants and request compensatory

            damages, punitive damages, interest, costs of suit, attorneys’ fees, and such other relief as the Court

            deems equitable and just.

                                            III.   Strict Liability (Manufacturing Defect)

                    260.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                    261.      At all times mentioned herein, Defendants were involved in researching, designing,

            developing, manufacturing, testing, selling and/or distributing the Recalled Devices, which were

            unreasonably dangerous, unsafe and defective in their manufacturing when they left Philips’ and

            PolyTech’s possession.




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                    262.      The Recalled Devices were expected to, and did, reach the Plaintiff without

            substantial change or adjustment to their mechanical function and condition in which they were

            sold.

                    263.      Plaintiff used the Recalled Devices as directed and for the purpose for which they

            were intended.

                    264.      The Recalled Devices are inherently dangerous for their intended used due to

            manufacturing defects. Defendants therefore are strictly liable.

                    265.      Philips failed to ensure that a subset of the purchased, or otherwise received,

            Recalled Devices and services conformed to specified requirements.

                    266.      Specifically, Philips used defective, incorrect and non-specified PE-PUR, raw foam

            product, not intended for use in Recalled Devices, to manufacture some of the Recalled Devices

            including certain recalled Trilogy Evo ventilators.

                    267.      This incorrect and non-specified PE-PUR foam was sourced from Philips’ raw

            foam supplier, used in the muffler assembly of the affected Recalled Devices, including Trilogy

            Evo ventilators, and resulted in non-conforming Recalled Devices being approved, released and

            distributed by Philips to Plaintiff.

                    268.      Per design specifications, this foam was required to be polyether based, not

            polyester based foam.

                    269.      Upon information and belief, the Recalled Devices contain a manufacturing defect

            that differed from other typical units of the same product line.

                    270.      Philips sold the Recalled Devices in this defective condition.

                    271.      Philips failed to conduct proper and regular quality control sampling and testing.




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                      272.      The Recalled Devices, as manufactured, were unsafe and unreasonably dangerous

            to Plaintiff.

                      273.      The Recalled Devices did not perform as safely as an ordinary consumer would

            expect.

                      274.      Defendants knew or should have known of the manufacturing defects and the risks

            of serious bodily injury exceeded the benefits associated with the Recalled Devices.

                      275.      Furthermore, the Recalled Devices and their defects presented an unreasonably

            dangerous risk beyond what the ordinary consumer would reasonably expect.

                      276.      As a direct and proximate cause of Defendants’ manufacturing defect, Plaintiff

            suffered injuries and damages.

                      277.      In addition, as a direct and proximate cause of Philips’ and PolyTech's

            manufacturing defect, Plaintiffs may suffer additional serious and debilitating illnesses or injuries,

            including various cancers, in the future as a result of their exposure to the Foam Toxins.

                      278.      Plaintiff demands judgment against Defendants and requests compensatory

            damages, punitive damages, interest, costs of suit, attorneys’ fees, and such other relief as the Court

            deems equitable and just.

                                                  IV.      Breach of Express Warranty

                      279.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                      280.      Philips warranted that all of the Recalled Devices “shall be free from defects of

            workmanship and materials and will perform in accordance with the product specifications for a

            period of two (2) years from the date of sale.” 182



            182
                  See EXHIBIT

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                   281.      Philips breached this express warranty in connection with the sale and distribution

            of the Recalled Devices. At the point of sale, the Recalled Devices, while appearing normal,

            contained latent defects as set forth herein, rendering them unsuitable and unsafe for personal use.

                   282.      Further, through Philips’ public statements, descriptions, and promises relating to

            the Recalled Devices, Philips expressly warranted that the products were safe and effective for

            their intended use.

                   283.      Had Plaintiff known the Recalled Devices were unsafe for use, he would not have

            purchased or leased the Recalled Devices nor would he have used them.

                   284.      Philips has breached its warranty and refused to provide appropriate warranty relief

            notwithstanding the risks of using the Recalled Devices. Plaintiff reasonably expected, at the time

            of use, that the Recalled Devices were safe for their ordinary and intended use.

                   285.      To the extent privity may be required, Plaintiff can establish privity with Philips or

            alternatively, Plaintiff can establish that they fall into an exception to a privity requirement.

            Plaintiff relied on Philips’ warranties and dealt directly with Philips through the exchange of

            warranty and recall information.

                   286.      Alternatively, Plaintiff were foreseeable third-party beneficiaries of Philips’ sale of

            the Recalled Devices.

                   287.      Plaintiff is not required to give notice to Philips, a remote manufacturer, and Philips

            has had notice of the type and source of claims in this matter for nearly a year.

                   288.      As a direct and proximate result of Philips’ breach of its express warranties,

            Plaintiff has suffered serious and debilitating injuries.




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                   289.      In addition, as a direct and proximate cause of Philips’ breach of its express

            warranties, Plaintiff may suffer additional serious and debilitating illnesses or injuries in the future

            as a result of exposure to the Foam Toxins.

                   290.      Plaintiff demand judgment against Philips and request compensatory damages,

            punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

            as the Court deems equitable and just.

                                  V.       Breach of the Implied Warranty of Merchantability

                   291.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                   292.      By operation of law, Philips, as the manufacturer of the Recalled Devices and as

            the provider of a limited warranty for the Recalled Devices, impliedly warranted to Plaintiffs that

            the Recalled Devices were of merchantable quality and safe for their ordinary and intended use.

                   293.      Such implied warranty of merchantability, contained in U.C.C. § 2-314, has been

            codified in Ohio. See, e.g., Ohio Rev. Code Ann. §§ 1302.27, et seq.

                   294.      Philips breached the implied warranty of merchantability in connection with the

            sale and distribution of the Recalled Devices. At the point of sale, the Recalled Devices, while

            appearing normal, contained latent defects as set forth herein rendering them unsuitable and unsafe

            for personal use.

                   295.      Had Plaintiff known the Recalled Devices were unsafe for use, he would not have

            purchased or leased the Recalled Devices nor would he have used them.

                   296.      To the extent privity may be required, Plaintiff can establish privity with Philips or

            alternatively, Plaintiff can establish that they fall into an exception to a privity requirement.

            Plaintiffs relied on Philips’ warranties and dealt directly with Philips through the exchange of

            warranty and recall information.


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                    297.      Alternatively, Plaintiff was a foreseeable third-party beneficiary of Philips’ sale of

            the Recalled Devices.

                   298.       Plaintiff are not required to give notice to Philips, a remote manufacturer, and

            Philips has had notice of the type and source of claims in this matter for nearly a year.

                   299.       As a direct and proximate cause of Philips’ conduct, Plaintiff has suffered serious

            and debilitating injuries.

                   300.       In addition, as a direct and proximate cause of Philips’ conduct, Plaintiff may suffer

            additional serious and debilitating illnesses or injuries in the future as a result of exposure to the

            Foam Toxins.

                   301.       Plaintiff demand judgment against Philips and request compensatory damages,

            punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

            as the Court deems equitable and just.

                                       VI.      Breach of the Implied Warranty of Usability

                   302.       Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                   303.       By operation of law, Philips, as the manufacturer of the Recalled Devices and as

            the providers of a limited warranty for the Recalled Devices, impliedly warranted to Plaintiff that

            the Recalled Devices were usable for their ordinary and intended use.

                   304.       Such implied warranty of usability, contained in U.C.C. § 2-314, has been codified

            in Ohio. See, e.g., Ohio Rev. Code Ann. §§ 1302.27, et seq.

                   305.       Through usage of trade, manufacturers of prescription drugs and medical devices

            impliedly warrant that their products are usable for the end consumer.




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                    306.      Philips breached the implied warranty of usability in connection with the sale and

            distribution of the Recalled Devices. At the point of sale, the Recalled Devices while appearing

            normal—contained defects as set forth herein rendering them unusable.

                    307.      Philips, its agents and employees knew or should have known that the Recalled

            Devices suffer from a defect that causes negative health effects and/or places persons at risk for

            negative health effects to such an extent that the products are unusable.

                    308.      Philips’ Recall announcement instructed Plaintiff to not use Recalled Devices

            because of the health risks. This confirmed the true nature of the products, which at all times were

            adulterated and worthless.

                    309.      To the extent privity may be required, Plaintiff can establish privity with Philips or

            alternatively, Plaintiff can establish that he falls into an exception to a privity requirement. Plaintiff

            relied on Philips’ warranties and dealt directly with Philips through the exchange of warranty and

            recall information.

                    310.      Alternatively, Plaintiff was a foreseeable third-party beneficiary of Philips’ sale of

            the Recalled Devices.

                    311.      Had Plaintiff known that Philips had breached the implied warranty of usability for

            their Recalled Devices, they would not have purchased or leased the Recalled Devices nor would

            they have used the Recalled Devices.

                    312.      As a direct and proximate cause of Philips’ conduct, Plaintiff have suffered serious

            and debilitating injuries.

                    313.      In addition, as a direct and proximate cause of Philips’ conduct, Plaintiff may suffer

            additional serious and debilitating illnesses or injuries in the future as a result of exposure to the

            Foam Toxins.




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                   314.      Plaintiff demand judgment against Philips and request compensatory damages,

            punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

            as the Court deems equitable and just.

                                                          VII.    Negligence

                   316.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                   317.      Defendants owed a duty to Plaintiff to use and exercise reasonable and due care in

            the design, materials procurement, manufacturing, testing, distribution, labeling, marketing,

            warnings, instructions for use and storage, disclosures, regulatory compliance, and sale of the

            Recalled Devices.

                   318.      Defendants owed a duty to Plaintiffs to ensure that the Recalled Devices it sold in

            the United States were safe, did not expose patients using the devices to toxic substances, and/or

            complied with current best manufacturing practices and regulatory requirements.

                   319.      Defendants owed a duty of care to Plaintiffs; because they were the foreseeable,

            reasonable, and probable users of the Recalled Devices. Defendants knew, or should have known,

            that the Recalled Devices were not safe, exposed their users to toxic and carcinogenic compounds,

            and/or did not comply with best manufacturing practices and regulatory requirements. Defendants

            were in the best position to uncover and remedy these shortcomings.

                   320.      Defendants negligently designed and manufactured the Recalled Devices, causing

            patients using the Recalled Devices to be exposed to the Foam Toxins and degraded particulate

            matter which are harmful, carcinogenic and/or toxic.

                   321.      Defendants failed to discharge their duties of reasonable care. Defendants

            inadequately conducted or oversaw the design, materials procurement, manufacturing, testing,

            labeling, distribution, marketing, warnings, disclosures, instructions for use and storage, regulatory


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            compliance and sale of the Recalled Devices. Defendants knew or should have known that the

            aforesaid wrongdoing would damage Plaintiff.

                    322.       Defendants negligently failed to promptly and immediately warn and disclose to

            Plaintiffs, and the medical and regulatory communities, of the potential and actual danger posed

            by the PE-PUR foam in the Recalled Devices as soon as it was discovered, delaying notice of this

            harmful and potentially fatal toxic exposure to carcinogens and thus causing continued exposure

            to the carcinogenic and/or hazardous compounds, and delaying cessation of use, necessary medical

            testing, examinations, surveillance, and treatment.

                    323.       Defendants failed to discharge their duties of reasonable care. Defendants failed to

            warn or instruct that the Recalled Devices should not be stored in warm climates and conditions;

            and that warm temperatures and humidity would hasten the degradation of the foam, and make the

            Recalled Devices especially dangerous.

                    324.       Defendants’ negligent or grossly negligent conduct created and then exacerbated

            an unreasonable and dangerous condition for Plaintiff.

                    325.       Defendants acted with recklessness and willful and wanton disregard for the health

            of Plaintiff.

                    326.       Defendants’ unreasonable, negligent actions and inactions were taken or not taken

            with willful and wanton disregard for the health of Plaintiff and created a foreseeable risk of harm

            to Plaintiff.

                    327.       As a direct and proximate result of Defendants’ negligence, Plaintiff have suffered

            serious and debilitating injuries.




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                   328.      In addition, as a direct and proximate cause of Defendants’ negligence, Plaintiff

            may suffer additional serious and debilitating illnesses or injuries as a result of exposure to the

            Foam Toxins.

                   329.      Plaintiff demand judgment against Defendants and request compensatory damages,

            punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

            as the Court deems equitable and just.

                    VIII.     Unfair and Deceptive Practices in Violation of the Ohio Consumer Sales
                                                          Practices Act

                   330.      Plaintiff re-alleges and incorporate by reference the allegations set forth throughout

            the Complaint as if set forth herein and further allege as follows:

                   331.      Philips is on notice that such claims may be asserted by those Plaintiffs.

                   332.      Plaintiffs used the Recalled Devices and suffered ascertainable losses as a result of

            Philips’ actions in violation of these consumer protection laws.

                   333.      Had Philips not engaged in the deceptive conduct described herein, Plaintiffs would

            not have purchased, leased, or used the Recalled Devices nor would Plaintiffs have incurred related

            medical costs and injuries from using the Recalled Devices.

                   334.      Fraudulent, unfair, and/or deceptive practices that violate consumer protection laws

            include the following:

                             (a)     representing that goods or services have approval, characteristics,
                                     uses, or benefits that they do not have;

                             (b)     advertising goods or service with the intent not to sell them as
                                     advertised; and

                             (c)     engaging in fraudulent or deceptive conduct that creates a likelihood
                                     of confusion.

                   335.      Plaintiff was injured and suffered ascertainable losses of money or property by

            Philips’ unlawful conduct.


                                                                   75

                                Sandra Kurt, Summit County Clerk of Courts
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                   336.      Philips’ deceptive, unconscionable, unfair, and/or fraudulent representations and

            material omissions to Plaintiffs constitute consumer fraud and/or unfair and deceptive acts and

            trade practices in violation of Ohio Rev. Code Ann. § 1345.01, et seq.

                   337.      Under these and other consumer protection statutes, Philips is the supplier,

            manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

            legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

                   338.      The actions and omissions of Philips are uncured or incurable.

                   339.      Philips was put on notice of these issues by the investigation of the FDA, numerous

            complaints filed against Philips, and individual letters and communications from certain Plaintiffs

            and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

                   340.      Philips had actual knowledge of the defective and dangerous condition of the

            Recalled Devices and failed to take any action to cure those conditions.

                   341.      Plaintiffs relied upon Philips’ misrepresentations and omissions in deciding to use

            the Recalled Devices.

                   342.      By reason of the fraudulent, deceptive, unfair, and/or otherwise unlawful acts

            engaged in by Philips, and as a direct and proximate result thereof, Plaintiffs have sustained

            injuries and other damages.

                   343.      Plaintiff demand judgment against Philips and request compensatory damages,

            punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

            as the Court deems equitable and just.

                                                     PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff prays that the Court grant the following relief:

                   A.        Issue a judgment against Defendants on the first cause of action and award
                             compensatory and punitive damages in the sum of FIVE MILLION
                             DOLLARS ($5,000,000.00);


                                                                   76

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                  B.      Issue a judgment against Defendants on the second cause of action and
                          award compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  C.      Issue a judgment against Defendants on the third cause of action and award
                          compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  D.      Issue a judgment against Defendants on the fourth cause of action and award
                          compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  E.      Issue a judgment against Defendants on the fifth cause of action and award
                          compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  F.      Issue a judgment against Defendants on the sixth cause of action and award
                          compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  G.      Issue a judgment against Defendants on the seventh cause of action and
                          award compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  H.      Issue a judgment against Defendants on the eighth cause of action and
                          award compensatory and punitive damages in the sum of FIVE MILLION
                          DOLLARS ($5,000,000.00);

                  I.      Award Plaintiff his reasonable attorneys’ fees and cost;

                  J.      Award Plaintiff interest; and

                  K.      Award Plaintiff any and all further relief that the Court deems just and
                          proper.

             Dated: September 21 , 2023.                           /s/ Derrick M. King
                                                                   DERRICK M. KING
                                                                   1445 Crestview Ave
                                                                   Akron, OH 44320-4049
                                                                   Phone: (330) 867-3979
                                                                   Email: dmking12370@hotmail.com

                                                                   Pro se Plaintiff




                                                                77

                             Sandra Kurt, Summit County Clerk of Courts
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                                     PLAINTIFF’S DEMAND FOR JURY TRIAL

                   Please Take Notice that in accordance with Rule 38(A) of the Ohio Rules of Civil

            Procedure, Plaintiff demands a trial by jury as to all issues in this action.

             Dated: September 21, 2023.                             /s/ Derrick M. King
                                                                    DERRICK M. KING
                                                                    1445 Crestview Ave
                                                                    Akron, OH 44320-4049
                                                                    Phone: (330) 867-3979
                                                                    Email: dmking12370@hotmail.com

                                                                    Pro se Plaintiff




                                                                 78

                              Sandra Kurt, Summit County Clerk of Courts
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dmking12370@hotmail.com

From:
Sent:
                    Gordon, Zachary <zgordon@peircelaw.com>
                    Thursday, September 28, 2023 2:57 PM
                                                                                                            B
To:                 Derrick Martin King; liaisons.mdl3014@pietragallo.com
Subject:            RE: Philips CPAP Litigation


Hi Mr. King,

Thank you for your email. As a plaintiff, you are able to obtain access to that section of the website.
Please register your information on the website, and we will be able to provide you with access.

Thank you,

Zach Gordon
Case Manager
Robert Peirce & Associates, P.C.
707 Grant Street, Suite 125
Pittsburgh, PA 15219
(412) 281-7229 Phone
(800) 543-9859 Toll-Free
(412) 281-4229 Fax
zgordon@peircelaw.com

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From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Thursday, September 28, 2023 2:38 PM
To: liaisons.mdl3014@pietragallo.com
Subject: Philips CPAP Litigation

   Caution: This E-mail originated from outside the organization. Please take care when clicking links or opening
   attachments.


Dear Sir or Madam:

My name is Derrick M. King and I am a pro se plaintiff in a case filed against Philips
Respironics in an Ohio state court. The complaint deals with the CPAP recall. I was
diagnosed with sleep apnea in January 2018 and was prescribed the use of a CPAP
machine. I was eventually issued a Philips Respironics first-generation DreamStation
CPAP device. I used the device between April 2018 and June 2023. I was never
informed of the problems concerning the Philips Respironics CPAP device recall until
my device was replaced by a ResMed device.
                                                           1
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In May 2023, I was diagnosed with severe aortic stenosis. I was subsequently
hospitalized and open-heart surgery was done. I have reason to believe that the daily
use of the first-generation Philips Respironics DreamStation CPAP device contributed
to my condition and subsequent surgery.

I recently discovered your website www.mdl3014.com and I noticed the tab marked
“plaintiffs’ only”. Because of the likeliehood that my case in state court will end up part
of the Philips multidistrict litigation in PA, I am requesting access to the “Plaintiff’s Only”
section of your website.

I have attached a copy of the complaint filed in the Summit County (Ohio) Court of
Common Pleas.

Thank you for your time.

Sincerely yours,




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dmking12370@hotmail.com

From:
Sent:
                 Derrick Martin King on behalf of dmking12370@hotmail.com
                 Sunday, November 5, 2023 1:36 PM
                                                                                C
To:              'CPAP@browngreer.com'
Subject:         Request for Access to the MDL Centrality CPAP portal



Dear Sir or Madam:

My name is Derrick Martin King and I am a pro se plaintiff in a products liability case
against Koninklijke Philips N.V. regarding the recalled CPAP devices. My case was
initially filed in state court in Ohio, then removed to the U.S. District Court for the
Northern District of Ohio. The Philips defendants filed a notice of tag along action with
the JPML, and the case was subsequently transferred and consolidated into the
multidistrict litigation.

It is my understanding that your online portal MDL Certainity is the portal where the
discovery documents can be accessed. I am requesting that I be given a username
and password for that portal.

Attached is a copy of the JPML’s conditional order of transfer that was filed in my case.




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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3014



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −84)



On October 8, 2021, the Panel transferred 10 civil action(s) to the United States District Court for the
Western District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 568 F.Supp.3d 1408 (J.P.M.L. 2021). Since that time, 293 additional action(s) have been
transferred to the Western District of Pennsylvania. With the consent of that court, all such actions have been
assigned to the Honorable Joy Flowers Conti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Western District of Pennsylvania and assigned to Judge Conti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Western District of
Pennsylvania for the reasons stated in the order of October 8, 2021, and, with the consent of that court,
assigned to the Honorable Joy Flowers Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Western District of Pennsylvania. The transmittal of this order to said Clerk shall be stayed 7
days from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this
7−day period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:




                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
 Case 2:21-mc-01230-JFC
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                                         Filed
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IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                         MDL No. 3014



                    SCHEDULE CTO−84 − TAG−ALONG ACTIONS



  DIST     DIV.      C.A.NO.       CASE CAPTION


OHIO NORTHERN

  OHN        5       23−02042      King v. Koninklijke Philips N.V. et al.
           Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 127 of 165


dmking12370@hotmail.com

From:
Sent:
                 Derrick Martin King on behalf of dmking12370@hotmail.com
                 Sunday, November 5, 2023 12:38 PM
                                                                                                     D
To:              D. Aaron Rihn (arihn@peincelaw.com); Peter St. Tienne Wolff (psw@pietragallo.com)
Subject:         In re Philips CPAP Products Liability Litigation, MDL-3014



Mr. Rihn and Mr. Wolff,

My name is Derrick Martin King and I am a pro se plaintiff in a personal injury products
liability complaint against the Philips and PolyTech defendants. The complaint was
initially filed in state court, then removed to the Northern District of Ohio. Philips RS
North America filed a notice of potential tag along with the JPML, and on October 26,
2023 the JPML entered a conditional transfer order I have attached a copy of the
conditional transfer order.

The reason for my email is twofold, First, I am requesting that I be provided with a copy
of all documents that have been filed with the court. Since I am pro se, production of
those court documents will be essential so that I do not submit something that may
have already been adjudicated by the Court. I do have access to Adobe Acrobat and
can download the documents either as a PDF file or a ZIP file.

My second request is for access to all the discovery that has occurred in this case to
date. From what I understand, there is some online portal where the discovery
documents and ESI is placed (that is password protected).

Any assistance you could provide me in this would be greatly appreciated.




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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3014



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −84)



On October 8, 2021, the Panel transferred 10 civil action(s) to the United States District Court for the
Western District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 568 F.Supp.3d 1408 (J.P.M.L. 2021). Since that time, 293 additional action(s) have been
transferred to the Western District of Pennsylvania. With the consent of that court, all such actions have been
assigned to the Honorable Joy Flowers Conti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Western District of Pennsylvania and assigned to Judge Conti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Western District of
Pennsylvania for the reasons stated in the order of October 8, 2021, and, with the consent of that court,
assigned to the Honorable Joy Flowers Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Western District of Pennsylvania. The transmittal of this order to said Clerk shall be stayed 7
days from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this
7−day period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:




                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
 Case 2:21-mc-01230-JFC
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IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                         MDL No. 3014



                    SCHEDULE CTO−84 − TAG−ALONG ACTIONS



  DIST     DIV.      C.A.NO.       CASE CAPTION


OHIO NORTHERN

  OHN        5       23−02042      King v. Koninklijke Philips N.V. et al.
            Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 131 of 165


dmking12370@hotmail.com

From:
Sent:
                   Gordon, Zachary <zgordon@peircelaw.com>
                   Monday, November 13, 2023 3:33 PM
                                                                                                 E
To:                Derrick Martin King
Cc:                psw@pietragallo.com; liaisons.mdl3014@pietragallo.com
Subject:           Recent MDL 3014 Inquiry
Attachments:       4122814229-1699894261.34348.pdf


Mr. King,

I am contacting you on behalf of Aaron Rihn, one of the co-liaisons in MDL 3014. Our office is in receipt of
the attached fax.

To respond to your initial email from 11/5:

   1. Please find the majority of the documents from the MDL 3014 public docket (2:21-mc-01230)
      available for download at this Dropbox link:
        hƩps://www.dropbox.com/scl/fo/qnz0nsz07nuv2e2bblq10/h?rlkey=gmph9rk4npp8wanu3cgt7ntb1&dl=0
      Please note this is only updated through 11.7.2023 – the most recent items can be added to the
      folder if you need them. There are 2,326 document numbers in the folder (plus document 2336),
      but 2,128 PDF documents in this folder, due to the fact that some of the orders (and miscellaneous
      corrections from the clerk, etc.) are “text only” entries in which no document was issued. The court
      website has all text orders (and all Pretrial Orders, available for download for free) here:
      https://www.pawd.uscourts.gov/mdl-3014-re-philips-recalled-cpap-bi-level-pap-and-mechanical-
      ventilator-products-litigation
      You can also access e-filing/docket via PACER yourself, you will need to review the Pro Se materials
      for the Western District of Pennsylvania for instructions, or call the clerk’s office for information on
      how to get registered: https://www.pawd.uscourts.gov/filing-without-attorney
   2. Access to discovery materials is not available to non-MDL leadership at this time.

Mr. Rihn recommends that you familiarize yourself with all of the Pretrial Orders (PTOs). In particular,
these are some of the most relevant for individual plaintiffs: PTO 1 regarding general filing procedures,
PTO 28 regarding the filing procedures for Short Form Complaints, PTO 26(b) regarding the Fact Sheets,
and PTO 27 authorizing service through MDL Centrality. All pretrial orders can be found both on the court
website linked above as well as in the Dropbox link.

Service of the Short Form Complaint (and the fact sheet) is done through the MDL Centrality platform, run
by BrownGreer. PTO#27 can walk you through the details. If you haven’t already, you should contact
BrownGreer about setting up an account for yourself – their dedicated email address for all inquiries
related to this MDL is CPAP@BrownGreer.com. MDL Centrality houses many documents that will be helpful
for you, including the Short Form Complaint and the Plaintiff Fact Sheet, in easy-to-use formats. The link
to the website is here (you will need your account set up prior to accessing the materials):
https://www.mdlcentrality.com/

We also have a plaintiff’s website that has all of the Pretrial Orders as well as news and plaintiffs-only
resources: https://mdl3014.com/

In the future, please direct liaison inquiries to the dedicated MDL 3014 liaison email address:
liaisons.mdl3014@pietragallo.com, copied here, so that the liaisons and their teams also get the email.
This email address also copies MDL leadership. Please let us know if you have any additional questions we
might be able to assist with.

Best,

                                                       1
           Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 132 of 165
Zach Gordon
Case Manager
Robert Peirce & Associates, P.C.
707 Grant Street, Suite 125
Pittsburgh, PA 15219
(412) 281-7229 Phone
(800) 543-9859 Toll-Free
(412) 281-4229 Fax
zgordon@peircelaw.com

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dmking12370@hotmail.com

From:
Sent:
                         Derrick Martin King
                         Wednesday, November 29, 2023 6:05 PM
                                                                                             F
To:                      Wendy West Feinstein (wendy.feinstein@morganlewis.com); William B. Monahan
                         (monahanw@sullcrom.com); Michael H. Steinburg (steinbergm@sullcrom.com); John P.
                         Lavelle Jr. (john.lavelle@morganlewis.com); Eric Scott Thompson
                         (ethompson@fandpnet.com)
Subject:                 In re: Philips CPAP Litigation, MDL-3014
Attachments:             2023-11-29 State Court Update of Case Status.pdf; 2023-11-29 Exexuted Protective
                         Order.pdf



Lady and Gentlemen,

Please find attach my Notice of Case Status that was filed today in the Summit County
(Ohio) Court of Common Pleas. The notice merely notifies that court of the transfer to
the Western District of Pennsylvania.

Now that I am formally a part of the MDL litigation, we need to discuss discovery. I am
formally requesting a copy of all discovery that has been provided to the other
plaintiffs. After that information is provided, I can then provide you with a supplemental
discovery request to cover anything that was not previously provided but may be
relevant. Please be advised that I have attached my signed agreement to be bound by
the December 21, 2021 stipulated protective order (ECF No. 104).

I look forward to hearing from you in the very near future.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In Re: PHILIPS RECALLED CPAP, BI-LEVEL                    Master Docket: Misc. No. 21-1230
 PAP, AND MECHANICAL VENTILATOR
 PRODS. LITIG.                                                       MDL No. 3014

                                EXHIBIT A
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND                                           ,    tr 1
             -                     .                                              Akr01" 0 1rr 1'-t'i3;).0
        I,   ~cci (. k M \(j~name], of l<+±S ~ivt e.0 Aue_
                               1                                                            [address],

declare under penalty of perjury that I have been provided the opportunity to read in its entirety, the

Stipulated Protective Order (''Protective Order") that was issued by the United States District Court

for the Western District of Pennsylvania, in the case of In Re: Philips Recalled CPAP, Bi-Level

Pap, And Mechanical Ventilator Prods. Litig., and that I have either read the Protective Order, or I

have knowingly and voluntarily waived the reading of the entire Protective Order. I further declare

that I understand I am not permitted to disclose any Discovery Material designated as Confidential

and/or Highly Confidential -Attorney's Eyes Only, or use any Discovery Material constituting or

containing Confidential and/or Highly Confidential-Attorney's Eyes Only information for any

purpose other than as permitted in the Protective Order. I agree to comply with, and to be bound by

the terms of the Protective Order, and I understand and acknowledge that I will be subject to such

sanctions and remedies as the Court deems appropriate for violations of this Protective Order.

        I further agree to submit to the jurisdiction of the United States District Court for the

Western District of Pennsylvania for the purpose of enforcing the terms of the Protective Order,

even if such enforcement proceedings occur after termination of this lawsuit.


Date:   1JO\/ d-:(\ d:ffi.~
Signanrre:   cB'.~w. L~
CV-2023-09-3575            BREAUX, ALISON                                               NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
                                         Document   17:20:05 PM                             Page 1 of 8
                                                        2412-1 Filed 01/04/24 Page 149 of 165




                                    IN THE SUMMIT COUNTY COURT OF COMMON PLEAS

                                                             GENERAL DIVISION



            DERRICK MARTIN KING,                                               Case No. CV-2023-09-3475

                     Plaintiff,                                                Judge ALISON BREAUX

                     v.                                                        PLAINTIFF DERRICK MARTIN KING’S
                                                                               UPDATE TO THE COURT
            PHILIPS NORTH AMERICA LLC, et al.,

                     Defendants.


                     Now comes the pro se Plaintiff DERRICK MARTIN KING, and he presents the following update

            on the case:

                     1.       On September 21, 2023, Plaintiff filed a complaint with this Court.

                     2.       On October 18, 2023, Defendant Philips RS North America filed a notice of removal with

            this Court. See King v. Koninklijke Philips N.V., et al., No. 5:23-cv-02042-PAB (N.D. Ohio). See Exhibit

            A (which is a copy of the docket sheet for the United States District Court for the Northern District of Ohio

            case).

                     3.       On October 25, 2023, counsel for Defendant Philips North America LLC filed a motion to

            stay proceedings on the basis of a notice of potential tag-along action that was filed with the Judicial Panel

            on Multidistrict Litigation (hereinafter “J.P.M.L.”).

                     4.       On November 29, 2023, this case was formally transferred to the United States District

            Court for the Western District of Pennsylvania. King v. Koninklijke Philips N.V., No. 2:23-cv-02040-JFC

            (W.D. Pa.) (a copy of the docket sheet is annexed hereto and marked as Exhibit B).

                     Plaintiff King will keep this Court notified on the status of the proceedings.




                                  Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575         BREAUX, ALISON                                               NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
                                         Document   17:20:05 PM                             Page 2 of 8
                                                        2412-1 Filed 01/04/24 Page 150 of 165



            Dated: November 29, 2023                                   Respectfully Submitted

                                                                       /s/ Derrick M. King
                                                                       DERRICK M. KING
                                                                       1445 Crestview Avenue
                                                                       Akron, Ohio 44320-4049
                                                                       Phone: (330) 867-3979
                                                                       Email: dmking12370@hotmail.com

                                                                       Pro se Plaintiff


                                                         PROOF OF SERVICE

                    I hereby certify that a true and correct copy of the foregoing document was tendered for filing with
            the Clerk of Court through its electronic case filing system. Notice of this filing shall be provided to all
            registered users via that system.

                                                                       /s/ Derrick M. King
                                                                       DERRICK M. KING
                                                                       Pro se Plaintiff




                              Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575           BREAUX, ALISON  11/29/2023 17:20:05 PM                     NFIL
                  Case 2:21-mc-01230-JFC Document      2412-1 Filed 01/04/24 Page 151 of 165Page 3 of 8

                                                                                            Armstrong,Cat08,Termed,Transf

            A                                  U.S. District Court
                                       NORTHERN DISTRICT OF OHIO (Akron)
                                  CIVIL DOCKET FOR CASE #: 5:23−cv−02042−PAB

            King v. Koninklijke Philips N.V. et al.                             Date Filed: 10/18/2023
            Assigned to: Judge Pamela A. Barker                                 Date Terminated: 11/29/2023
            Demand: $5,000,000                                                  Jury Demand: Plaintiff
            Case in other court: Summit County Court of Common Pleas,           Nature of Suit: 365 Personal Inj. Prod.
                                 CV−23−00009−3575                               Liability
            Cause: 28:1332 Diversity−(Citizenship)                              Jurisdiction: Diversity

             Date Filed       #    Docket Text
             10/18/2023        1 Notice of Removal from Summit County Court of Common Pleas, case number
                                 CV−2023−09−3575 with jury demand, Filing fee paid $ 402, receipt number
                                 AOHNDC−12233487. Filed by Philips RS North America, LLC. (Attachments: # 1
                                 Exhibit A − Complaint, # 2 Exhibit B − Philips Holding USA Corporate Records &
                                 Business Registrations, # 3 Exhibit C − Philips RS Records & Business Registrations,
                                 # 4 Exhibit D − JPML Transfer Orders, # 5 Civil Cover Sheet). (Feinstein, Wendy)
                                 (Entered: 10/18/2023)
             10/18/2023        2 Corporate Disclosure Statement identifying Corporate Parent Koninklijke Philips
                                 Nasalize Venootschap, Other Affiliate Philips North America LLC, Other Affiliate
                                 Philips Holding USA, Inc., Other Affiliate Philips RS North America Holding Corp.
                                 for Philips RS North America, LLC filed by Philips RS North America, LLC.
                                 (Feinstein, Wendy) (Entered: 10/18/2023)
             10/18/2023            Judge Pamela A. Barker assigned to case. (P,G) (Entered: 10/18/2023)
             10/18/2023            Random Assignment of Magistrate Judge pursuant to Local Rule 3.1. In the event of a
                                   referral, case will be assigned to Magistrate Judge Jennifer Dowdell Armstrong. (P,G)
                                   (Entered: 10/18/2023)
             10/18/2023            Order [non−document] This matter was removed to this Court on 10/18/2023. For the
                                   convenience of the Court, and by no later than 11/1/2023, the parties are directed to
                                   refile herein any motions that were previously filed in state court and which remained
                                   pending at the time of removal. Judge Pamela A. Barker on 10/18/2023. (P,K)
                                   (Entered: 10/18/2023)
             10/18/2023            Order [non−document] The parties are hereby advised that this Court will not accept
                                   ex parte telephone calls to Chambers regarding substantive issues in pending cases.
                                   The Court speaks through its docket. While it may be appropriate to call Chambers
                                   regarding routine, non−substantive matters (such as requests for the dial in information
                                   for an upcoming status conference, etc.), it is not appropriate under any circumstances
                                   for counsel to call Chambers ex parte for guidance or clarification regarding
                                   substantive matters, including matters relating to existing case management deadlines,
                                   requests to file briefing, and/or inquiries regarding the status of pending motions. All
                                   questions regarding substantive matters in pending cases must be filed as a motion on
                                   the public docket, with the following exception. If a dispute arises during a deposition
                                   that requires this Courts immediate assistance, the parties may call Chambers for
                                   assistance, but must do so jointly (and not on an ex parte basis). Judge Pamela A.
                                   Barker on 10/18/2023. (P,K) (Entered: 10/18/2023)
             10/18/2023            Copy of non−document Orders mailed to Derrick M. King 1445 Crestview Avenue
                                   Akron, OH 44320 on 10/18/2023. (P,K) (Entered: 10/18/2023)
             10/19/2023        3 Magistrate Consent Form issued. (P,G) (Entered: 10/19/2023)
             10/25/2023        4 Motion to stay Proceedings Pending Transfer to MDL No. 3014 filed by Defendant
                                 Philips RS North America, LLC. (Attachments: # 1 Memorandum in Support, # 2
                                 Exhibit A (Tag Along Notice), # 3 Exhibit B (Stay Orders), # 4 Proposed
                                 Order)(Feinstein, Wendy) (Entered: 10/25/2023)



                              Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575           BREAUX, ALISON  11/29/2023 17:20:05 PM                    NFIL
                  Case 2:21-mc-01230-JFC Document      2412-1 Filed 01/04/24 Page 152 of 165Page 4 of 8

             10/26/2023        5 Response in Opposition to defendant Philips RS North America LLC's 4 Motion to
                                 stay Proceedings Pending Transfer to MDL No. 3014 filed by Derrick M. King.
                                 (E,CK) (Entered: 10/26/2023)
             11/01/2023        6 Amended complaint for personal injuries and monetary damages against Koninklijke
                                 Philips N.V., Philips North America, LLC, Polymer Technologies, Inc. and adding
                                 new party defendant(s) Philips Holding USA, Inc.; Philips RS North America, Inc.;
                                 Philips RS North America Holding Corporation; Polymer Molded Products LLC. Filed
                                 by Derrick M. King. (Attachments: # 1 Exhibit 1 − Medical Devise Recall, # 2 Exhibit
                                 2 − Observation Risk Analysis, # 3 Exhibit 3 − Sleep and Respiratory Care Update, # 4
                                 Exhibit 4 − Recall Information, # 5 Exhibit 5 − DreamStation, # 6 Exhibit 6 − 518(a)
                                 Notification Order, # 7 Exhibit 7 − Hearing Notice, # 8 Exhibit 8 − Formaldehyde
                                 Info, # 9 Exhibit 9 − Report on Carcinogens, # 10 Exhibit 10 − Supplemental Clinical
                                 Information, # 11 Exhibit 11 − Toluene Ditsocyanates, # 12 Exhibit 12 − Report on
                                 Carcinogens, # 13 Exhibit 13 − Current Intelligence Bulletin 53, # 14 Exhibit 14 −
                                 Fact Sheet − TDI and Related Compounds, # 15 Exhibit 15 − Report of Carcinogens, #
                                 16 Exhibit 16 − Diaminotoluene, # 17 Exhibit 17 − Sulfanilamide Disaster, # 18
                                 Exhibit 18 − Affidavit of Lee Lawler, # 19 Exhibit 19 − DreamStation User Manual, #
                                 20 Exhibit 20 − Delivery Ticket, # 21 Summons, # 22 USM−285) (B,DL) (Entered:
                                 11/01/2023)
             11/01/2023        7 Motion/Application to proceed in District Court without prepaying fees or costs filed
                                 by Plaintiff Derrick M. King. (B,DL) (Entered: 11/01/2023)
             11/01/2023        8 Combined Response to Court's October 18, 2023 Order and Request for either the
                                 United States Marshal or the Clerk of Courts Perform Service of the Summons,
                                 Complaint, and First Amended Complaint upon Defendants filed by Derrick M. King.
                                 (Attachments: # 1 Exhibit A − Motion to Proceed in Forma Pauperis, # 2 Exhibit B −
                                 Omnibus Motion of Pro Se Litigant) (B,DL) (Entered: 11/01/2023)
             11/02/2023        9 Reply in support of 4 Motion to stay Proceedings Pending Transfer to MDL No. 3014
                                 filed by Philips RS North America, LLC. (Feinstein, Wendy) (Entered: 11/02/2023)
             11/29/2023      10 Conditional Transfer Order (CTO 84) by the Judicial Panel on Multidistrict
                                Litigation. In re: MDL No. 3014 Phillips Recalled CPAP, Bi−Level PAP, and
                                Mechanical Ventilator Products Liability Litigation. Case transferred to Western
                                District of Pennsylvania and assigned to the Honorable Joy Flowers Conti. (M,CE)
                                (Entered: 11/29/2023)
             11/29/2023            Copy of 10 Conditional Transfer Order mailed to Derrick M. King at 1445 Crestview
                                   Avenue, Akron, OH 44320 on 11/29/2023. Related document(s) 10 . (M,CE) (Entered:
                                   11/29/2023)
             11/29/2023            Case transferred from Northern District of Ohio has been opened in Western District
                                   of Pennsylvania as case 2:23−cv−02040, filed 11/29/2023.Related document(s) 10 .
                                   (R,AP) (Entered: 11/29/2023)




                              Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575         BREAUX, ALISON                                     NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
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                                                        2412-1 Filed 01/04/24 Page 153 of 165




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                              Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575         BREAUX, ALISON                                     NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
                                         Document   17:20:05 PM                             Page 6 of 8
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                              Sandra Kurt, Summit County Clerk of Courts
CV-2023-09-3575         BREAUX, ALISON                                     NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
                                         Document   17:20:05 PM                             Page 7 of 8
                                                        2412-1 Filed 01/04/24 Page 155 of 165




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CV-2023-09-3575         BREAUX, ALISON                                     NFIL
                  Case 2:21-mc-01230-JFC 11/29/2023
                                         Document   17:20:05 PM                             Page 8 of 8
                                                        2412-1 Filed 01/04/24 Page 156 of 165




                              Sandra Kurt, Summit County Clerk of Courts
             Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 157 of 165


dmking12370@hotmail.com

From:
Sent:
                      Lavelle, Jr., John P. <john.lavelle@morganlewis.com>
                      Thursday, November 30, 2023 2:52 PM
                                                                                                          G
To:                   Derrick Martin King; Feinstein, Wendy West; William B. Monahan (monahanw@sullcrom.com);
                      Michael H. Steinburg (steinbergm@sullcrom.com); Eric Scott Thompson (ethompson@fandpnet.com)
Cc:                   Steven Schwartz; cseeger@seegerweiss.com; Sandra Duggan; Kelly Iverson
Subject:              RE: In re: Philips CPAP Litigation, MDL-3014
Attachments:          3014_Pretirial_Order_8.pdf


Mr. King-

Please see a ached Pretrial Order No. 8 entered by Judge Con in MDL 3014 appoin ng plain ﬀs’ co-lead counsel and
steering commi ee. Under the Court’s Order, plain ﬀs’ leadership coordinates and conducts all pretrial discovery on
behalf of plain ﬀs in the MDL. You should direct your requests for discovery materials produced in the MDL directly to
plain ﬀs’ leadership. I have copied them on this email so they are aware of your request.

John P. Lavelle Jr.
Morgan, Lewis & Bockius LLP
2222 Market Street | Philadelphia, PA 19103-3007
Direct: +1.215.963.4824 | Main: +1.215.963.5000 | Mobile: +1.610.331.3910 | Fax: +1.215.963.5001
Assistant: Teresa G. Helm | +1.215.963.5590 | teresa.helm@morganlewis.com

502 Carnegie Center | Princeton, NJ 08540-6241
Direct: +1.609.919.6688 | Main: +1.609.919.6600 | Fax: +1.609.919.6701
john.lavelle@morganlewis.com | www.morganlewis.com




From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Wednesday, November 29, 2023 6:05 PM
To: Feinstein, Wendy West <wendy.feinstein@morganlewis.com>; William B. Monahan (monahanw@sullcrom.com)
<monahanw@sullcrom.com>; Michael H. Steinburg (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Lavelle,
Jr., John P. <john.lavelle@morganlewis.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Subject: In re: Philips CPAP Litigation, MDL-3014

[EXTERNAL EMAIL]
Lady and Gentlemen,

Please find attach my Notice of Case Status that was filed today in the Summit County
(Ohio) Court of Common Pleas. The notice merely notifies that court of the transfer to
the Western District of Pennsylvania.

                                                               1
         Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 158 of 165

Now that I am formally a part of the MDL litigation, we need to discuss discovery. I am
formally requesting a copy of all discovery that has been provided to the other
plaintiffs. After that information is provided, I can then provide you with a supplemental
discovery request to cover anything that was not previously provided but may be
relevant. Please be advised that I have attached my signed agreement to be bound by
the December 21, 2021 stipulated protective order (ECF No. 104).

I look forward to hearing from you in the very near future.




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                                             2
             Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 159 of 165


dmking12370@hotmail.com

From:
Sent:
                      Derrick Martin King
                      Thursday, November 30, 2023 3:30 PM
                                                                                                          H
To:                   Lavelle, Jr., John P.
Subject:              RE: In re: Philips CPAP Litigation, MDL-3014



Be advised that you have twenty-four hours to indicate whether you wish to cooperate or a motion to
compel with sanctions will be filed with the trial court.

This will be your final notice!


From: Lavelle, Jr., John P. <john.lavelle@morganlewis.com>
Sent: Thursday, November 30, 2023 2:52 PM
To: Derrick Martin King <dmking12370@hotmail.com>; Feinstein, Wendy West <wendy.feinstein@morganlewis.com>;
William B. Monahan (monahanw@sullcrom.com) <monahanw@sullcrom.com>; Michael H. Steinburg
(steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Cc: Steven Schwartz <steveschwartz@chimicles.com>; cseeger@seegerweiss.com; Sandra Duggan
<sduggan@lfsblaw.com>; Kelly Iverson <kelly@lcllp.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

Mr. King-

Please see a ached Pretrial Order No. 8 entered by Judge Con in MDL 3014 appoin ng plain ﬀs’ co-lead counsel and
steering commi ee. Under the Court’s Order, plain ﬀs’ leadership coordinates and conducts all pretrial discovery on
behalf of plain ﬀs in the MDL. You should direct your requests for discovery materials produced in the MDL directly to
plain ﬀs’ leadership. I have copied them on this email so they are aware of your request.

John P. Lavelle Jr.
Morgan, Lewis & Bockius LLP
2222 Market Street | Philadelphia, PA 19103-3007
Direct: +1.215.963.4824 | Main: +1.215.963.5000 | Mobile: +1.610.331.3910 | Fax: +1.215.963.5001
Assistant: Teresa G. Helm | +1.215.963.5590 | teresa.helm@morganlewis.com

502 Carnegie Center | Princeton, NJ 08540-6241
Direct: +1.609.919.6688 | Main: +1.609.919.6600 | Fax: +1.609.919.6701
john.lavelle@morganlewis.com | www.morganlewis.com




From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Wednesday, November 29, 2023 6:05 PM
To: Feinstein, Wendy West <wendy.feinstein@morganlewis.com>; William B. Monahan (monahanw@sullcrom.com)
                                                               1
           Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 160 of 165

<monahanw@sullcrom.com>; Michael H. Steinburg (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Lavelle,
Jr., John P. <john.lavelle@morganlewis.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Subject: In re: Philips CPAP Litigation, MDL-3014

[EXTERNAL EMAIL]
Lady and Gentlemen,

Please find attach my Notice of Case Status that was filed today in the Summit County
(Ohio) Court of Common Pleas. The notice merely notifies that court of the transfer to
the Western District of Pennsylvania.

Now that I am formally a part of the MDL litigation, we need to discuss discovery. I am
formally requesting a copy of all discovery that has been provided to the other
plaintiffs. After that information is provided, I can then provide you with a supplemental
discovery request to cover anything that was not previously provided but may be
relevant. Please be advised that I have attached my signed agreement to be bound by
the December 21, 2021 stipulated protective order (ECF No. 104).

I look forward to hearing from you in the very near future.




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                                                     2
            Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 161 of 165


dmking12370@hotmail.com

From:
Sent:
                    Gordon, Zachary <zgordon@peircelaw.com>
                    Monday, December 4, 2023 10:57 AM
                                                                                                             I
To:                 Derrick Martin King
Subject:            RE: In re: Philips CPAP Litigation, MDL-3014


I received the signed agreement. Thank you for sending!

Zach Gordon
Case Manager
Robert Peirce & Associates, P.C.
707 Grant Street, Suite 125
Pittsburgh, PA 15219
(412) 281-7229 Phone
(800) 543-9859 Toll-Free
(412) 281-4229 Fax
zgordon@peircelaw.com

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might affect computer systems by which it is received or opened, it is the responsibility of the recipient to
ensure that it is virus free, and we disclaim any liability for loss or damage arising in any way from its use.

From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Friday, December 1, 2023 5:29 PM
To: Gordon, Zachary <zgordon@peircelaw.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

   Caution: This E-mail originated from outside the organization. Please take care when clicking links or opening
   attachments.

My apologies. I just seen the separate email from Adobe Sign.

Will be reviewing the documents promptly.

From: Gordon, Zachary <zgordon@peircelaw.com>
Sent: Friday, December 1, 2023 3:45 PM
To: Derrick Martin King <dmking12370@hotmail.com>
Cc: Rihn, Aaron <arihn@peircelaw.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

Hello Mr. King,

I just sent you a Participation Agreement via Adobe Sign that is necessary for you to sign in order for co-
lead counsel to provide you with access to any Common Benefit Work. Please reach out if you have any
questions.

                                                           1
           Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 162 of 165

Kind regards,

Zach Gordon
Case Manager
Robert Peirce & Associates, P.C.
707 Grant Street, Suite 125
Pittsburgh, PA 15219
(412) 281-7229 Phone
(800) 543-9859 Toll-Free
(412) 281-4229 Fax
zgordon@peircelaw.com

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might affect computer systems by which it is received or opened, it is the responsibility of the recipient to
ensure that it is virus free, and we disclaim any liability for loss or damage arising in any way from its use.

From: Gordon, Zachary
Sent: Friday, December 1, 2023 1:55 PM
To: Derrick Martin King <dmking12370@hotmail.com>; Rihn, Aaron <arihn@peircelaw.com>
Cc: Sandy Duggan <sduggan@lfsblaw.com>; Steven Schwartz <steveschwartz@chimicles.com>;
cseeger@seegerweiss.com; Kelly Iverson <kelly@lcllp.com>; psw@pietragallo.com
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

Hello Mr. King,

Aaron Rihn attempted to call you today to discuss your questions. Please let me know a good time for you
to connect with Aaron.

Best regards,

Zach Gordon
Case Manager
Robert Peirce & Associates, P.C.
707 Grant Street, Suite 125
Pittsburgh, PA 15219
(412) 281-7229 Phone
(800) 543-9859 Toll-Free
(412) 281-4229 Fax
zgordon@peircelaw.com

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immediately and permanently delete this message from your system without making any copies. Although
this electronic message and any attachments are believed to be free of any virus or other defect that
might affect computer systems by which it is received or opened, it is the responsibility of the recipient to
ensure that it is virus free, and we disclaim any liability for loss or damage arising in any way from its use.




                                                       2
            Case 2:21-mc-01230-JFC Document 2412-1 Filed 01/04/24 Page 163 of 165

From: Sandy Duggan <sduggan@lfsblaw.com>
Sent: Thursday, November 30, 2023 4:04 PM
To: Derrick Martin King <dmking12370@hotmail.com>; Rihn, Aaron <arihn@peircelaw.com>; Gordon, Zachary
<zgordon@peircelaw.com>; psw@pietragallo.com
Cc: Steven Schwartz <steveschwartz@chimicles.com>; cseeger@seegerweiss.com; Kelly Iverson <kelly@lcllp.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

   Caution: This E-mail originated from outside the organization. Please take care when clicking links or opening
   attachments.


Mr. King – I am one of the appointed co-lead counsel in this case. I’ve added our liaison counsel to
this email. They will reach out to you to assist you in becoming familiar with the processes and
existing pretrial orders in the MDL, as well as answering your questions. Thanks.

Sandra L. Duggan
Of-Counsel
LEVIN SEDRAN & BERMAN LLP
510 Walnut Street
Suite 500
Philadelphia, PA 19106
(215) 592-1500 office
(215) 870-8258 cell
(215) 592-4663 fax
www.lfsblaw.com

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From: Lavelle, Jr., John P. <john.lavelle@morganlewis.com>
Sent: Thursday, November 30, 2023 3:46 PM
To: Derrick Martin King <dmking12370@hotmail.com>; Feinstein, Wendy West <wendy.feinstein@morganlewis.com>;
William B. Monahan (monahanw@sullcrom.com) <monahanw@sullcrom.com>; Michael H. Steinburg
(steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Cc: Steven Schwartz <steveschwartz@chimicles.com>; cseeger@seegerweiss.com; Sandy Duggan
<sduggan@lfsblaw.com>; Kelly Iverson <kelly@lcllp.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

Mr. King-

I am forwarding your email below to all of the counsel copied on my previous email to you. In that email I provided you
with a copy of the Court’s Pretrial Order No. 8 and explained that you should direct to plain ﬀs’ leadership appointed by
the Court your request for the discovery materials previously produced to plain ﬀs in the MDL. Please contact
plain ﬀs’ lead counsel – they are cc’d on this email – as they are conduc ng discovery on behalf of you and all MDL
plain ﬀs.

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From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Thursday, November 30, 2023 3:30 PM
To: Lavelle, Jr., John P. <john.lavelle@morganlewis.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

[EXTERNAL EMAIL]
Be advised that you have twenty-four hours to indicate whether you wish to cooperate or a motion to
compel with sanctions will be filed with the trial court.

This will be your final notice!


From: Lavelle, Jr., John P. <john.lavelle@morganlewis.com>
Sent: Thursday, November 30, 2023 2:52 PM
To: Derrick Martin King <dmking12370@hotmail.com>; Feinstein, Wendy West <wendy.feinstein@morganlewis.com>;
William B. Monahan (monahanw@sullcrom.com) <monahanw@sullcrom.com>; Michael H. Steinburg
(steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Cc: Steven Schwartz <steveschwartz@chimicles.com>; cseeger@seegerweiss.com; Sandra Duggan
<sduggan@lfsblaw.com>; Kelly Iverson <kelly@lcllp.com>
Subject: RE: In re: Philips CPAP Litigation, MDL-3014

Mr. King-

Please see a ached Pretrial Order No. 8 entered by Judge Con in MDL 3014 appoin ng plain ﬀs’ co-lead counsel and
steering commi ee. Under the Court’s Order, plain ﬀs’ leadership coordinates and conducts all pretrial discovery on
behalf of plain ﬀs in the MDL. You should direct your requests for discovery materials produced in the MDL directly to
plain ﬀs’ leadership. I have copied them on this email so they are aware of your request.

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From: Derrick Martin King <dmking12370@hotmail.com>
Sent: Wednesday, November 29, 2023 6:05 PM
To: Feinstein, Wendy West <wendy.feinstein@morganlewis.com>; William B. Monahan (monahanw@sullcrom.com)
<monahanw@sullcrom.com>; Michael H. Steinburg (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; Lavelle,
Jr., John P. <john.lavelle@morganlewis.com>; Eric Scott Thompson (ethompson@fandpnet.com)
<ethompson@fandpnet.com>
Subject: In re: Philips CPAP Litigation, MDL-3014

[EXTERNAL EMAIL]
Lady and Gentlemen,

Please find attach my Notice of Case Status that was filed today in the Summit County
(Ohio) Court of Common Pleas. The notice merely notifies that court of the transfer to
the Western District of Pennsylvania.

Now that I am formally a part of the MDL litigation, we need to discuss discovery. I am
formally requesting a copy of all discovery that has been provided to the other
plaintiffs. After that information is provided, I can then provide you with a supplemental
discovery request to cover anything that was not previously provided but may be
relevant. Please be advised that I have attached my signed agreement to be bound by
the December 21, 2021 stipulated protective order (ECF No. 104).

I look forward to hearing from you in the very near future.




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